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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
24 HOUR FITNESS                                              :        Case No. 20–11558 (KBO)
WORLDWIDE, INC., et al.,                                     :
                                                             :
                                    Debtors. 1               :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x


                                        AFFIDAVIT OF SERVICE

       I, Jeff BloisseBaez, depose and say that I am employed by Prime Clerk LLC (“Prime
Clerk”), the claims and noticing agent for the Debtors in the above-captioned chapter 11 cases.

       On October 20, 2020, at my direction and under my supervision, employees of Prime
Clerk caused the following document to be served (1) by the method set forth on the Core/2002
Service List attached hereto as Exhibit A; (2) by the method set forth on the Notice Parties
Service List attached hereto as Exhibit B; and (3) by the method set forth on the Civil
Counterparties Service List attached hereto as Exhibit C:
    •   Order Extending the Deadline by Which the Debtors May Remove Civil Actions and (II)
        Granting Related Relief [Docket No. 1091]

        On October 20, 2020, at my direction and under my supervision, employees of Prime Clerk
caused the following document to be served by the method set forth on the Fee Application Service
List attached hereto as Exhibit D:

    •   First Quarterly Application for Compensation and Reimbursement of Expenses of
        Pachulski Stang Ziehl & Jones LLP, as Co-Counsel for the Debtors and Debtors in
        Possession for the period June 15, 2020 to August 31, 2020 [Docket No. 1093]




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are 24 Hour Holdings II LLC (N/A); 24 Hour Fitness Worldwide, Inc. (5690); 24 Hour
    Fitness United States, Inc. (8376); 24 Hour Fitness USA, Inc. (9899); 24 Hour Fitness Holdings LLC (8902); 24
    San Francisco LLC (3542); 24 New York LLC (7033); 24 Denver LLC (6644); RS FIT Holdings LLC (3064);
    RS FIT CA LLC (7007); and RS FIT NW LLC (9372). The Debtors’ corporate headquarters and service address
    is 12647 Alcosta Blvd., Suite 500, San Ramon, CA 94583.
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        At my direction and under my supervision, employees of Prime Clerk caused the following
document to be served by the method and date set forth on the Adjusted Core Service List attached
hereto as Exhibit E:

   •   Global Notes and Statements of Limitations and Disclaimers Regarding the Debtors’
       Monthly Operating Report (for Filing Period September 1, 2020 through September 30,
       2020) [Docket No. 1098]

       On October 20, 2020, at my direction and under my supervision, employees of Prime Clerk
caused the following document to be served by the method set forth on the Agenda Service List
attached hereto as Exhibit F:

   •   (HEARING CANCELLED) Amended Notice of Agenda of Matters Scheduled for
       Telephonic Hearing on October 21, 2020 at 1:00 p.m. (ET) [Docket No. 1099]

        On October 20, 2020, at my direction and under my supervision, employees of Prime Clerk
caused the following document to be served via First Class Mail on the Hard Copy Core Service
List attached hereto as Exhibit G:

   •   Notice of Filing of Fee Application

Dated: October 23, 2020

                                                           /s/ Jeff BloisseBaez
                                                           Jeff BloisseBaez

State of New York
County of New York

Subscribed and sworn to (or affirmed) before me on October 23, 2020, by Jeff BloisseBaez
proved to me on the basis of satisfactory evidence to be the person who appeared before me.



/s/ KELSEY LYNNE GORDON
Notary Public, State of New York
No. 01GO6405463
Qualified in Kings County
Commission Expires March 9, 2024




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                       Exhibit A
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                                                                                                                                            Exhibit A
                                                                                                                                      Core/2002 Service List
                                                                                                                                     Served as set forth below


                                                       DESCRIPTION                                                           NAME                                              ADDRESS                                          EMAIL               METHOD OF SERVICE
                                                                                                                                                   Attn: Chad Timmons, Larry R. Boyd, Emily M. Hahn
                                                                                                                                                   1700 Redbud Blvd                                          ctimmons@abernathy-law.com
                                                                                                                                                   Ste 300                                                   bankruptcy@abernathy-law.com
Counsel to Collin County Tax Assessor/Collector                                                          Abernathy, Roeder, Boyd & Hullett, P.C.   McKinney TX 75069                                         ehahn@abernathy-law.com             Email
                                                                                                                                                   Attn: Roger K. Adams
                                                                                                                                                   4155 E. Jewell Ave.
                                                                                                                                                   Suite 612
Counsel to Diane Mueller                                                                                 Adams Law Firm, LLC                       Denver CO 80222                                           rogerkadams@rka-law.com             Email
Counsel to Weingarten Realty Investors, Weingarten Nostat, Inc., WRI West Gate South, L.P., WRI Southern                                           Attn: Ivan M. Gold
Industrial Pool, LLC, Mercury TIC, LLC, SIC-Lakeside Drive, LLC, W/GL Ocean Avenue LB Holdings VII, LLC,                                           Three Embarcadero Center
OTR, an Ohio general partnership, CLPF Gateway Towne Center LP, 100 California Street LLC, and Triangle Allen Matkins Leck Gamble Mallory & Natsis 12th Floor
Center, LLC                                                                                              LLP                                       San Francisco CA 94111-4074                               igold@allenmatkins.com              Email
                                                                                                                                                   Attn: Annie Y. Stoops
                                                                                                                                                   555 West Fifth Street
                                                                                                                                                   48th Floor
Counsel to Los Altos School District                                                                     Arent Fox, LLC                            Los Angeles CA 90013                                      annie.stoops@arentfox.com           Email
                                                                                                                                                   Attn: Matthew P. Austria
                                                                                                                                                   1007 N. Orange Street
                                                                                                                                                   4th Floor
Counsel to Diane Mueller                                                                                 Austria Legal, LLC                        Wilmington DE 19801                                       maustria@austriallc.com             Email
                                                                                                                                                   Attn: Scott D. Mayer
Counsel to AVG Partners GP; AVG Partners I, LLC; AVG Austin, LP; AVG Chula Vista, LLC; AVG Laguna LLC;                                             9595 Wilshire Blvd.
AVG Oakland, LLC; AVG Cypress LP; SW3LH, LLC; Builders Associates #3 (Rockwall); Arnold & Sheri                                                    Suite 700
Schlesinger; Builders Associates #3, LLC; Peak Holdings, LLC; AG Upland, LLC; AVG Puyallup, LLC          AVG Partners                              Beverly Hills CA 90212                                    sdmayer@avgpartners.com             Email
                                                                                                                                                   Attn: Craig Solomon Ganz, Katherine E. Anderson Sanchez
                                                                                                                                                   1 E. Washington Street, Suite 2300                        ganzc@ballardspahr.com
Counsel to Seven Hills Properties 31, LLC                                                                Ballard Spahr LLP                         Phoenix AZ 85004                                          andersonsanchezk@ballardspahr.com   Email
Counsel to Centennial Real Estate Company, LLC,
Citivest Commercial Investments, LLC, GS Pacific                                                                                                   Attn: Dustin P. Branch, Esq.
ER, LLC, Houston Willowbrook LLC, PGIM Real                                                                                                        2029 Century Park East
Estate, Starwood Retail Partners, LLC and The                                                                                                      Suite 800
Macerich Company                                                                                         Ballard Spahr LLP                         Los Angeles CA 90067-2909                                 branchd@ballardspahr.com            Email

Counsel to Seven Hills Properties 31, LLC, Brixmor Operating Partnership LP, Federal Realty Investment
Trust, Centennial Real Estate Company, LLC, Citivest Commercial Investments, LLC, GS Pacific
ER, LLC, Houston Willowbrook LLC, PGIM Real
Estate, Starwood Retail Partners, LLC and The
Macerich Company, Weingarten Realty Investors, Weingarten Nostat, Inc., WRI West Gate South, L.P., WRI
Southern Industrial Pool, LLC, Mercury TIC, LLC, SIC-Lakeside Drive, LLC, W/GL Ocean Avenue LB Holdings                                            Attn: Leslie C. Heilman, Laurel D. Roglen
VII, LLC, OTR, an Ohio general partnership, CLPF Gateway Towne Center LP, 100 California Street LLC, and                                           919 N. Market Street, 11th Floor                          heilmanl@ballardspahr.com
Triangle Center, LLC                                                                                     Ballard Spahr LLP                         Wilmington DE 19801-3034                                  roglenl@ballardspahr.com            Email
                                                                                                                                                   Attn: William J.Barrett
                                                                                                                                                   200 West Madison Street
                                                                                                         Barack Ferrazzano Kirschbaum & Nagelberg Suite 3900
Counsel to Terramar Retail Centers, LLC                                                                  LLP                                       Chicago IL 60606                                          william.barrett@bfkn.com            Email
                                                                                                                                                   Attn: Niclas A. Ferland, Esq., Ilan Markus, Esq
                                                                                                                                                   545 Long Wharf Drive
                                                                                                                                                   9th Floor                                                 nferland@barclaydamon.com
Westfield, LLC and its affiliates                                                                        Barclay Damon LLP                         New Haven CT 06511                                        imarkus@barclaydamon.com            Email
                                                                                                                                                   Attn: Scott L. Fleischer
                                                                                                                                                   1270 Avenue of the Americas
                                                                                                                                                   Suite 501
Westfield, LLC and its affiliates                                                                        Barclay Damon LLP                         New York NY 10020                                         sfleischer@barclaydamon.com         Email
                                                                                                                                                   Attn: Michael J. Barrie, Kevin M. Capuzzi
                                                                                                                                                   1313 North Market Street, Suite 1201                      mbarrie@beneschlaw.com
Counsel to RNB Partners, LLC                                                                             Benesch Friedlander, Coplan & Aronoff LLP Wilmington DE 19801                                       kcapuzzi@beneschlaw.com             Email




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                                                                                                                                               Exhibit A
                                                                                                                                         Core/2002 Service List
                                                                                                                                        Served as set forth below


                                                      DESCRIPTION                                                             NAME                                                  ADDRESS                                   EMAIL                      METHOD OF SERVICE
                                                                                                                                                          Attn: Ernie Zachary Park
                                                                                                                                                          13215 E. Penn St., Suite 510
Counsel to Spring Shopping Center LLC, Irvine Spectrum Center LLC, a Delaware limited liability company   Bewley, Lassleben & Miller, LLP                 Whittier CA 90602                             ernie.park@bewleylaw.com                      Email
                                                                                                                                                          Attn: David M. Klauder, Esquire
                                                                                                                                                          1204 N. King Street
Counsel to Kellermeyer Bergensons Services, LLC                                                           Bielli & Klauder, LLC                           Wilmington DE 19801                           dklauder@bk-legal.com                         Email
                                                                                                                                                          Attn: Jeffrey Rhodes
                                                                                                                                                          1825 Eye Street NW
Counsel to Kin Properties, Inc. and Masue LLC                                                             Blank Rome LLP                                  Washington DC 20006                           jrhodes@blankrome.com                         Email
Counsel to AVG Partners GP; AVG Partners I, LLC; AVG Austin, LP; AVG Chula Vista, LLC; AVG Laguna LLC;
AVG Oakland, LLC; AVG Cypress LP; SW3LH, LLC; Builders Associates #3 (Rockwall); Arnold & Sheri                                                           Attn: Victoria A. Guilfoyle & Bryan J. Hall
Schlesinger; Builders Associates #3, LLC; Peak Holdings, LLC; AG Upland, LLC; AVG Puyallup, LLC, Kin                                                      1201 N. Market Street
Properties, Inc. and                                                                                                                                      Suite 800                                     guilfoyle@blankrome.com
Masue LLC                                                                                                 Blank Rome LLP                                  Wilmington DE 19801                           bhall@blankrome.com                           Email
                                                                                                                                                          Attn: Kristen N. Pate, Julie Minnick Bowden
                                                                                                                                                          350 N. Orleans Street, Suite 300              bk@brookfieldpropertiesretail.com
Counsel to Brookfield Properties Retail, Inc. as Agent                                                    Brookfield Properties Retail, Inc.              Chicago IL 60654-1607                         julie.bowden@brookfieldpropertiesretail.com   Email
                                                                                                                                                          Attn: Andrew J. Meyers
                                                                                                                                                          Governmental Center, Suite 423
                                                                                                                                                          115 South Andrews Avenue
Counsel to Broward County, Florida                                                                        Broward County Attorney                         Fort Launderdale FL 33301                     sandron@broward.org                           Email
                                                                                                                                                          Attn: Jeffrey K. Garfinkle
                                                                                                                                                          18400 Von Karman Avenue, Suite 800
Counsel to 507 Northgate LLC                                                                              Buchalter, a Professional Corporation           Irvine CA 92612                               jgarfinkle@buchalter.com                      Email
                                                                                                                                                          Attn: Shawn M. Christianson
                                                                                                                                                          55 Second Street, 17th Floor
Counsel to Oracle America, Inc.                                                                           Buchalter, a Professional Corporation           San Francisco CA 94105-3493                   schristianson@buchalter.com                   Email
                                                                                                                                                          Attn: Mary F. Caloway
                                                                                                                                                          919 North Market Street
                                                                                                                                                          Suite 990
Counsel to CentiMark Corporation                                                                          Buchanan Ingersoll & Rooney PC                  Wilmington DE 19801                           mary.caloway@bipc.com                         Email
                                                                                                                                                          Attn: Timothy P. Palmer
                                                                                                                                                          501 Grant Street
                                                                                                                                                          Suite 200
Counsel to CentiMark Corporation                                                                          Buchanan Ingersoll & Rooney PC                  Pittsburgh PA 15219                           timothy.palmer@bipc.com                       Email
                                                                                                                                                          Attn: Bankruptcy Division
                                                                                                                                                          PO Box 20207
TN Dept of Labor - Bureau of Unemployment Insurance                                                       c/o TN Attorney General's Office                Nashville TN 37202-0207                                                                     First Class Mail
                                                                                                                                                          Attn: Aaron R. Cahn
                                                                                                                                                          2 Wall Street
Counsel to Evelyn Wells, Trustee u/w/o Fred Straus, 231st SRS, LLC and 231st CGS, LLC                     Carter Ledyard & Milburn LLP                    New York NY 10005-2072                        bankruptcy@clm.com                            Email
                                                                                                                                                          Attn: Alan J. Lipkin
Counsel to 24 HR – TX (TX) Limited Partnership;                                                                                                           1700 Broadway
FIT (TX) LP; SF (TX) LP; FIT (CO) QRS 15-59, INC.;                                                                                                        33rd Floor
AND FIT (UT) QRS 14-92, INC.                                                                              Chaffetz Lindsey LLP                            New York NY 10019                             a.lipkin@chaffetzlindsey.com                  Email
                                                                                                                                                          Attn: David M. Blau, Esq.
                                                                                                                                                          151 S. Old Woodward Ave
                                                                                                                                                          Ste. 200
Counsel to Santan Gem, LLC                                                                                Clark Hill PLC                                  Birmingham MI 48009                           dblau@clarkhill.com                           Email
                                                                                                                                                          Attn: Karen M. Grivner, Esq.
                                                                                                                                                          824 N. Market St.
                                                                                                                                                          Ste. 710
Counsel to Santan Gem, LLC                                                                                Clark Hill PLC                                  Wilmington DE 19801                           kgrivner@clarkhill.com                        Email
                                                                                                                                                          Attn: Patrick J. Reilley
                                                                                                                                                          500 Delaware Avenue
                                                                                                                                                          Suite 1410
Counsel to Seritage SRC Finance LLC                                                                       Cole Schotz P.C.                                Wilmington DE 19801                           preilley@coleschotz.com                       Email




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                                                                                                           Exhibit A
                                                                                                     Core/2002 Service List
                                                                                                    Served as set forth below


                                                      DESCRIPTION                        NAME                                                   ADDRESS                                               EMAIL             METHOD OF SERVICE
                                                                                                                      Attn: Ryan T. Jareck
                                                                                                                      Court Plaza North
                                                                                                                      25 Main Street
Counsel to Seritage SRC Finance LLC                                   Cole Schotz P.C.                                Hackensack NJ 07601-                                        rjareck@coleschotz.com             Email
                                                                                                                      Attn: Edward J. Riffle, Esq., Bradley D. Doucette, Esq.
                                                                                                                      1100 El Centro Street                                       eriffle@ccmslaw.com
Counsel to Wedt Industries, Inc. dba Club Resources Group             Collins Collins Muir + Stewart LLP              South Pasadena CA 91030                                     bdoucette@ccmslaw.com              Email
                                                                                                                      Attn: Karen C. Bifferato & Kelly M. Conlan
                                                                                                                      1201 N. Market Street
                                                                                                                      20th Floor                                                  kbifferato@connollygallagher.com
Counsel to RPAI Lakewood, LLC                                         Connolly Gallagher LLP                          Wilmington DE 19801                                         kconlan@connollygallagher.com      Email
                                                                                                                      Attn: Cathy Hershcopf, Michael Klein, Lauren A. Reichardt   chershcopf@cooley.com
                                                                                                                      55 Hudson Yards                                             mklein@cooley.com
Official Committee of Unsecured Creditors                             Cooley LLP                                      New York NY 10001                                           lreichardt@cooley.com              Email
                                                                                                                      Attn: Cullen D. Speckhardt, Olya Antle
                                                                                                                      1299 Pennsylvania Avenue, NW                                cspeckhart@cooley.com
Official Committee of Unsecured Creditors                             Cooley LLP                                      Washington DC 20004                                         oantle@cooley.com                  Email
                                                                                                                      Attn: Ronald Hewitt, Martin E. Beeler, Todd A. Mortensen,   rhewitt@cov.com
                                                                                                                      Gabriella B. Zahn-Bielski                                   mbeeler@cov.com
                                                                                                                      620 Eighth Avenue                                           tmortensen@cov.com
Counsel to DIP Agent, Wilmington Trust, National Association, USOPC   Covington & Burling LLP                         New York NY 10018                                           gzahnbielski@cov.com               First Class Mail and Email
                                                                                                                      Attn: Thomas J. Francella, Jr.
                                                                                                                      1201 N. Market Street
                                                                                                                      Suite 1001
Counsel to LaSalle, LP, AAP Trust, and AV Now, Inc.                   Cozen O'Connor                                  Wilmington DE 19801                                         tfrancella@cozen.com               Email
                                                                                                                      Attn: Mette H. Kurth
                                                                                                                      4023 Kennett Pike #165
Counsel to Pine Castle, N.V                                           Culhane Meadows PLLC                            Wilmington DE 19807                                         mkurth@cm.law                      Email
                                                                                                                      Attn: Bankruptcy Dept
                                                                                                                      Carvel State Office Bldg
                                                                                                                      820 N French St 6th Fl
Delaware Attorney General                                             Delaware Attorney General                       Wilmington DE 19801                                         attorney.general@state.de.us       Email
                                                                                                                      Zillah Frampton
                                                                                                                      820 N French St
Delaware Division of Revenue                                          Delaware Division of Revenue                    Wilmington DE 19801                                         FASNotify@state.de.us              First Class Mail and Email
                                                                                                                      Corporations Franchise Tax
                                                                                                                      PO Box 898
Delaware Secretary of State                                           Delaware Secretary of State                     Dover DE 19903                                              dosdoc_Ftax@state.de.us            First Class Mail and Email
                                                                                                                      Attn: Bankruptcy Dept
                                                                                                                      820 Silver Lake Blvd Ste 100
Delaware State Treasury                                               Delaware State Treasury                         Dover DE 19904                                              statetreasurer@state.de.us         First Class Mail and Email
                                                                                                                      Attn: Ronald D. Dessy, Fawn Kennedy Dessy
                                                                                                                      1301 L Street
Counsel to Olive Drive Partners                                       Dessy & Dessy, a Professional Corporation       Bakersfield CA 93301                                        Dessylaw@aol.com                   First Class Mail and Email
                                                                                                                      Attn: Jarret P. Hitchings
                                                                                                                      222 Delaware Avenue
                                                                                                                      Suite 1600
Counsel to US VI Downey, LLC                                          Duane Morris LLP                                Wilmington DE 19801-1659                                    jphitchings@duanemorris.com        Email
                                                                                                                      Attn: Steven E. Lewis
                                                                                                                      230 Park Avenue, 21st Floor
Counsel to Epsilon Agency LLC                                         Dunnington, Bartholow & Miller LLP              New York NY 10169                                           slewis@dunnington.com              Email
                                                                                                                      Attn: Bankruptcy Dept
                                                                                                                      1650 Arch Street
Environmental Protection Agency - Region 3                            Environmental Protection Agency                 Philadelphia PA 19103-2029                                                                     First Class Mail




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                                                                                                                                              Exhibit A
                                                                                                                                        Core/2002 Service List
                                                                                                                                       Served as set forth below


                                                      DESCRIPTION                                                             NAME                                                 ADDRESS                                             EMAIL        METHOD OF SERVICE
                                                                                                                                                         c/o Byron Z. Moldo
                                                                                                                                                         9401 Wilshire Boulevard
                                                                                                                                                         9th Floor
Counsel to Copperwood Square IA, LLC,                                                                      Ervin Cohen & Jessup LLP                      Beverly Hills CA 90212                                  bmoldo@ecjlaw.com               Email
                                                                                                                                                         Attn: Joseph D. Frank, Jeremy C. Kleinman
                                                                                                                                                         1327 W. Washington Blvd., Suite 5 G-H                   jfrank@fgllp.com
Counsel to PepsiCo, Inc.                                                                                   FrankGecker LLP                               Chicago IL 60607                                        jkleinman@fgllp.com             Email
                                                                                                                                                         Attn: Ronald E. Gold, A.J. Webb
                                                                                                                                                         3300 Great American Tower
                                                                                                                                                         301 East Fourth Street                                  rgold@fbtlaw.com
Counsel to Washington Prime Group Inc.                                                                     Frost Brown Todd LLC                          Cincinnati OH 45202                                     awebb@fbtlaw.com                Email
                                                                                                                                                         Attn: David W. deBruin
                                                                                                                                                         3711 Kennett Pike
Attorney for CAPLOW DENVER, LLC, a California limited liability company; and DENVER EXCHANGE, LLC, a                                                     Suite 100
California limited liability company d/b/a DENVER EXCHANGE I, LLC                                          Gawthrop Greenwood, PC                        Wilmington DE 19807                                     ddebruin@gawthrop.com           Email
                                                                                                                                                         Attn: Michael Busenkell, Amy Brown
                                                                                                                                                         1201 N. Orange St.
                                                                                                                                                         Suite 300                                               mbusenkell@gsbblaw.com
Counsel to OB Frank Properties, LLC, Cal Select Builders                                                   Gellert Scali Busenkell & Brown, LLC          Wilmington DE 19801                                     abrown@gsbblaw.com              Email
                                                                                                                                                         Attn: Kumar Bhavanasi
                                                                                                                                                         551 S. Washington Ave., Ste. 402A
Top 30 Unsecured Creditors                                                                                 Geneva Crossing Carol Stream IL LLC           Piscataway NJ 08554                                     kumar.bhavanasi@first-tek.com   Email
                                                                                                                                                         Attn: Howard A. Cohen
                                                                                                                                                         300 Delaware Avenue, Suite 1015
Counsel to Hanover 3201 Realty L.L.C.                                                                      Gibbons P.C.                                  Wilmington DE 19801-1761                                hcohen@gibbonslaw.com           Email
                                                                                                                                                         Attn: Mark Conlan
                                                                                                                                                         One Gateway Center
Counsel to Hanover 3201 Realty L.L.C.                                                                      Gibbons P.C.                                  Newark NJ 07102-5310                                    mconlan@gibbonslaw.com          Email
                                                                                                                                                         Attn: Lawrence M. Jacobson
                                                                                                                                                         8383 Wilshire Boulevard
                                                                                                                                                         Suite 408
Counsel to Creditor and Interested Party 525 Colorado LLC                                                  Glickfeld, Fields & Jacobson LLP              Beverly Hills CA 90211                                  lmj@gfjlawfirm.com              Email

Counsel to RU Old Denton Road Fort Worth TX, LLC                                                                                                         Attn: Marc C. Forsythe
which is a subsidiary of BRIX REIT, INC., RU Rainbow Blvd Las Vegas, NV, LLC which is a subsidiary of RW                                                 18101 Von Karman, Suite 1200
Holdings NNN REIT Operating Partnership, LP, a subsidiary of RW Holdings NNN REIT., Inc.                   Goe Forsythe & Hodges LLP                     Irvine CA 92612                                         mforsythe@goeforlaw.com         Email
                                                                                                                                                         Attn: Douglas B. Rosner, Esq., Vanessa P. Moody, Esq.
Counsel HUH/DI OCP Cinque Terre, LLC, BP/CGCENTER II, LLC, and CA-Santa Monica Business Park Limited                                                     400 Atlantic Avenue                                     drosner@goulstonstorrs.com
Partnership                                                                                          Goulston & Storrs PC                                Boston MA 02110-3333                                    vmoody@goulstonstorrs.com       Email
                                                                                                                                                         Attn: David M. Guess
                                                                                                                                                         18565 Jamboree Road
                                                                                                                                                         Suite 500
Counsel to MGP XI Ballinger, LLC, MGP Fund X Laguna Hills, LLC, and MGP XI-GPI Laurel Plaza, LLC           Greenberg Traurig, LLP                        Irvine CA 92612                                         guessd@gtlaw.com                Email
                                                                                                                                                         Attn: Dennis A. Meloro
Counsel to MGP XI Ballinger, LLC, MGP Fund X Laguna Hills, LLC, and MGP XI-GPI Laurel Plaza, LLC           Greenberg Traurig, LLP                        1007 North Orange Street                                melorod@gtlaw.com               Email
                                                                                                                                                         Attn: Peter D. Kieselbach
                                                                                                                                                         90 South Seventh Street
                                                                                                                                                         Suite 3500
Counsel to MGP XI Ballinger, LLC, MGP Fund X Laguna Hills, LLC, and MGP XI-GPI Laurel Plaza, LLC           Greenberg Traurig, LLP                        Minneapolis MN 55402                                    kieselbachp@gtlaw.com           Email
                                                                                                                                                         Attn: Jeffrey A. Krieger
                                                                                                           Greenberg, Glusker, Fields, Claman &          2049 Century Park East, Suite 2600
Counsel to SR19 Mark II Portfolio, LLC and Arka Miramar II, L.P. and Pacifica Real Estate III, LLC         Machtinger LLP                                Los Angeles CA 90067                                    JKrieger@ggfirm.com             Email
                                                                                                                                                         Attn: Bernard S. Greenfield, Edward T. Colbert
                                                                                                                                                         55 S. Market Street, Suite 1500                         bgreenfield@greenfieldlaw.com
Counsel to LaSalle, LP and AAP Trust                                                                       Greenfield LLP                                San Jose CA 95113                                       ecolbert@greenfieldlaw.com      Email




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                                                                                                                                                Exhibit A
                                                                                                                                         Core/2002 Service List
                                                                                                                                        Served as set forth below


                                                      DESCRIPTION                                                              NAME                                                     ADDRESS                                                 EMAIL         METHOD OF SERVICE
                                                                                                                                                           Attn: Jason S. Nunnermacker
                                                                                                                                                           365 West Passaic Street, Suite 130
Counsel to Custom Locations, LLC                                                                           Guaglardi & Meliti, LLP                         Rochelle Park NJ 07662                                           jnunnermacker@adgmlaw.com      Email
                                                                                                                                                           Attn: Donna H. Lieberman, Esquire
                                                                                                                                                           40 Wall Street, 37th Floor
Counsel to Kellermeyer Bergensons Services, LLC                                                            Halperin Battaglia Benzija, LLP                 New York NY 10005                                                dlieberman@halperinlaw.net     Email
                                                                                                                                                           Attn: Nancy J. Newman, Jordan A. Lavinsky
                                                                                                                                                           425 Market Street
                                                                                                                                                           26th Floor                                                       nnewman@hansonbridgett.com
Counsel to ACRE Investment Company, LLC, Marin Country Mart, LLC                                           Hanson Bridgett LLP                             San Franciso CA 94105                                            jlavinsky@hansonbridgett.com   Email
                                                                                                                                                           Attn: Carly M. Newman, Esq.
                                                                                                                                                           830 Lucerne Terrace
Counsel to Greenway Electrical Services, LLC                                                               Hayes & Newman, Pl                              Orlando FL 32801                                                 cnewman@const-law.com          Email
                                                                                                                                                           Attn: Kevin S. Wiley, Jr., Rebecca A. Hicks
                                                                                                                                                           325 N. St. Paul St.                                              KWiley@HicksLawGroup.com
Counsel to Kruger Litle d/b/a TCS Plumbing                                                                 Hicks Law Group PLLC                            Dallas TX 75201                                                  RHicks@HicksLawGroup.com       Email
                                                                                                                                                           Attn: Daniel C. Kerrick
                                                                                                                                                           1311 Delaware Avenue
Counsel to U.S. Electrical Services, Inc. d/b/a Wiedenbach-Brown Co., Inc.                                 Hogan McDaniel                                  Wilmington DE 19806                                              dckerrick@dkhogan.com          Email
                                                                                                                                                           Attn: Barbra R. Parlin
                                                                                                                                                           31 West 52nd Street
Counsel to TR Wateridge LLC                                                                                Holland & Knight LLP                            New York NY 10019                                                barbra.parlin@hklaw.com        Email
                                                                                                                                                           Attn: Lawrence A. Lichtman
                                                                                                                                                           2290 First National Building
                                                                                                                                                           660 Woodward Avenue
Counsel to Agree Littleton CO LLC, assignee of Denver Oaks, LP, 1830-1850 Ocean Avenue LLC                 Honigman LLP                                    Detriot MI 48226                                                 llichtman@honigman.com         Email
                                                                                                                                                           Attn: Gregory Scott Hoover
                                                                                                                                                           1805 - 136th Place NE #203
Counsel to POYUAN LU                                                                                       Hoover Law Group, PLLC                          Bellevue WA 98005                                                greg@gshlaw.net                Email
                                                                                                                                                           Attn: Jay Michael Ross, Monique D. Jewett-Brewster, Stephen J.   jross@hopkinscarley.com
                                                                                                                                                           Kottmeier, Liam O'Connor                                         mjb@hopkinscarley.com
Counsel to Columbus Avenue II, LLC, Croactive Property Group, Inc., 93 Bovet Lease Partners, LLC, and                                                      70 S First Street                                                sjk@hopkinscarley.com
Pacific Bay Masonry, Inc.                                                                                  Hopkins & Carley                                San Jose CA 95113-2406                                           loconnor@hopkinscarley.com     Email
                                                                                                                                                           Attn: Claudio E. Iannitelli
                                                                                                                                                           5353 North 16th Street
                                                                                                                                                           Suite 315
Counsel to OUTFRONT Media LLC                                                                              Iannitelli Marcolini, P.C.                      Phoenix AZ 85016                                                 cei@imlawpc.com                Email
                                                                                                                                                           Centralized Insolvency Operation
                                                                                                                                                           2970 Market St
                                                                                                                                                           Mail Stop 5 Q30 133
IRS Insolvency Section                                                                                     Internal Revenue Service                        Philadelphia PA 19104-5016                                                                      First Class Mail
                                                                                                                                                           Centralized Insolvency Operation
                                                                                                                                                           PO Box 7346
IRS Insolvency Section                                                                                     Internal Revenue Service                        Philadelphia PA 19101-7346                                                                      First Class Mail
                                                                                                                                                           Attn: "J" Jackson Shrum
Counsel to Columbus Avenue II, LLC, Croactive Property Group, Inc., Marsau Enterprises, Inc, Pacific Bay                                                   919 N. Market Street, Suite 1410
Masonry, Inc.                                                                                              Jack Shrum, PA                                  Wilmington DE 19801                                              jshrum@jshrumlaw.com           Email
                                                                                                                                                           Attn: Jeffrey M. Hawkinson
                                                                                                                                                           801 Second Avenue, Suite 700
Counsel to Bellevue Pacific, LLC                                                                           Jameson Pepple Cantu PLLC                       Seattle WA 98104                                                 jhawkinson@jpclaw.com          Email
                                                                                                                                                           1125 Lexington Avenue
                                                                                                                                                           Apt 5D
Interested Party                                                                                           Jayne Malkenson RN                              New York NY 10075                                                jayne1125@aol.com              Email
                                                                                                                                                           Attn: John E. Mitchell, Esq., Yelena E. Archiyan, Esq.
                                                                                                                                                           2121 North Pearl Street
                                                                                                                                                           Suite 1100                                                       john.mitchell@katten.com
Counsel to Spirit Master Funding X and Spirit CC Aurora, LLC                                               Katten Muchin Rosenman LLP                      Dallas TX 75201                                                  yelena.archiyan@katten.com     Email




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                                                                                                                                      Core/2002 Service List
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                                                      DESCRIPTION                                                           NAME                                                       ADDRESS                                                    EMAIL                  METHOD OF SERVICE
                                                                                                                                                         Attn: Tobias S. Keller, Esq., Berry D. Spears, Esq.,David Taylor,
                                                                                                                                                         Esq.
Counsel to AVG Partners GP; AVG Partners I, LLC; AVG Austin, LP; AVG Chula Vista, LLC; AVG Laguna LLC;                                                   650 California Street                                               tkeller@kbkllp.com
AVG Oakland, LLC; AVG Cypress LP; SW3LH, LLC; Builders Associates #3 (Rockwall); Arnold & Sheri                                                          Suite 1900                                                          bspears@kbkllp.com
Schlesinger; Builders Associates #3, LLC; Peak Holdings, LLC; AG Upland, LLC; AVG Puyallup, LLC          Keller Benvenutti Kim LLP                       San Francisco CA 94108                                              dtaylor@kbkllp.com                       Email
Counsel to Basser-Kaufman, Inc., Brookfield Property                                                                                                     Attn: Robert L. LeHane & Jennifer D. Raviele                        KDWBankruptcyDepartment@kelleydrye.com
REIT Inc., Regency Centers L.P., SITE Centers Corp.                                                                                                      101 Park Avenue                                                     rlehane@kelleydrye.com
and Woodmont Properties, Inc.                                                                            Kelley Drye & Warren LLP                        New York NY 10178                                                   jraviele@kelleydrye.com                  Email
                                                                                                                                                         Attn: Bankruptcy Division
                                                                                                                                                         c/o Linda Delgao
                                                                                                         Kern County Treasurer and Tax Collector         PO Box 579
Kern County Treasurer and Tax Collector Office                                                           Office                                          Bakersfield CA 93302-0579                                           bankruptcy@kerncounty.com                First Class Mail and Email
                                                                                                                                                         Attn: Raymond H. Lemisch
                                                                                                                                                         919 N. Market Street
                                                                                                                                                         Suite 1000
Counsel to 525 Colorado LLC                                                                              Klehr Harrison Harvey Branzburg LLP             Wilmington DE 19801-3062                                            rlemisch@klehr.com                       Email
                                                                                                                                                         Attn: Raymond M. Patella
                                                                                                                                                         675 Morris Ave
                                                                                                                                                         3rd Floor
Counsel to Axiom DR Construction LLC d/b/a Axiom Construction LLC                                        Kraemer Burns, P.A.                             Springfield NJ 07081                                                rpatella@kraemerburns.com                Email
                                                                                                                                                         Attn: Jeffrey Kurtzman, Esquire
                                                                                                                                                         401 S. 2nd Street
                                                                                                                                                         Suite 200
Counsel to BT Carrolton, LP                                                                              Kurtzman Steady, LLC                            Philadelphia PA 19147                                               kurtzman@kurtzmansteady.com              Email
                                                                                                                                                         Attn: Alfred Xue, Esq
                                                                                                                                                         885 3rd Ave
Counsel to First Agent                                                                                   Latham & Watkins LLP                            New York NY 10022                                                   AlfredXue@lw.com                         Email
                                                                                                                                                         Attn: Richard A. Levy & James Ktsanes
                                                                                                                                                         330 North Wabash Avenue
                                                                                                                                                         Suite 2800
Counsel to Morgan Stanley Senior Funding, Inc., as Administrative Agent and Collateral Agent             Latham & Watkins LLP                            Chicago IL 60611                                                    james.ktsanes@lw.com                     Email
                                                                                                                                                         Attn: Corey E. Taylor
                                                                                                                                                         629 Camino de Los Mares
                                                                                                                                                         Suite 305
Counsel to PCW Properties, LLC                                                                           Law Office of Corey E. Taylor                   San Clemente CA 92673                                               corey@taylorlawoc.com                    Email
                                                                                                                                                         Attn: Steven L. Bryson
                                                                                                                                                         11150 W. Olympic Blvd., Ste. 1120
Counsel to Schedule of Creditors                                                                         Law Office of Steven L. Bryson                  Los Angeles CA 90064                                                Office@SteveBryson.com                   Email
                                                                                                                                                         Attn: Susan E. Kaufman, Esq.
                                                                                                                                                         919 N. Market Street
Attorney for the Taubman Landlords, Westfield, LLC and its affiliates, Marin Country Mart, LLC, ACRE                                                     Suite 460
Investment Company, LLC                                                                                  Law Office of Susan E. Kaufman, LLC             Wilmington DE 19801                                                 skaufman@skaufmanlaw.com                 Email
                                                                                                                                                         Attn: William P. Fennell
                                                                                                                                                         600 West Broadway
                                                                                                                                                         Ste 930
Counsel to 5 Point Partners LP, a California Limited Partnership                                         Law Office of William P. Fennell, APLC          San Diego CA 92101                                                  william.fennell@fennelllaw.com           Email
                                                                                                                                                         Attn: William P. Fennell, Melissa A. Blackburn Joniaux, Yosina
                                                                                                                                                         M. Lissebeck
                                                                                                                                                         600 West Broadway                                                   william.fennell@fennelllaw.com
                                                                                                                                                         Suite 930                                                           mblackburnjoniaux@fennelllaw.com
Counsel to 5 Points Partners LP                                                                          Law Office of William P. Fennell, APLC          San Diego CA 92101                                                  yosina.lissebeck@fennelllaw.com          Email
                                                                                                                                                         Attn: Kevin S. Neiman
                                                                                                                                                         999 18th Street
                                                                                                                                                         Suite 1230 S
Counsel to US VI Downey, LLC                                                                             Law Offices of Kevin S. Neiman, PC              Denver CO 80202                                                     kevin@ksnpc.com                          Email




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                                                                                                                                     Core/2002 Service List
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                                                      DESCRIPTION                                                         NAME                                                     ADDRESS                                     EMAIL            METHOD OF SERVICE
                                                                                                                                                        Attn: Ronald K. Brown, Jr.
                                                                                                                                                        901 Dove Street, Suite 120
Counsel to Newkoa, LLC                                                                                 Law Offices of Ronald K. Brown, Jr.              Newport Beach CA 92660                            Ron@rkbrownlaw.com                 Email
                                                                                                                                                        Attn: Eve H. Karasik
                                                                                                                                                        10250 Constellation Blvd
                                                                                                                                                        Suite 1700
Counsel to Huntington South Center LLC                                                                 Levene, Neale, Bender, Yoo & Brill L.L.P.        Los Angeles CA 90067                              EHK@lnbyb.com                      Email
                                                                                                                                                        Attn: Eve H. Karasik
                                                                                                                                                        10250 Constellation Blvd.
                                                                                                                                                        Suite 1700
Counsel to Huntington South Center, LLC                                                                Levene, Neale, Bender, Yoo & Brill L.L.P.        Los Angeles CA 90067                              EHK@lnbyb.com                      Email
                                                                                                                                                        Attn: M. Reas Bowman
                                                                                                                                                        180 N. LaSalle St., Suite 3200
Counsel to HSG-KRE Oak Lawn Property Owner, LLC and HSG Algonquin, LLC                                 Levin Ginsburg                                   Chicago IL 60601                                  rbowman@lgattorneys.com            Email
                                                                                                                                                        Attn: Katie J. Comstock
                                                                                                                                                        1200 Fifth Ave.
                                                                                                                                                        Suite 1850
Attorney for Rosen Investment Company Holdings, LLC                                                    Levy Von Beck Comstock P.S.                      Seattle WA 98101                                  katie@levy-law.com                 Email
                                                                                                                                                        Attn: Elizabeth Weller
                                                                                                                                                        2777 N. Stemmons Freeway
                                                                                                                                                        Suite 1000
Counsel to Rockwall Cad, City of Frisco, Allen ISD, Dallas County, Tarrant County, and City of Allen   Linebarger Goggan Blair & Sampson, LLP           Dallas TX 75207                                   dallas.bankruptcy@publicans.com    Email
                                                                                                                                                        Attn: John P. Dillman
Counsel to Cypress-Fairbanks ISD, Harris County, Galveston County, Montgomery County, Fort Bend                                                         PO Box 3064
County                                                                                                 Linebarger Goggan Blair & Sampson, LLP           Houston TX 77253-3064                             houston_bankruptcy@publicans.com   Email
                                                                                                                                                        Attn: Jeffrey Cohen, Lindsay Sklar
                                                                                                                                                        1251 Avenue of the Americas                       jcohen@lowenstein.com
Counsel to Precor Incorporated                                                                         Lowenstein Sandler LLP                           New York NY 10020                                 lsklar@lowenstein.com              Email
                                                                                                                                                        Attn: Dennis D. Miller
                                                                                                                                                        600 Montgomery Street
                                                                                                                                                        14th Floor
Counsel to Eurpac Service, Inc.                                                                        Lubin Olson & Niewiadomski LLP                   San Francisco CA 94111                            dmiller@lubinolson.com             Email
                                                                                                                                                        Attn: Alexander K. Lee, Reno F.R. Fernandez III
                                                                                                                                                        221 Sansome Street, Third Floor                   reno@macfern.com
Counsel to Nazareth Retail Holdings, LLC and Crane Court, LLC                                          Macdonald Fernandez LLP                          San Francisco CA 94104                            alex@macfern.com                   Email
                                                                                                                                                        Attn: Nathan F. Smith, William G. Malcolm         nathan@mclaw.org
                                                                                                                                                        2112 Business Center Drive                        bill@mclaw.org
Counsel to Vilage Hillcrest Partners Lp                                                                Malcolm Cisneros, a Law Corporation              Irvine CA 92612                                   bill@mclaw.org                     Email
                                                                                                                                                        Attn: Tara LeDay
Counsel to The County of Denton, Texas and The County of Williamson, Texas, (the “Texas Taxing                                                          P. O. Box 1269
Authorities”)                                                                                          McCreary, Veselka, Bragg & Allen, P.C.           Round Rock TX 78680                               tleday@mvbalaw.com                 Email
                                                                                                                                                        Attn: Nicole C. Kenworthy
                                                                                                                                                        6801 Kenilworth Avenue
                                                                                                                                                        Suite 400
Counsel to Prince George's County, Maryland                                                            Meyers, Rodbell & Rosenbaum, P.A.                Riverdale MA 20737-1385                           bdept@mrrlaw.net                   Email
                                                                                                                                                        Attn: Marc N. Swanson
                                                                                                                                                        150 West Jefferson
                                                                                                                                                        Suite 2500
Counsel to Softtek Integration Systems, Inc.                                                           Miller, Canfield, Paddock and Stone, P.L.C.      Detroit MI 48226                                  swansonm@millercanfield.com        Email
                                                                                                                                                        Attn: Rachel B. Mersky
                                                                                                                                                        1201 N. Orange Street
                                                                                                       Monzack Mersky Browder and Hochman,              Suite 400
Counsel to Waste Management                                                                            P.A                                              Wilmington DE 19801                               rmersky@monlaw.com                 Email
                                                                                                                                                        Attn: Craig A. Wolfe
                                                                                                                                                        101 Park Avenue
Counsel to Kimco Realty Corporation                                                                    Morgan, Lewis & Bockius LLP                      New York NY 10178-0600                            craig.wolfe@morganlewis.com        Email




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                                                                                                                                          Core/2002 Service List
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                                                      DESCRIPTION                                                                 NAME                                                   ADDRESS                                                EMAIL            METHOD OF SERVICE
                                                                                                                                                              Attn: Jody C. Barillare
                                                                                                                                                              Nemours Buidling
                                                                                                                                                              1007 Orange Street, Suite 501
Counsel to Kimco Realty Corporation                                                                          Morgan, Lewis & Bockius LLP                      Wilmington DE 19801                                          jbarillare@morganlewis.com         Email
                                                                                                                                                              Attn: Laura McCarthy
                                                                                                                                                              One Federal Street - 32nd Floor
Counsel to Kimco Realty Corporation                                                                          Morgan, Lewis & Bockius LLP                      Boston MA 02110-1726                                         laura.mccarthy@morganlewis.com     Email
                                                                                                                                                              Attn: Eric J. Monzo, Brya M. Keilson
                                                                                                                                                              500 Delaware Avenue, Suite 1500                              emonzo@morrisjames.com
Official Committee of Unsecured Creditors                                                                    Morris James LLP                                 Wilmington DE 19801                                          bkeilson@morrisjames.com           Email
                                                                                                                                                              Attn: Curtis S. Miller, Mathew O. Talmo
Counsel to 24 HR – TX (TX) Limited Partnership;                                                                                                               1201 North Market Street, 16th Floor
FIT (TX) LP; SF (TX) LP; FIT (CO) QRS 15-59, INC.;                                                                                                            P.O. Box 1347                                                cmiller@mnat.com
AND FIT (UT) QRS 14-92, INC.                                                                                 Morris, Nichols, Arsht & Tunnell LLP             Wilmington DE 19899-1347                                     mtalmo@mnat.com                    Email
                                                                                                                                                              Attn: Erica J. Richards
                                                                                                                                                              250 West 55th Street
Counsel to United Parcel Service, Inc. and BT-OH, LLC                                                        Morrison & Foerster Llp                          New York NY 10019-9601                                       erichards@mofo.com                 Email
                                                                                                                                                              Attn: Vikrama S. Chandrashekar
                                                                                                                                                              1400 16th Street
Counsel to CAPLOW DENVER, LLC, a California limited liability company; and DENVER EXCHANGE, LLC, a                                                            6th Floor
California limited liability company d/b/a DENVER EXCHANGE I, LLC                                            Moye White LLP                                   Denver CO 80202-1486                                         Vika.Chandrashekar@moyewhite.com   Email
Counsel to Brazos TC South - Partnership B, L.P.; A-S 93 SH 130-SH 45, L.P.; A-S 117 Shops at the Reserve,                                                    Attn: John D. Cornwell, Thomas D. Berghman
L.P.; A-S 76 HWY 290-Bingle, L.P.; A-S 86 FM 1960 FM 1960-Veterans Memorial, L.P.; A-S 30 FM 518-FM                                                           700 Milam Street, Suite 2700                                 jcornwell@munsch.com
528, L.P.; and A-S 144 Grand Parkway-W. Airport, L.P.                                                        Munsch Hardt Kopf & Harr, P.C.                   Houston TX 77002                                             tberghman@munsch.com               Email
                                                                                                                                                              Attn: Kevin M. Lippman, Esq.
                                                                                                                                                              500 N. Akard Street
                                                                                                                                                              Suite 3800
Counsel to CSRA 5901 Golden Triangle Master Lessee, LLC                                                      Munsch Hardt Kopf & Harr, P.C.                   Dallas TX 75201-6659                                         klippman@munsch.com                Email
                                                                                                                                                              Attn: Michael W. Adams
                                                                                                                                                              2603 Augusta
                                                                                                                                                              Suite 1000
Counsel to Axiom DR Construction LLC d/b/a Axiom Construction LLC                                            Nance & Simpson, LLP                             Houston TX 77057                                             madams@nancesimpson.com            Email
                                                                                                                                                                                                                           mparks@omm.com
                                                                                                                                                                                                                           spak@omm.com
                                                                                                                                                                                                                           dshamah@omm.com
                                                                                                                                                              Attn: Daniel S Shamah Esq, Diana M Perez Esq, Adam P         DPerez@omm.com
                                                                                                                                                              Haberkorn, Esq, John J. Rapisardi, Adam C. Rogoff            AHaberkorn@omm.com
                                                                                                                                                              7 Times Square                                               jrapisardi@omm.com
Counsel to the Ad Hoc Crossover Group                                                                        O’Melveny & Myers LLP                            New York NY 10036                                            adamrogoff@omm.com                 Email
                                                                                                                                                              Bankruptcy & Collections Division
                                                                                                                                                              Attn J Binford, J Roy, Courtney J. Hull                      jason.binford@oag.texas.gov
                                                                                                                                                              P.O. Box 12548 MC 008                                        casey.roy@oag.texas.gov
Counsel to the State of Texas, Texas Comptroller of Public Accounts                                          Office of the Attorney General of Texas          Austin TX 78711-2548                                         bk-chull@oag.texas.gov             Email
                                                                                                                                                              Attn: Linda J. Casey
                                                                                                                                                              844 King St Ste 2207
United States Trustee District of Delaware                                                                   Office of the United States Trustee              Wilmington DE 19801                                          Linda.Casey@usdoj.gov              First Class Mail and Email
                                                                                                                                                              Attn: Brian J. McLaughlin
                                                                                                                                                              222 Delaware Avenue, Suite 1105
Counsel to Mark Group Partnership No. 6                                                                      Offit Kurman, P.A.                               Wilmington DE 19801                                          Brian.mclaughlin@offitkurman.com   Email
                                                                                                                                                              Attn: Lawrence J. Hilton
                                                                                                                                                              4000 MacArthur Blvd, East Tower
                                                                                                                                                              Suite 500
Counsel to Ocean Ranch II, LLC                                                                               One LLP                                          Newport Beach CA 92660                                       lhilton@onellp.com                 Email
                                                                                                                                                              Attn: Laura Davis Jones, Timothy P. Cairns, Peter J. Keane
                                                                                                                                                              919 North Market Street                                      ljones@pszjlaw.com
                                                                                                                                                              P.O. Box 8705                                                tcairns@pszjlaw.com
Counsel to Debtor                                                                                            Pachulski Stang Ziehl & Jones LLP                Wilmington DE 19899-8705                                     pkeane@pszjlaw.com                 Email




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                                                                                                                                       Served as set forth below


                                                      DESCRIPTION                                                             NAME                                                  ADDRESS                                                  EMAIL         METHOD OF SERVICE
                                                                                                                                                                                                                          fournierd@pepperlaw.com
                                                                                                                                                                                                                          listwakk@pepperlaw.com
                                                                                                                                                         Attn: David M. Fournier, Kenneth A. Listwak                      wlbank@pepperlaw.com
                                                                                                                                                         Hercules Plaza, Suite 5100                                       smithda@pepperlaw.com
Counsel to Wilmington Trust, National Association,                                                                                                       1313 N. Market Street, P.O. Box 1709                             molitorm@pepperlaw.com
as DIP Agent                                                                                               Pepper Hamilton LLP                           Wilmington DE 19899-1709                                         hardinp@pepperlaw.com         Email
                                                                                                                                                         c/o Eboney Cobb
                                                                                                                                                         500 E. Border Street
Counsel to Richardson ISD, Arlington ISD, Crowley ISD, Eagle Mountain-Saginaw ISD, Frisco ISD,             Perdue, Brandon, Fielder, Collins & Mott,     Suite 640
Grapevine-Colleyville ISD                                                                                  L.L.P.                                        Arlington TX 76010                                               ecobb@pbfcm.com               Email
                                                                                                                                                         c/o Owen M. Sonik
Counsel to Spring Branch Independent School District, Klein Independent School District, Humble                                                          1235 North Loop West
Independent School District, Spring Independent School District, Alief Independent School District,        Perdue, Brandon, Fielder, Collins & Mott,     Suite 600
Pasadena Independent School District, Clear Creek Independent School District                              L.L.P.                                        Houston TX 77008                                                 osonik@pbfcm.com              Email

                                                                                                                                                         Attn: Christopher A. Ward, Brenna A. Dolphin, Shanti M. Katona
                                                                                                                                                         222 Delaware Ave.                                                cward@polsinelli.com
                                                                                                                                                         Suite 1101                                                       bdolphin@polsinelli.com
Counsel to Huntington South Center, LLC                                                                    Polsinelli Pc                                 Wilmington DE 19801                                              skatona@polsinelli.com        Email
                                                                                                                                                         Attn: Gerald P. Kennedy, Esq.
                                                                                                                                                         525 B Street
                                                                                                                                                         Suite 2200
Attorney for Mann Enterprises, Inc.                                                                        Procopio, Cory, Hargreaves & Savitch LLP      San Diego CA 92101                                               gerald.kennedy@procopio.com   Email
                                                                                                                                                         c/o Timothy T. Mitchell
                                                                                                                                                         4422 Ridgeside Drive                                             tim@rashtiandmitchell.com
Counsel to EQYInvest Owner II, Ltd, LLP                                                                    Rashti and Mitchell, Attroneys at law         Dallas TX 75244                                                  dkrm@aol.com                  Email
                                                                                                                                                         Attn: Eric A. Schaffer Esq., Luke A. Sizemore Esq.
                                                                                                                                                         Reed Smith Centre
Counsel to Wells Fargo Bank, National                                                                                                                    225 Fifth Avenue                                                 eschaffer@reedsmith.com
Association, as indenture trustee                                                                          Reed Smith LLP                                Pittsburgh PA 15222                                              lsizemore@reedsmith.com       Email
                                                                                                                                                         Attn: Mark W. Eckard
                                                                                                                                                         1201 North Market Street
Counsel to Wells Fargo Bank, National                                                                                                                    Suite 1500
Association, as indenture trustee                                                                          Reed Smith LLP                                Wilmington DE 19801                                              meckard@reedsmith.com         Email
                                                                                                                                                         Attn: Evan W, Rassman, Esq.
                                                                                                                                                         1521 Concord Pike, Suite 305
Counsel to Che Chen Liu and Shu Fen Liu Revocable Trust (as successor in interest to Moreno Valley Twenty-                                               Brandywine Plaza West
Four Hour, LLC), San Jose Central Travel, Inc                                                              Reger Rizzo & Darnall LLP                     Wilmington DE 19803                                              erassman@regerlaw.com         Email

                                                                                                                                                         Attn: Mark D. Collins, Michael J. Merchant, David T. Queroli
                                                                                                                                                         One Rodney Square                                                collins@rlf.com
                                                                                                                                                         920 North King Street                                            merchant@rlf.com
Counsel to the Ad Hoc Group                                                                                Richards, Layton & Finger, P.A.               Wilmington DE 19801                                              queroli@rlf.com               Email
                                                                                                                                                         Attn: Paul Jasper, Phillip K. Wang
                                                                                                                                                         One Embarcadero Center, Suite 400                                paul.jasper@rimonlaw.com
Counsel to AV Now, Inc.                                                                                    Rimon, P.C.                                   San Francisco CA 94111                                           phillip.wang@rimonlaw.com     Email
                                                                                                                                                         Attn: Jamie L. Edmonson
                                                                                                                                                         1201 North Market Street
                                                                                                                                                         Suite 1406
Counsel to MLT Station, L.L.C.                                                                             Robinson & Cole LLP                           Wilmington DE 19801                                              jedmonson@rc.com              Email

Counsel to RU Old Denton Road Fort Worth TX, LLC
which is a subsidiary of BRIX REIT, INC., Landlord, RU Rainbow Blvd Las Vegas, NV, LLC which is a subsidiary                                             120 Newport Center Drive
of RW Holdings NNN REIT Operating Partnership, LP, a subsidiary of RW Holdings NNN REIT., Inc.               RU Rainbow Blvd Las Vegas, NV, LLC          Newport Beach CA 92660                                                                         First Class Mail




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                                                      DESCRIPTION                                                                 NAME                                                    ADDRESS                                       EMAIL         METHOD OF SERVICE
                                                                                                                                                             Attn: Paul A. Rubin, Hanh Huynh
                                                                                                                                                             345 Seventh Avenue
                                                                                                                                                             21st Floor                                             prubin@rubinlawllc.com
Counsel to Centennial Square, LLC                                                                             Rubin LLC                                      New York NY 10001                                      hhuynh@rubinlawllc.com         Email
                                                                                                                                                             Attn: Steven W Kelly
                                                                                                                                                             1290 Broadway
                                                                                                                                                             Suite 1650
Counsel to AmCap Austin Bluffs LLC, AmCap Tiffany LLC, and ADLP-U&A, LLC, RSD Partners, LLC                   S&D Law                                        Denver CO 80203                                                                       First Class Mail
                                                                                                                                                             Attn: Joel M. Shafferman
                                                                                                                                                             The Omni - 333 Earle Ovington Boulevard
                                                                                                                                                             Suite 601
Counsel to BMS Realty Company                                                                                 Sahn Ward Coschignano, PLLC                    Uniondale NY 11553                                     jshafferman@swc-law.com        Email
                                                                                                                                                             Attn: John D. Demmy
                                                                                                                                                             1201 N. Market Street, Suite 2300
Counsel to SR19 Mark II Portfolio, LLC and Arka Miramar II, L.P. and Pacifica Real Estate III, LLC, HSG-KRE                                                  P.O. Box 1266
Oak Lawn Property Owner, LLC and HSG Algonquin, LLC                                                           Saul Ewing Arnstein & Lehr LLP                 Wilmington DE 19899                                    john.demmy@saul.com            Email
                                                                                                                                                             Attn: Nicholas J. LePore, Esq., Samantha Banks, Esq.
                                                                                                                                                             1600 Market Street
                                                                                                                                                             Suite 3600                                             nlepore@schnader.com
Counsel to Frank Napolitano and Charles Huff                                                                  Schnader Harrison Segal & Lewis LLP            Philadelphia PA 19103                                  sbanks@schnader.com            Email
                                                                                                                                                             Attn: Richard A. Barkasy, Kristi J. Doughty, Esq.
                                                                                                                                                             824 N. Market Street
                                                                                                                                                             Suite 800                                              rbarkasy@schnader.com
Counsel to Frank Napolitano and Charles Huff                                                                  Schnader Harrison Segal & Lewis LLP            Wilmington DE 19801-4939                               kdoughty@schnader.com          Email
                                                                                                                                                             Attn: Michael M. Sperry, Esq.
                                                                                                                                                             575 S. Michigan Street
Counsel to OB Frank Properties, LLC                                                                           Schweet Linde & Coulson, Pllc                  Seattle WA 98108                                       michaels@schweetlaw.com        Email
                                                                                                                                                             Secretary of the Treasury
                                                                                                                                                             100 F St NE
Securities and Exchange Commission - Headquarters                                                             Securities & Exchange Commission               Washington DC 20549                                    secbankruptcy@sec.gov          First Class Mail and Email
                                                                                                                                                             Attn: Bankruptcy Dept
                                                                                                                                                             Brookfield Place
                                                                                                              Securities & Exchange Commission - NY          200 Vesey Street Ste 400                               bankruptcynoticeschr@sec.gov
Securities and Exchange Commission - Regional Office                                                          Office                                         New York NY 10281-1022                                 NYROBankruptcy@SEC.GOV         First Class Mail and Email
                                                                                                                                                             Attn: Bankruptcy Dept
                                                                                                                                                             One Penn Center
                                                                                                              Securities & Exchange Commission -             1617 JFK Blvd Ste 520
Securities and Exchange Commission - Regional Office                                                          Philadelphia Office                            Philadelphia PA 19103                                  secbankruptcy@sec.gov          First Class Mail and Email
                                                                                                                                                             Attn: Edward M. Fox, Esq.
                                                                                                                                                             620 8th Avenue
Counsel to 600 Broadway Partners LLC                                                                          Seyfarth Shaw LLP                              New York NY 10018                                      emfox@seyfarth.com             Email
                                                                                                                                                             Attn: Ronald M. Tucker, Esq.
                                                                                                                                                             225 West Washington Street
Counsel to Simon Property Group, Inc. and its related entities                                                Simon Property Group, Inc.                     Indianapolis IN 46204                                  rtucker@simon.com              Email
                                                                                                                                                             Attn: Michelle E. Shriro, Esq.
                                                                                                                                                             16200 Addison Road
                                                                                                                                                             Suite 140
Counsel to Icon Owner Pool 1 West/Southwest, LLC                                                              Singer & Levick, P.C.                          Addison TX 75001                                       mshriro@singerlevick.com       Email
                                                                                                                                                             Attn: Ian S. Landsberg, Esq.
                                                                                                                                                             1880 Century Park East
                                                                                                                                                             Suite 300
Counsels for Rolling Hills Plaza LLC                                                                          Sklar Kirsh, LLP                               Los Angeles CA 90067                                   ilandsberg@sklarkirsh.com      Email

Counsel to Allen Fitness, LP, Frisco Fitness, LP, Highlands Fitness, LP, Lakeline Austin Fitness, LP, North
Richland Fitness, LP, Phoenix Metro Center Fitness, LP, Colorado Springs Fitness, LP, Everett Washington                                                     Attn: Anne K. Edwards
Fitness, LP, Kirkwood Missouri Fitness, LP, Pembroke Miami Fitness, Ltd., Round Rock Fitness, LP, BHF, a                                                     444 South Flower Street, Suite 1700
California Limited Partnership, Lowry Denver Fitness, LP, Almaden Fitness, LP, Hancock Fitness, LP            Smith, Gambrell & Russell, LLP                 Los Angeles CA 90071                                   aedwards@sgrlaw.com            Email




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                                                                                                                                    Exhibit A
                                                                                                                              Core/2002 Service List
                                                                                                                             Served as set forth below


                                                      DESCRIPTION                                                    NAME                                               ADDRESS                                 EMAIL         METHOD OF SERVICE
                                                                                                                                               Attn: Michael D. Breslauer
                                                                                                                                               401 B Street
                                                                                                                                               Suite 1200                                mbreslauer@swsslaw.com
Counsel to SunBrewer Partners, L.P                                                             Solomon Ward Seidenwurm & Smith, LLP            San Diego CA 92101                        wyones@swsslaw.com                Email
                                                                                                                                               Attn: Brian H. Song
                                                                                                                                               2559 S. Bascom Ave
Counsel to SAN JOSE CENTRAL TRAVEL, INC                                                        Song & Lee, LLP                                 Campbell CA 95008                         Briansong@songleelaw.com          Email
                                                                                                                                               Attn: Michael St. James, Esq.
                                                                                                                                               22 Battery Street
                                                                                                                                               Suite 888
Counsel to 111 Sutter Street Owner LP                                                          St. James Law, P.C.                             San Francisco CA 94111                    ECF@stjames-law.com               Email
                                                                                                                                               Attn: Joseph H. Lemkin, Thomas S. Onder
                                                                                                                                               P.O. Box 5315                             jlemkin@stark-stark.com
Counsel to Levin Management Corporation                                                        Stark & Stark, P.C.                             Princeton NJ 08543                        tonder@stark-stark.com            Email
                                                                                                                                               Attn: James F. Evers, Esq.
                                                                                                                                               Office of Consumer Protection
                                                                                                                                               235 S. Beretania Street, Room 801
Counsel to the State of Hawaii pursuant to Hawaii Revised Statutes Chapter 487                 State of Hawaii                                 Honolulu HI 96813                         jevers@dcca.hawaii.gov            Email
                                                                                                                                               Museum Tower, Suite 2200
                                                                                               Stearns Weaver Miller Weissler Alhadeff &       150 West Flagler Street
Counsel to S&C Venture, a joint venture                                                        Sitterson, P.A.                                 Miami FL 33130                            predmond@stearnsweaver.com        Email
                                                                                                                                               Attn: Thomas A. Lerner
                                                                                                                                               1420 Fifth Avenue
                                                                                                                                               Suite 3000
Counsel to MLT Station, L.L.C.                                                                 Stokes Lawerence, P.S.                          Seattle WA 98101-2393                     tom.lerner@stokeslaw.com          Email
                                                                                                                                               Attn: Ian Connor Bifferato, Esq.
                                                                                                                                               1007 N. Orange Street
                                                                                                                                               4th Floor
Counsel to Spirit Master Funding X and Spirit CC Aurora, LLC                                   The Bifferato Firm, P.A.                        Wilmington DE 19801                       cbifferato@tbf.legal              Email
                                                                                                                                               Attn: James Tobia
                                                                                                                                               1716 Wawaset Street
Counsel to MEPT Westwood Village, LLC                                                          The Law Office of James Tobia, LLC              Wilmington DE 19806                       jtobia@tobialaw.com               Email
                                                                                                                                               Attn: John P. Schafer
                                                                                                                                               30900 Rancho Viejo Road, Suite 235
Counsel to Pine Castle, N.V                                                                    The Schafer Law Firm, P.C.                      San Juan Capistrano CA 92675              john@jpschaferlaw.com             Email
                                                                                                                                               Attn: Dina L. Yunker
                                                                                               The State of Washington Department of           800 Fifth Avenue, Suite 2000
The State of Washington Department of Revenue                                                  Revenue                                         Seattle WA 94104-3188                     bcuyunker@atg.wa.gov              Email
                                                                                                                                               Attn: Andrew S. Conway, Esq.
                                                                                                                                               200 East Long Lake Road
                                                                                                                                               Suite 300
Attorney for the Taubman Landlords                                                             The Taubman Company                             Bloomfield Hills MI 48304                 aconway@taubman.com               Email
                                                                                                                                               Attn: Chase C. Alvord
                                                                                                                                               1700 Seventh Avenue
                                                                                                                                               Suite 2200
Counsel to MEPT Westwood Village, LLC and Madison Marquette                                    Toulsey Brain Stephens PLLC                     Seattle WA 98101                          calvord@tousley.com               Email
                                                                                                                                               Attn: Jennifer L. Pruski
Counsel to DS FOUNTAIN VALLEY LP, a Delaware limited partnership; and DS PROPERTIES 17 LP, a                                                   Post Office Box 255824
Delaware limited partnership                                                                   Trainor Fairbrook                               Sacramento CA 95865                       jpruski@trainorfairbrook.com      Email
                                                                                                                                               Attn: Jason A. Starks
                                                                                                                                               P.O. Box 1748
Counsel to Travis County                                                                       Travis County Attorney                          Austin TX 78767                           Jason.Starks@traviscountytx.gov   Email
                                                                                                                                               Attn: Charles Oberly co Ellen Slights
                                                                                                                                               1007 Orange St Ste 700
                                                                                                                                               PO Box 2046
US Attorney for the District of Delaware                                                       US Attorney for Delaware                        Wilmington DE 19899-2046                  usade.ecfbankruptcy@usdoj.gov     First Class Mail and Email




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                                                                                                                                                 Exhibit A
                                                                                                                                          Core/2002 Service List
                                                                                                                                         Served as set forth below


                                                      DESCRIPTION                                                                NAME                                                   ADDRESS                                               EMAIL            METHOD OF SERVICE
                                                                                                                                                             Attn: Thomas Korsman
                                                                                                                                                             600 S. 4th Street
                                                                                                                                                             MAC N9300-061
Top 30 Unsecured Creditors                                                                                   Wells Fargo, N.A.                               Minneapolis MN 55479                                         Thomas.m.korsman@wellsfargo.com   Email
                                                                                                                                                             Attn: Corporate Trust Services - Administrator for 24 Hour
                                                                                                                                                             Fitness
                                                                                                                                                             150 East 42nd St
Counsel to the Senior Notes Indenture Trustee                                                                Wells Fargo, National Association               New York NY 10017                                                                              First Class Mail
                                                                                                                                                             Attn: Jeff Carruth
                                                                                                                                                             11 Greenway Plaza, Suite 1400
Counsel to Tri Cities Harriman LLC                                                                           Weycer, Kaplan, Pulaski & Zuber, P.C.           Houston TX 77046                                             jcarruth@wkpz.com                 Email
                                                                                                                                                             Attn: Stephen B. Gerald
                                                                                                                                                             405 North King Street
                                                                                                                                                             Suite 500
Counsel to United Parcel Service, Inc. and BT-OH, LLC                                                        Whiteford, Taylor & Preston Llc                 Wilmington DE 19801                                          sgerald@wtplaw.com                Email

Counsel to Brazos TC South - Partnership B, L.P.; A-S 93 SH 130-SH 45, L.P.; A-S 117 Shops at the Reserve,                                                   Attn: Matthew P. Ward, Morgan L. Patterson
L.P.; A-S 76 HWY 290-Bingle, L.P.; A-S 86 FM 1960 FM 1960-Veterans Memorial, L.P.; A-S 30 FM 518-FM                                                          1313 North Market Street, Suite 1200                         matthew.ward@wbd-us.com
528, L.P.; and A-S 144 Grand Parkway-W. Airport, L.P.; Crane Court, LLC and Nazareth Retail Holdings, LLC    Womble Bond Dickinson (US) LLP                  Wilmington DE 19801                                          morgan.patterson@wbd-us.com       Email

                                                                                                                                                             Attn: Robert S. Brady, Michael R. Nestor & Andrew L. Magaziner
                                                                                                                                                             Rodney Square                                                  rbrady@ycst.com
                                                                                                                                                             1000 North King Street                                         mnestor@ycst.com
Counsel to Morgan Stanley Senior Funding, Inc., as Administrative Agent and Collateral Agent                 Young Conaway Stargatt & Taylor, LLP            Wilmington DE 19801                                            amagaziner@ycst.com             Email




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                        Exhibit B
                                                                                                        Case 20-11558-KBO         Doc 1120      Filed 10/23/20    Page 17 of 57

                                                                                                                                        Exhibit B
                                                                                                                                Notice Parties Service List
                                                                                                                                Served as set forth below


 MMLID                     Name                               Address1                        Address2                      Address3                   Address4               City     State Postal Code                Email                     Method of Service
                                                                                                                   1875 Century Park East,
10439602 Crump, Givon                           Arturo T. Salinas, Esq.              Banafshe Law Firm             Suite 1850                                        Los Angeles       CA    90067         ats@banalaw.com                 First Class Mail and Email
                                                                                                                   1225 King Street, Suite
10439602 Crump, Givon                           Michael J. Joyce, Esq.               The Law Offices of Joyce, LLC 800                                               Wilmington        DE    19801         mjoyce@mjlawoffices.com         First Class Mail and Email
10334782 Hunt, daverick                         12603 Mostyn Ct                                                                                                      Magnolia          TX    77354         daverickh@yahoo.com             First Class Mail and Email

 8338068 K.M., a minor child                    Maria Moya (parent)                  3031 East Thoroughbred St.                                                      Ontario           CA    91716                                         First Class Mail
                                                                                     2300 Contra Costa Blvd.,
 8338068 K.M., a minor child                    Nicole Castronovo, Esq.              Suite 500                                                                       Pleasant Hill     CA    94523         ncastronovo@rlslawyers.com      First Class Mail and Email
                                                                                                                    12222 Merit Drive, Suite
10537356 Kieffer, Sheryl                        Law Office of Julie Johnson, PLLC    Att: Robin R. Zegen            1200                                             Dallas            TX    75251         RobinR@JulieJohnsonLaw.com      First Class Mail and Email
                                                                                                                    12222 Merit Drive, Suite
10537962 Kieffer, Stephen                       Law Office of Julie Johnson, PLLC    Att: Robin R. Zegen            1200                                             Dallas            TX    75251         RobinR@JulieJohnsonLaw.com      First Class Mail and Email
                                                                                     1900 Saint James Place, Ste.
10545770 King, Kodeesha                         Joel B. Flowers, III, Attorney       480                                                                             Houston           TX    77056         info@livingstonflowerslaw.com   First Class Mail and Email
10512452 Kossow, Mikenna                        Jeffrey Hogue, Esq.                  Hogue & Belong                 170 Laurel Street                                San Diego         CA    92101         jhogue@hoguebelonglaw.com       First Class Mail and Email
         Maionchi/Launderland 24th street
10378565 Family Partnership, LP                 Attention: Dominic Maionchi          250 Avila Street                                                                San Francisco     CA    94123         dm567@icloud.com                First Class Mail and Email

10289251 Nunez, Johnny                          Mark E. Seitelman                    Law Offices P.C.               Trinity Building           111 Broadway 9th Floor New York         NY    10006-1091 mark@seitelman.com                 First Class Mail and Email
10523032 Salas, Luis                            Law Offices of Jeffrey Hasson        320 Cedar Lane                                                                   Teaneck          NJ    07666      japner@hassonlawoffices.com        First Class Mail and Email

10534087 Somers, Celia                          Cohen & Marzban, Law Corp            Cynthia E. Allred, Esq         16000 Ventura Blvd #701                          Encino            CA    91436         cynthia@bmclaw.net              First Class Mail and Email
 8511645 Taylor, Bailey                         Michael S Traylor, Esq.              Traylor Law Office, PC         8601 Lincoln Blvd 180   Suite 525                Los Angeles       CA    90045         TraylorLawOffice@gmail.com      First Class Mail and Email
                                                                                                                                                                                                           bisatfcms@gmail.com;
10535469 Tinnin, Ann                            19774 E Fair Pl                                                                                                      Aurora            CO    80016         brian@matlininjurylaw.com       First Class Mail and Email
 8510864 White, Joshalyn                        Michael S. Traylor, Esq.             8601 Lincoln Blvd. 180    Suite 525                                             Los Angeles       CA    90045         TraylorLawOffice@gmail.com      First Class Mail and Email
                                                                                     200 South Andrews Avenue,
10383447 William C. Ruggiero Trust Account      Law offices of William C. Ruggiero   Suite 703                                                                       Fort Lauderdale   FL    33301         ruggiero@wcrlaw.com             First Class Mail and Email




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                        Exhibit C
                                                                                                                                                           Case 20-11558-KBO          Doc 1120        Filed 10/23/20      Page 19 of 57




                                                                                                                                                                                              Exhibit C
                                                                                                                                                                                  Civil Counterparties Service List
                                                                                                                                                                                     Served as set forth below

                                                MMLID                        Name                              Address1                        Address2                          Address3                         Address4                    City       State   Postal Code                  Email                 Method of Service

                                                8509550 24 LLC                                   Curran & Associates                 John E. Curran                  3750 Osage Beach Parkway                                      Osage Beach          MO       65065         vargas1.aaron@gmail.com          First Class Mail and Email
                                                        24 New York, LLC and WPF v. Ocean Ice
                                                8509548 Palace                                   Christopher E. Hartmann             1256 Route 202/206 North                                                                      Bridgewater          NJ       08807-1288    olivoabraham@yahoo.com           First Class Mail and Email

                                                8509528 507 Northgate LLC                        Buchalter                           Bradley P. Thoreson             A Professional Corporation       1420 Fifth Avenue, Ste. 3100 Seattle              WA       98101-1337                                     First Class Mail
                                                8509315 ABELLA, LITA                             825 E CASSIA LN                     Unit E                                                                                        AZUSA                CA       91702                                          First Class Mail
                                                8509332 ABELLA, LITA                             825 E CASSIA LN                     Unit E                                                                                        AZUSA                CA       91702-6853                                     First Class Mail

                                                8509415 ABELLA, LITA                             LEVITON, DIAZ & GINOCCHIO           CHRIS GINOCHIO                  1551 N TUSTIN AVE                Suite 850                    SANTA ANA            CA       90064         MORENOALAN19187@GMAIL.COM        First Class Mail and Email

                                                8509412 ABELLA, LITA                             LEVITON, DIAZ & GINOCCHIO           CHRIS GINOCHIO                  1551 N TUSTIN AVE                Suite 850                    SANTA ANA            CA       92701         whitealana892@gmail.com          First Class Mail and Email
                                                8509427 ABELLA, LITA                             LEVITON, DIAZ & GINOCCHIO           CHRIS GINOCHIO                  1551 N TUSTIN AVE                Suite 850                    SANTA ANA            CA       94063                                          First Class Mail

                                                8509466 Aceituno, Nancy                          T. Joshua Ritz & Associates, Inc.   14724 Ventura Blvd., Ste. 510                                                                 Sherman Oaks         CA       91403                                          First Class Mail

                                                8509077 Adebanjo, Femi                           304 Arkansas Dr                                                                                                                   Valley Stream        NY       11581         aldoaguayo5219@gmail.com         First Class Mail and Email
                                                8508955 Adebanjo, Femi                           Law offices of Charles R. Gueli     100 Crosways Park West          Suite 201                                                     Woodbury             NY       11797                                          First Class Mail
                                                8508843 Ager, Leondra                            4004 University Ave. Apt#7                                                                                                        Waterloo             IA       50701                                          First Class Mail
                                                                                                                                     550 South Hope Street, Ste.
                                                8509467   Aghishian, Marissa                     Danielle Eanet, Attorney at Law     750                                                                                           Los Angeles          CA       90071                                          First Class Mail
                                                8508782   Aguayo, Aldo                           9549 Amboy Ave                                                                                                                    Pacoima              CA       91331                                          First Class Mail
                                                8509233   AGUINAGA, DANIEL                       4861 LINCOLN AVE                                                                                                                  CHINO                CA       91710-3317                                     First Class Mail
                                                8509232   AGUINAGA, DANIEL                       GRAYSON & GRAYSON                   15720 VENTURA                   SUITE 412                                                     ENCINO               CA       91436                                          First Class Mail

                                                8509316   AGUIRRE, MARY                          201 ORANGE BLOSSOM                                                                                                                IRVINE               CA       92618-4433    nissikiketua@gmail.com           First Class Mail and Email
                                                8509413   AGUIRRE, MARY                          LAM AND SILBERMAN                   1119 N BUSH ST                                                                                SANTA ANA            CA       94612                                          First Class Mail
                                                8509234   ALAN, ROGER                            14132 BARBER ST.                                                                                                                  WESTMINSTER          CA       92683                                          First Class Mail
                                                8509191   ALAN, ROGER                            DIEDERICH & ASSOCIATES              SUSAN K. ANDERSEN               PO BOX 64093                                                  ST. PAUL             MN       55164                                          First Class Mail

                                                8508766 Alana Allen, Sharlene Ligons             John L. Buris                       Law Offices of John L. Burris   Airporte Corporate Centre        7677 Oakport St. STE 1120    Oakland              CA       94621                                          First Class Mail
                                                8508868 Alexander, Jonah Lieb                    Law offices of Shannon J. Sagan     257 SE Dr. MLK Jr. Blvd.        Suite C                                                       Belle Glade          FL       33430                                          First Class Mail
                                                8509235 ALLFORD, MICHAEL                         326 WOOD RIDGE ST                                                                                                                 WOOD RIDGE           NJ       07075                                          First Class Mail

                                                8509196   ALLFORD, MICHAEL                       DAVIS, SAPERSTEIN & SALOMON         KATE CARBALLO                   375 CEDAR LANE                                                TEANECK              NJ       07666-3433    princeafp@icloud.com             First Class Mail and Email
                                                8509072   Almeida, Vivian                        2900 Pearland Parkway               #5306                                                                                         Pearland             TX       77581                                          First Class Mail
                                                8508877   Almeida, Vivian                        Bronston Legal                      4615 Souwest Freeway            Suite 350                                                     Houston              TX       77027                                          First Class Mail
                                                8509073   Almonte, Fermina                       2923 S Fern Creek Ave               Apt C                                                                                         Orlando              FL       32806                                          First Class Mail
                                                8508927   Almonte, Fermina                       Morgan & Morgan                     PO Box 530244                                                                                 Atlanta              GA       30353-0244                                     First Class Mail
                                                8509324   AMARO, GUSTAVO                         3800 W WILSON ST                    # 321                                                                                         BANNING              CA       92220-3442                                     First Class Mail
                                                                                                 LAW OFFICES OF DR. PETER M.
                                                8509419   AMARO, GUSTAVO                         SCHAEFFER                           PETER M. SCHAEFFER              6820 INDIANA AVE                 Suite 275                    RIVERSIDE            CA       90015                                          First Class Mail
                                                8508783   Amaya, Willian                         1927 N Summit Ave #1                                                                                                              Pasadena             CA       91103                                          First Class Mail
                                                8508897   Ameral, Donald                         Javaheri & Yahoudai                 1875 Century Park East          Suite 600                                                     Los Angeles          CA       90067                                          First Class Mail
                                                8509139   Ameral, Donald                         PO Box 1572                                                                                                                       Rohnert Park         CA       94927                                          First Class Mail
                                                                                                 SHAMBERG, JOHNSON & BERGMAN,                                        2600 GRAND BLVD. SUITE
                                                8509173 ANDERSON, AVREY                          CHARTERED                           ASHLEY BILLAM                   #550                                                          KANSAS CITY          MO       64108         djdrew914@gmail.com              First Class Mail and Email
                                                8509366 ANDERSON, MARK                           6301 TINA CT                                                                                                                      CARMICHAEL           CA       95608-0456                                     First Class Mail

                                                8509468 Anderson/Gutierrez                       Diversity Law Group                 Larry W. Lee                    515 S. Figueroa St., Ste. 1250                                Los Angeles          CA       90071                                          First Class Mail
                                                                                                                                                                     515 S. Figueroa Street, Ste.
                                                8509470 Anderson/Gutierrez                       Hyuen Legal, APC                    Dennis S. Hyun                  1250                                                          Los Angeles          CA       90071                                          First Class Mail
                                                                                                                                                                     501 San Benito Street, Suite.
                                                8509469   Anderson/Gutierrez                     Polaris Law Group                   William L. Marder, Esq.         200                                                           Hollister            CA       95023                                          First Class Mail
                                                8508773   Andrade, Andrew Alexander              Robert W. Stickney                  Robert W. Stickney              100 S.E. 3rd Ave STE 2210                                     Fort Lauderdale      FL       33394                                          First Class Mail
                                                8509129   Andrade, Carlos                        887 W Washington Ave                                                                                                              Sunnyvale            CA       94086                                          First Class Mail
                                                8508883   Andrade, Carlos                        J&Y Law Corporation                 2880 Zanker Road                Suite 203-21555                                               San Jose             CA       95134                                          First Class Mail
                                                8509237   ANDRAGO, GLADYS                        48 NORTH DR                                                                                                                       VALLEY STREAM        NY       11580-2520                                     First Class Mail
                                                                                                                                     1300 VETERANS MEMORIAL
                                                8509161   ANDRANGO, GLADYS                       PALERMO LAW PLLC                    HIGHWAY                                                                                       HAUPPAUGE            NY       11788                                          First Class Mail
                                                8508866   Andreassi, Danielle                    Jurewitz Law Group                  600 B Street                    Suite 1550                                                    San Diego            CA       92101                                          First Class Mail
                                                8508980   Angela, Thompson                       Law offices of Loren S. Etengoff    605 E. McLoughlin Blvd.         Suite 201                                                     Vancouver            WA       98663                                          First Class Mail
                                                8509137   Ann, Niiges de                         9910 52nd St                                                                                                                      Riverside            CA       92509                                          First Class Mail

                                                8509045 Antolino, Gene                           1590 North Andrews Ave Ext.                                                                                                       Pompano Beach        FL       33069         antoniolewis20@yahoo.com         First Class Mail and Email

                                                8508913   Antolino, Gene                         Law offices of Craig Goldenfarb     1800 South Australian Avenue Suite 400                                                        West Palm Beach      FL       33409         martinezmobiledental@gmail.com   First Class Mail and Email
                                                8508836   Apruebo, Richard                       3299 Mt. Ranier Dr                                                                                                                San Jose             CA       95127                                          First Class Mail
                                                8508784   Aryeetey, Richard                      660 Yorktown St                                                                                                                   Dallas               TX       75208                                          First Class Mail
                                                8508860   Ashley, Remunda                        490 Lakepark Ave # 10952                                                                                                          Oakland              CA       94610                                          First Class Mail
                                                8509133   Athalis, Christopher                   9485 Nassau Dr                                                                                                                    Cutler Bay           FL       33189                                          First Class Mail
                                                8508931   Athalis, Christopher                   Schlacter Law                       1108 Kane Concourse             Suite 305                                                     Bay Harbor Islands   FL       33154                                          First Class Mail
                                                8509238   ATKINS, STEPHANIE                      1421 SHAMROCK LN                                                                                                                  COSTA MESA           CA       92626-2635                                     First Class Mail
                                                8509176   ATKINS, STEPHANIE                      LAW OFFICES OF BRENT DUQUE          MATTHEW PRICE                   3300 IRIVINE AVENUE              SUITE 225                    NEW PORT BEACH       CA       92660                                          First Class Mail
                                                8509361   AULA, SHEILA                           6718 JELLICO AVE                                                                                                                  VAN NUYS             CA       91406-5319                                     First Class Mail

                                                8509442   AULA, SHEILA                           LAW OFFICE OF SCOTT A. SCHWARTZ SCOTT A. SCHWARTZ                   16633 VENTURA BLVD               Suite 1240                   ENCINO               CA       92780                                          First Class Mail
                                                8509357   AURIEMMA, SANDRA                       2181 LAKESIDE RD                                                                                                                  VISTA                CA       92084-7711                                     First Class Mail
                                                8509438   AURIEMMA, SANDRA                       LEIGH FIRM                      2333 1ST AVENUE                     SUITE 201                                                     SAN DIEGO            CA       92101                                          First Class Mail
                                                8509327   AVELAR, GABRIEL                        9060 BARTEE AVE                                                                                                                   ARLETA               CA       91331                                          First Class Mail

                                                8509422 AVELAR, GABRIEL                          LAW OFFICES OF SOLOV & TEITELL      JAMEY A. TEITELL                1625 W OLYMPIC BLVD              Suite 802                    LOS ANGELES          CA       92701                                          First Class Mail
                                                8509239 AVETISYAN, TAKUSH                        3022 N SHASTA CIR                                                                                                                 LOS ANGELES          CA       90065-4819                                     First Class Mail
                                                                                                                                     Gregory M. Bordo,               2029 Century Park East, 6th
                                                8509555 AVG Partners I, LLC                      BLANK ROME LLP                      Christopher J. Petersen         Floor                                                         Los Angeles          CA       90067                                          First Class Mail
                                                                                                 McGrath North Mullin & Kratz, PC    William F. Hargens, Lauren R.   Suite 3700 First National
                                                8509554 AVG Partners I, LLC                      LLO                                 Goodman                         Tower                                                         Omaha                NE       68102         traylorlawoffice@gmail.com       First Class Mail and Email
                                                                                                                                     Dwyer S Arce, Bartholomew L.
                                                8509540 AVG Partners I, LLC aka AVG Partners     Kutak Rock LLP                      McLeay                          The Omaha Building               1650 Farnam Street           Omaha                NE       68102-2186                                     First Class Mail
                                                                                                                                     Gregory M. Bordo,               2029 Century Park East, 6th
                                                8509552 AVG PARTNERS I, LLC, a/k/a AVG PARTNERS BLANK ROME LLP                       Christopher J. Petersen         Floor                                                         Los Angeles          CA       90067                                          First Class Mail

                                                8509551 AVG PARTNERS I, LLC, a/k/a AVG PARTNERS KUTAK ROCK LLP                       Eric S. Johnson               2300 Main Street, Suite 800                                     Kansas City          MO       64108                                          First Class Mail
                                                                                                McGrath North Mullin & Kratz, PC     William F. Hargens, Lauren R. First National Tower, Suite
                                                8509553 AVG PARTNERS I, LLC, a/k/a AVG PARTNERS LLO                                  Goodman                       3700                               1601 Dodge Street            Omaha                NE       68102                                          First Class Mail
                                                8509240 AYAZ, PAULINA                           101 W. BROAD STREET                                                                                                                BERGENFIELD          NJ       07621                                          First Class Mail
                                                8509178 AYAZ, PAULINA                           LABARBIERA & MARTINEZ                RICHARD LABARBIERA              9252 KENNEDY BLVD.                                            NORTH BERGEN         NJ       07047                                          First Class Mail

                                                8509471 Bailey, Trevor                           Remer & Georges-Pierre, PLLC        Rainier Regueiro, Esq.          Comeau Building                  319 Clematis Street, Ste. 606 West Palm Beach     FL       33130                                          First Class Mail
                                                8509241 BAIZE, MICHAEL                           14331 228TH ST                                                                                                                     LAURELTON           NY       11413-3654                                     First Class Mail
                                                8509157 BAIZE, MICHAEL                           MICHAEL BAIZE                       MICHAEL BAIZE                   143-31 228TH STREET                                            LAURELTON           NY       11413                                          First Class Mail

                                                8509392   BASHARA, MELINDA                       6735 ROXBOROUGH DR.                                                                                                               LITTLETON            CO       80125-8703    villacisbrandon@gmail.com        First Class Mail and Email
                                                8509032   Bayard, Shemed                         1300 W Pearl St                                                                                                                   Anaheim              CA       92801                                          First Class Mail
                                                8508928   Bayard, Shemed                         Law offices of NGF                  18685 Main Street               Suite 101-193                                                 Huntington Beach     CA       92648                                          First Class Mail
                                                8509033   Bazan, Rosa                            1326 SULPHUR ST                                                                                                                   HOUSTON              TX       77034                                          First Class Mail
                                                8508994   Bazan, Rosa                            Pusch & Nguyen                      6330 Gulf Fwy                                                                                 Houston              TX       77023                                          First Class Mail
                                                8508785   Bekhit, Sameh                          15123 Brookhurst St                                                                                                               Westminster          CA       92683                                          First Class Mail
                                                8509368   BELL, JEANETTE                         4650 AVENIDA DEL ESTE                                                                                                             YORBA LINDA          CA       92886-3005                                     First Class Mail
                                                8509067   Bell, Ote                              2532 HAUSER ST. #1                                                                                                                Los Angeles          CA       90016                                          First Class Mail
                                                8509006   Bell, Ote                              Bash & Polyachenko, PC              7231 San Monica Blvd.                                                                         Los Angeles          CA       90046                                          First Class Mail
                                                8509015   Bennett, Leevon                        111 Sawyer St                                                                                                                     Vallejo              CA       94589                                          First Class Mail
                                                8508925   Bennett, Leevon                        Parker Stanbury                     444 South Flower Street         19th Floor                                                    Los Angeles          CA       90071                                          First Class Mail
                                                8508837   Bing, Michael                          2778 E Cresthill Ave                                                                                                              Centennial           CO       80121                                          First Class Mail

                                                8509402 BIRCHFIELD, MERRY                        3210 SAWTELLE BLVD                  # 109                                                                                         LOS ANGELES          CA       90066-1607    carrol.underwood@gmail.com       First Class Mail and Email
                                                                                                                                     Arinda Ocampo, Legal
                                                8509472 Biru, Bersabeh                           Matern Law Group, PC                Assistant                       1230 Rosecrans Ave., Ste. 200                                 Manhattan Beach      CA       90266                                          First Class Mail
                                                8509242 BLACHER, JESSICA                         650 PACIFIC STREET                  #1                                                                                            SANTA MONICA         CA       90405                                          First Class Mail

                                                8509209 BLACHER, JESSICA                         TAYLOR AND RING                     JOHN TAYLOR                     1230 ROSENCRANS AVENUE           SUITE 360                    MANHATTAN BEACH      CA       90266                                          First Class Mail
                                                8509243 BLACK II, KENNETH                        5 TREEWOOD CT                                                                                                                     MANSFIELD            TX       76063-5439                                     First Class Mail




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                                                                                                                                                                                  Civil Counterparties Service List
                                                                                                                                                                                     Served as set forth below

                                                MMLID                          Name                           Address1                          Address2                        Address3                          Address4                    City    State   Postal Code                  Email             Method of Service
                                                8509192   BLACK II, KENNETH                     ATTORNEY AT LAW                       RACHEL WRIGHT                 709 E ABRAM ST.                                              ARLINGTON           TX       76010                                      First Class Mail
                                                8509371   BLACKFORD, BRIANA                     13901 BRENAN WAY                                                                                                                 SANTA ANA           CA       92705-2714                                 First Class Mail
                                                8509388   BONAMY, ANNA                          306 SEASONS CT                                                                                                                   APOPKA              FL       32712-3547                                 First Class Mail
                                                8508853   Bovio, Juan                           4630 Magnolia Cove Dr #421                                                                                                       Kingwood            TX       77345                                      First Class Mail
                                                8508786   Brady, Randy                          311 Cooper Creek Rd                                                                                                              Woodland            WA       98674                                      First Class Mail

                                                8509373 BRANNON, DAVID                          5019 SOUTHRIDGE AVE                                                                                                              LOS ANGELES         CA       90043-1506    CHERYLMENDEZ21@GMAIL.COM     First Class Mail and Email

                                                8509443   BRANNON, DAVID                        INJURED WORKERS LAW GROUP INC. 4221 WILSHIRE BLVD.                  SUITE 350                                                    LOS ANGELES         CA       92701         NAYSMITHCHERYL@GMAIL.COM     First Class Mail and Email
                                                8509244   BRAVO, VICTORIA                       1684 SUMAC PL                                                                                                                    CORONA              CA       92882-2739                                 First Class Mail
                                                8509159   BRAVO, VICTORIA                       GOMEZ TRIAL LAWYERS            ALLISON WORDEN                       655 W. BROADWAY                   SUITE 1700                 SAN DIEGO           CA       92101                                      First Class Mail
                                                8508787   Braxton, Cornelius                    5365 Dunlop Dr                                                                                                                   Riverside           CA       92505                                      First Class Mail
                                                8509319   BRILEY, KIMBERLY                      2857 NW 99TH TER                                                                                                                 SUNRISE             FL       33322-5894                                 First Class Mail
                                                                                                                                                                    901 EAST ATLANTIC
                                                8509417 BRILEY, KIMBERLY                        ATTORNEY AT LAW                       JOSEPH MAUS                   BOULEVARD                                                    POMPANO BEACH       FL       33060                                      First Class Mail

                                                8508788 Briones, Marcos                         2848 Westbranch Dr                                                                                                               San Jose            CA       95148         fritzohio88@gmail.com        First Class Mail and Email

                                                8509367 BRISTO-BAKER, SHARI                     512 WHITECLIFF DR                                                                                                                VALLEJO             CA       94589-2749    cmorse2487@gmail.com         First Class Mail and Email
                                                8508789 Brown, Delleon                          566 Sunnyview Dr                                                                                                                 Pinole              CA       94564                                      First Class Mail
                                                8509011 Brown, Kymani                           101 Rockwood Way                                                                                                                 Sanford             FL       32771                                      First Class Mail

                                                8508972   Brown, Kymani                         Law offices of Steven W. Igou Inc.    1132 Symonds Avenue                                                                        Winter Park         FL       32709                                      First Class Mail
                                                8509401   BROWN, MARK                           4849 WIILIAMSBURG LN                  # 268                                                                                      LA MESA             CA       91942-7657                                 First Class Mail
                                                8509119   Brown, Tabatha                        6655 Obispo Ave                       Apt 8                                                                                      Long Beach          CA       90805-2752                                 First Class Mail
                                                8508974   Brown, Tabatha                        Oaks Law Firm                         15233 Ventura Blvd.           Penthouse 10                                                 Sherman Oaks        CA       91403                                      First Class Mail
                                                                                                Lawyers for Employee and Consumer                                   4100 West Alameda Avenue,
                                                8509473 Buckner, Tristian                       Rights                                Evan McKinney                 Third Floor                                                  Burbank             CA       91505                                      First Class Mail

                                                8508790 Buloran, Deborah                        2028 Towngate Dr                                                                                                                 Garland             TX       75041         corneliusbraxton@gmail.com   First Class Mail and Email
                                                8509339 CABALLEROS, MARIO                       567 JACKSON DR                                                                                                                   HENDERSON           NV       89014-3976                                 First Class Mail
                                                8509386 CABELL, ROBERT                          10618 CREEKTREE DR                                                                                                               HOUSTON             TX       77070-4036                                 First Class Mail
                                                                                                Reynolds, Jensen, Swan & Pershing,
                                                8509534 Cal Select Builders Inc.                LLP                                   Christopher G. Jensen         3233 Arlington Ave., Ste. 203                                Riverside           CA       92506                                      First Class Mail
                                                8509245 CANTENA, KAREN                          2135 BERWYN STREET                                                                                                               UNION               NJ       07083                                      First Class Mail
                                                8509185 CANTENA, KAREN                          GOLKOW HESSEL, LLC                    HESSEL,DANIEL                 1628 PINE STREET                                             PHILADELPHIA        PA       19103                                      First Class Mail

                                                8508893 Cantor, Richard                         Lena Law                              131 North El Molino Ave.      Suite 300                                                    Pasadena            CA       91101         domanivitta@gmail.com        First Class Mail and Email
                                                8509141 Cantor, Richard                         PO Box 4404                                                                                                                      Glendale            CA       91222                                      First Class Mail
                                                8508960 Cao, Jimmy                              The Rosato Firm                       55 Broadway                   23rd Floor                                                   New York            NY       10006                                      First Class Mail

                                                        Caplow Denver, LLC, and Denver Exchange,                                      David A. Laird, Vika
                                                8509535 LLC, dba Denver Exchange I, LLC          Moye White LLP                       Chanrashekar                  16 Market Square, 6th Floor       1400 16th Street           Denver              CO       80202-1486                                 First Class Mail

                                                8508977   Carlton, Thompson                     Steiner, Greene & Feiner              1645 Palm Beach Lakes Blvd.   9th Floor                                                    West Palm Beach     FL       33401                                      First Class Mail
                                                8508850   Carter, Derek                         245 Four Mile Ave                                                                                                                Richmond            KY       40475                                      First Class Mail
                                                8509066   Cason, Roosevelt                      25126 Baywick Dr                                                                                                                 Spring              TX       77389                                      First Class Mail
                                                8508952   Cason, Roosevelt                      Tylka Law                             1104 East Main                                                                             League City         TX       77573                                      First Class Mail
                                                8509360   CATALANO, CATALANO, TINA              PO BOX 1744                                                                                                                      NEWPORT BEACH       CA       92659-0744                                 First Class Mail
                                                8509431   CATALANO, TINA                        LAM AND SILBERMAN                     1119 N BUSH ST                                                                             SANTA ANA           CA       90220                                      First Class Mail
                                                                                                SAMUELSEN, GONZALEZ,
                                                8509430 CATALANO, TINA                          VALENZUELA & BROWN                    ANNE TURNER                   3501 JAMBOREE RD                  Suite 602                 NEWPORT BEACH        CA       92660                                      First Class Mail
                                                                                                                                                                                                      525 Okeechobee Boulevard,
                                                8509536 Catalina Shoppes Fla, LLC               Michael A. Munoz, Esq.                Matthew S. Sackel, Esq.       Shutts & Bowen LLP                Ste. 1100                 West Palm Beach      FL       33401                                      First Class Mail

                                                8509328 CHAN, RANDALL                           711 CYPRESS AVE                                                                                                                  SAN MATEO           CA       94401-3232    cdnseattle@yahoo.com         First Class Mail and Email

                                                8509423 CHAN, RANDALL                           LAW OFFICES OF PETER M. GIMBEL        PETER M. GIMBEL               503 SEAPORT CT                    Suite 105                  REDWOOD CITY        CA       94063                                      First Class Mail
                                                8509088 Chavez, Jose                            40 E. Pacheco                                                                                                                    Bakersfield         CA       93307                                      First Class Mail

                                                8508889 Chavez, Jose                            Law offices of Gregory Rubel Encino   6345 Balboa Blvd              Suite 247                                                    Encino              CA       91316-1583                                 First Class Mail
                                                8508857 CherylandJosh, Rains                    11016 New River Circle                                                                                                           Gold River          CA       95670                                      First Class Mail

                                                8509246 CHINH, MAUREEN                          5087 LA CUENTA DR                                                                                                                SAN DIEGO           CA       92124-2045    debzbuloran@gmail.com        First Class Mail and Email
                                                                                                STEVEN J. PRAGER ATTORNEY AT
                                                8509188 CHINH, MAUREEN                          LAW                                 STEVEN J. PRAGER                7676 HAZARD CENTER DRIVE 5TH FLOOR                           SAN DIEGO           CA       92108                                      First Class Mail
                                                8508791 Chown, Kristopher                       342 Caswell Ave                                                                                                                  Oakland             CA       94603                                      First Class Mail
                                                                                                Attn: Christina A. Humphrey & James
                                                8509727 Christina Humphrey Law, P.C.            A. Clark                            Tower Legal Group               8330 Allison Avenue, Ste. C                                  La Mesa             CA       91942         delleonb@yahoo.com           First Class Mail and Email
                                                8509029 Chug, Vikas                             12461 Rose Path Circle                                                                                                           Fairfax             VA       22033                                      First Class Mail

                                                8508892 Chug, Vikas                             Kearney, Freeman, Fogarty & Josh      4085 Chain Bridge Road        5th Floor                                                    Fairfax             VA       22030                                      First Class Mail
                                                8509247 CLARK, GARY                             4411 NE TILLAMOOK ST                                                                                                             PORTLAND            OR       97213-1317                                 First Class Mail

                                                8509221 CLARK, GARY                             MACKE LAW                             4411 NE TILLAMOOK STREET                                                                   PORTLAND            OR       92713         Carter.derek15@gmail.com     First Class Mail and Email

                                                8509164   CLARK, GARY                           MACKE LAW OFFICES                     4411 NE TILLAMOOK STREET                                                                   PORTLAND            OR       97213                                      First Class Mail
                                                8508774   Clark, Milas                          Milas George Clark, JR.               Milas George Clark, JR.       655 S. Flower St. PB294                                      Los Angeles         CA       90017                                      First Class Mail
                                                8508838   Coborubio, Leticia                    P.O. Box 3803                                                                                                                    RPV                 CA       90274                                      First Class Mail
                                                8509248   COCCO, ROBERT                         3018 KINGSBRIDGE AVENUE                                                                                                          BRONX               NY       10463                                      First Class Mail
                                                8509217   COCCO, ROBERT                         MICHELSTEIN & ASSOC.                  MICHELSTEIN,STEVEN            545 MADISON AVE.                                             NEW YORK            NY       10022                                      First Class Mail
                                                8508839   Collier, Steven                       1901 29Th St                                                                                                                     Denver              CO       80216                                      First Class Mail
                                                                                                Attn: Edward J. Riffle & Bradley D.
                                                8509729 Collins Collins Muir & Stewart LLP      Doucette                              1100 El Centro Street                                                                      South Pasadena      CA       91030                                      First Class Mail
                                                8509249 COLLINS, ASHLEY                         1236 CAPE COD CT                                                                                                                 CONCORD             CA       94521-3316                                 First Class Mail

                                                8509222 COLLINS, ASHLEY                         KAUFMAN LAW                           4179 PIEDMONT AVENUE          THIRD FLOOR                                                  OAKLAND             CA       94611         DUCLYTRINH@GMAIL.COM         First Class Mail and Email
                                                                                                                                      Law Offices of Jacob
                                                8508763 Conn, Richard                           Jacob Karczewski                      Karczewski, PLLC              4311 North 30th Street                                       Tacoma              WA       98407                                      First Class Mail
                                                8509123 Constancia, Mercedes                    792 Creekwater Ter                    Apt 208                                                                                    Lake Mary           FL       32746                                      First Class Mail

                                                8509065 Cook, Howard                            250 Kawaihae St                                                                                                                  Honolulu            HI       96825         ekp101@hotmail.com           First Class Mail and Email

                                                8508890 Cook, Howard                            Michael Stern Attorney at Law         841 Bishop Street             Suite 2201                                                   Honolulu            HI       96813         thatgirlebs@gmail.com        First Class Mail and Email

                                                8509250   COOPER, JOHN                          3012 WOODLAWN DR                                                                                                                 WALNUT CREEK        CA       94596-5453    editshill@gmail.com          First Class Mail and Email
                                                8509223   COOPER, JOHN                          ALTAIR LAW LLP                        CRAIG PETERS                  465 CALIFORNIA STREET             5TH FLOOR                  SAN FRANCISCO       CA       94104                                      First Class Mail
                                                8509113   Correa, Maria                         6354 Rancho Mission Rd                Unit #515                                                                                  San Diego           CA       92108                                      First Class Mail
                                                8508901   Correa, Maria                         Casey Gerry Law Firm                  110 Laurel Street                                                                          San Diego           CA       92101                                      First Class Mail
                                                8509022   Cortez, Edward                        1177 RACE ST.                         PH5                                                                                        Denver              CO       80206                                      First Class Mail
                                                8508992   Cortez, Edward                        Burgsimpson Attorneys at Law          40 Inverness Drive                                                                         East Englewood      CO       80112                                      First Class Mail
                                                8509394   COTTONE, SALVATORE                    151 W 106TH ST                        Apt 2B                                                                                     NEW YORK            NY       10025-3727                                 First Class Mail
                                                                                                                                                                    2267 Lava Ridge Court, Ste.
                                                8509537 Crane Court LLC                         Peterson Watts Law Group, LLP         Richard M. Watts, Jr., Esq.   210                                                          Roseville           CA       95661                                      First Class Mail

                                                8509046 Crespo, Glenn                           16 Monte Vista Ave                    Apt 7                                                                                      Oakland             CA       94611         elsareyes57@gmail.com        First Class Mail and Email

                                                8508917   Crespo, Glenn                         Law offices of Boris E. Efron         130 Portola Road                                                                           Portola Valley      CA       94028         emmyloustew@yahoo.com        First Class Mail and Email
                                                8509036   Croom, Zsaquez                        1360 Redondo Ave                      Apt 205                                                                                    Long Beach          CA       90804                                      First Class Mail
                                                8508922   Croom, Zsaquez                        Law office of Joseph D. Ryan          3055 Wilshire Blvd.           Suite 1120                                                   Los Angeles         CA       90010                                      First Class Mail
                                                8509251   CRUMP, GIVON                          5605 GENTRY AVE.                      #402                                                                                       VALLEY VILLAGE      CA       91607                                      First Class Mail
                                                8509205   CRUMP, GIVON                          BANAFSHE LAW                          ARTURO SALINAS                9320 WILSHIRE BLVD.               SUITE 212                  BEVERLY HILLS       CA       90212                                      First Class Mail
                                                8509100   Cuccia, Tyler                         4824 Craner Ave                                                                                                                  North Hollywood     CA       91601                                      First Class Mail
                                                8508888   Cuccia, Tyler                         Law Office of Richard Foster          5429 Cahuega Blvd.                                                                         North Hollywood     CA       91601                                      First Class Mail
                                                8509406   CURL, KAMERON                         11031 NESBITT DR                                                                                                                 RANCHO CUCAMONGA    CA       91730-6719                                 First Class Mail

                                                8508867   Cythia, Edwards                       Law offices of Bradley Bostick        1300 Clay Street              Suite 600                                                    Oakland             CA       94612         JEzoory@lfecr.com            First Class Mail and Email
                                                8508968   Dal Santo, John                       Randolph & Associates                 1717 Fourth Street            Third Floor                                                  Santa Monica        CA       90401                                      First Class Mail
                                                8509115   Damien, Cubero                        6401 Johnsway                                                                                                                    Fort Worth          TX       76135                                      First Class Mail
                                                8508869   Damien, Cubero                        Law offices of Chris Garcia           407 N. Cedar Ridge Road       Suite 300                                                    Duncanville         TX       75116                                      First Class Mail
                                                8509127   Dannin, Horst                         8491 Sunset Blvd                      #361                                                                                       West Hollywood      CA       90069                                      First Class Mail
                                                8508887   danning, Horst                        Barry E. Cohen, Esq.                  10866 Wilshire Blvd.          Suite 890                                                    Los Angeles         CA       90024                                      First Class Mail




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                                                                                                                                                                                              Exhibit C
                                                                                                                                                                                  Civil Counterparties Service List
                                                                                                                                                                                     Served as set forth below

                                                MMLID                          Name                            Address1                          Address2                        Address3                       Address4                    City    State   Postal Code                  Email             Method of Service
                                                8509082 Davidson, Christopher                    3433 W DALLAS ST APT 923                                                                                                       Houston            CA       77019                                      First Class Mail
                                                8508970 Davidson, Christopher                    Lanier Law Firm                       6110 FM 1960 West                                                                        Houston            TX       77069                                      First Class Mail

                                                8509126 Davis, Betty                             8150 BROADWAY APT 331                                                                                                          Lemon Grove        CA       91945         fernandarossini2@gmail.com   First Class Mail and Email
                                                                                                 Law Offices of Norman G. Fernandez
                                                8508958 Davis, Betty                             & Associates                       18685 Main Street                Suite 101-193                                              Huntington Beach   CA       92648         floydmangrum@yahoo.com       First Class Mail and Email
                                                8509359 DAVIS, VERNITA                           459 W RIVERSIDE DR                 Apt B                                                                                       BURBANK            CA       91506-3225                                 First Class Mail

                                                8509441 DAVIS, VERNITA                           SA LAW GROUP                          500 N CENTRAL AVE             SUITE 740                                                  GLENDALE           CA       91203         franki333t@gmail.com         First Class Mail and Email
                                                8509075 Day, Jordan                              302 SE 105th Ave                      #38                                                                                      Portland           OR       97216                                      First Class Mail

                                                8508906 Day, Jordan                              Donald Dartt Attorney at Law          521 SW Clay Street                                                                       Portland           OR       97201         gabehamilton0219@gmail.com   First Class Mail and Email
                                                8509252 DE ARBOLEDA, MARGARITA                   236 N SANTA CRUZ AVE                  #227                                                                                     LOS GATOS          CA       95030-7258                                 First Class Mail
                                                8509224 DE ARBOLEDA, MARGARITA                   ABRONSON LAW OFFICES                  236 N. SANTA CRUZ             SUITE 227                                                  LOS GATOS          CA       95030                                      First Class Mail

                                                8509051   Del Santo, John                        4520 KINGSWELL AVE                                                                                                             LOS ANGELES        CA       90027-4406    gabrielleheerema@gmail.com   First Class Mail and Email
                                                8508915   Dela Rosa, Archael                     Jack Peterson Attorney at Law         1014 Franklin Street          Suite 220                                                  Vancouver          WA       98660                                      First Class Mail
                                                8509474   Delacruz, Mark C.                      30 Peach Leaf Court                                                                                                            Sacramento         CA       95838-1860                                 First Class Mail
                                                8508840   Delgado, Andrew                        4350 Galbrath Dr #30                                                                                                           Sacramento         CA       95842                                      First Class Mail

                                                8509107 Demarco, Ronald                          5702 NW 47th Lane                                                                                                              Fort Lauderdale    FL       33319         martirosyanangel@gmail.com   First Class Mail and Email
                                                8508792 Demas, Sarah                             9327 Spectrum                                                                                                                  Irvine             CA       92618                                      First Class Mail
                                                8509311 DEMOOY, DEBRA                            8940 BEN HUR                                                                                                                   WHITTIER           CA       90605                                      First Class Mail
                                                                                                 LAW OFFICES OF MARTIN VON
                                                8509409 DEMOOY, DEBRA                            MIZENER                               MARTIN VON MIZENER            14420 WHITTIER BLVD                                        WHITTIER           CA       90605                                      First Class Mail

                                                8509487 Department of Fair Employment & Housing 2218 Kausen Drive, Ste. 100                                                                                                     Elk Grove          CA       95758                                      First Class Mail
                                                                                                Cathy Ray, Deputy Labor
                                                8509486 Department of Industrial Relations      Commissioner                           Labor Commissioner's Office   W. 4th St., Ste. 450                                       Los Angeles        CA       90013         gebigpops@gmail.com          First Class Mail and Email
                                                                                                                                       Georgia Jemmott,              6150 Van Nuys Blvd., Room
                                                8509504 Department of Industrial Relations       Labor Commissioner's Office           Registration Approver         206                                                        Van Nuys           CA       91401                                      First Class Mail

                                                8509491 Department of Industrial Relations       Mary Schamer, Hearing Officer         Labor Commissioner's Office   300 Oceangate, Ste. 302                                    Long Beach         CA       90802                                      First Class Mail
                                                                                                 Mary Serpa, Deputy Labor
                                                8509481 Department of Industrial Relations       Commissioner                          Labor Commissioner's Office   31 E Channel St., Room 317                                 Stockton           CA       95202                                      First Class Mail
                                                                                                 Michelle Ellington, Industrial
                                                8509482 Department of Industrial Relations       Relations Representative              Labor Commissioner's Office   2 MacArthur Place, Ste. 800                                Santa Ana          CA       92707                                      First Class Mail
                                                                                                 Rosalie Murphy, Deputy Labor                                        7575 Metropolitan Dr., Ste.
                                                8509484 Department of Industrial Relations       Commissioner                          Labor Commissioner's Office   210                                                        San Diego          CA       92108                                      First Class Mail
                                                                                                 Sally Cazares, Industrial Relations
                                                8509480 Department of Industrial Relations       Representative                        Labor Commissioner's Office   300 Oceangate, Ste. 302                                    Long Beach         CA       90802                                      First Class Mail

                                                8509500   Department of Industrial Relations     Sonja Sonnenburg, Hearing Officer     Labor Commissioner's Office   1515 Clay Street, Ste. 801                                 Oakland            CA       94612                                      First Class Mail
                                                8509343   DETTORRE, BRYCE                        12610 ALTA MAR WAY                                                                                                             VICTORVILLE,       CA       92392-7637                                 First Class Mail
                                                8509434   DETTORRE, BRYCE                        PACIFIC ATTORNEY GROUP                BRIAN ANDREWS                 856 S. ROBERTSON BLVD            PENTHOUSE                 LOS ANGELES        CA       90035                                      First Class Mail
                                                8509393   DEVAUX, ANDREA                         599 S ELISEO DR                       Apt 8                                                                                    GREENBRAE          CA       94904-2252                                 First Class Mail
                                                8509253   DIAZ, LOMBERTO                         16 FURLER STREET ATTY                                                                                                          TOTOWA             NJ       07512                                      First Class Mail
                                                8509198   DIAZ, LOMBERTO                         RICCI, FAVA, LLC                      RONALD RICCI                  16 FURLER STREET                                           TOTOWA             NJ       07512                                      First Class Mail
                                                                                                                                                                     315 South Beverly Drive, Ste.
                                                8509475   Diaz, Natalia                          Setareh Law Group                     Shaun Setareh, Esq.           315                                                        Beverly Hills      CA       90212                                      First Class Mail
                                                8508844   Digilio, Michael                       4852 Meadowbrook                                                                                                               Oceanside          CA       92056                                      First Class Mail
                                                8509062   Distefano, Joseph                      23162 LAUREN LANE                                                                                                              WEST HILLS         CA       91304                                      First Class Mail
                                                8509005   Distefano, Joseph                      Law offices of Vernon C. Tucker       2655 First Street             Suite 250                                                  Simi Valley        CA       93065                                      First Class Mail
                                                8509390   DOMINGUEZ, ADALBERTO                   1111 MONTGOWERY RD                    #212                                                                                     HOUSTON            TX       77064                                      First Class Mail
                                                8509028   Donlin, Rhonda                         12427 Blazing Star Ct                                                                                                          Rancho Cucamonga   CA       91739                                      First Class Mail
                                                8508909   Donlin, Rhonda                         Inland Empire Law Group               8600 Utica Avenue             Suite 200                                                  Rancho Cucamonga   CA       91730                                      First Class Mail

                                                8509403   DRUMMER-FENTON, VANETTA                20 LAKEVIEW AVE                                                                                                                HARTSDALE          NY       10530-2516    greysonbatodd@gmail.com      First Class Mail and Email
                                                8509041   Eckurt, Joy                            14735 San Jacinto Dr                                                                                                           Moreno Valley      CA       92555                                      First Class Mail
                                                8508912   Eckurt, Joy                            Law offices of Brian R. Whitehad      1610 12th Street S.E.                                                                    Salem              OR       97302                                      First Class Mail
                                                8508793   Economu, George                        3511 Lonesome Wolf Ct                                                                                                          North Las Vegas    NV       89031                                      First Class Mail

                                                8509532 Eduardo Deras-Nava                       Rein & Clefton, Attorneys at Law      Aaron M. Clefton              200 Lakeside Drive, Suite A                                Oakland            CA       94612                                      First Class Mail

                                                8509533 Eduardo Deras-Nava                       Rein & Clefton, Attorneys at Law      Paul Leslie Rein              200 Lakeside Drive, Suite A                                Oakland            CA       94612                                      First Class Mail
                                                8509134 Edwards, Cynthia                         951 76th Ave                                                                                                                   Oakland            CA       94621                                      First Class Mail
                                                8508924 Edwards, Cynthia                         Law office of Bradley Bostick         1300 Clay Street              Suite 600                                                  Oakland            CA       94612                                      First Class Mail
                                                                                                                                                                     350 South Grand Avenue,
                                                8509476   Esparza, Jaqueline                     West Coast Employment Lawyers         Ronald L. Zambrano, Esq.      Suite 3325                                                 Los Angeles        CA       90071                                      First Class Mail
                                                8509091   Espino, Xochil                         4041 LA MESA RD                                                                                                                PHELAN             CA       92371                                      First Class Mail
                                                8508969   Espino, Xochil                         Jamal Injury Law                      33 Brokeline                                                                             Aliso Viejo        CA       92656                                      First Class Mail
                                                8509381   ESQUIVEL, JOSEPH                       237 E 9TH ST                          Apt 9                                                                                    LONG BEACH         CA       90813                                      First Class Mail
                                                8509387   EWING, SARAH                           2812 SW BERTHA BLVD                                                                                                            PORTLAND           OR       97239-1104                                 First Class Mail
                                                8509254   FEINBLATT-GRUSHKA, SUSAN               535 EAST 14TH STREET                  #K                                                                                       BROOKLYN           NY       10005                                      First Class Mail
                                                                                                 MICHAEL O'MALLEY ATTORNEY AT
                                                8509207 FEINBLATT-GRUSHKA, SUSAN                 LAW                                   32 OLD SLIP, 8TH FLOOR                                                                   NEW YORK           NY       10005                                      First Class Mail
                                                8509053 Feldman, Aaron                           2009 SOUTH LOGAN STREET                                                                                                        Denver             CO       80211                                      First Class Mail
                                                8508995 Feldman, Aaron                           Fuicelli & Lee                        1731 Gilpin Street                                                                       Denver             CO       80218                                      First Class Mail
                                                                                                                                                                     76 South Orange Ave., Ste.
                                                8509478 Fermin-Rivera, Rosily                    The Pennington Law Group              Scott Pennington              213                                                        South Orange       NJ       07079                                      First Class Mail
                                                8509255 FERNANDEZ, ROSA                          825 W. 179TH STREET                   1G                                                                                       NEW YORK           NY       10033-3001                                 First Class Mail
                                                                                                                                                                     225 BROADWAY, 24TH
                                                8509180 FERNANDEZ, ROSA                          JAROSLAWICZ & JAROS PLLC              DAVID JAROSLAWICZ             FLOOR                                                      NEW YORK           NY       10007         henwang888@gmail.com         First Class Mail and Email
                                                                                                 Lawyers for Employee and Consumer                                   4100 West Alameda Avenue,
                                                8509479   Ferrer, Maria Silvana                  Rights                                Leena Fana                    Third Floor                                                Burbank            CA       91505                                      First Class Mail
                                                8509382   FIELDS, GWENDOLYN                      9676 HARVARD ST                                                                                                                BELLFLOWER         CA       90706-3633                                 First Class Mail
                                                8509189   FLEMING, CARLA                         HUMPHREY LAW                          1158 26TH STREET              SUITE 560                                                  SANTA MONICA       CA       90403                                      First Class Mail
                                                8509256   FLEMING, CARLA                         PO BOX 6141                                                                                                                    WOODLAND HILLS     CA       91365-6141                                 First Class Mail
                                                8509078   Fooksman, Dimitri                      3060 OCEAN AVE APT 2H                                                                                                          Brooklyn           NY       11235                                      First Class Mail
                                                                                                 Sullivan, Papain, Block, McGrath &
                                                8508988 Fooksman, Dimitry                        Cannavo                               1140 Franklin Avenue          Suite 200                                                  Garden City        NY       11530                                      First Class Mail

                                                8509730   Fort Bend County District Court, TX    240th Judicial District Court         1422 Eugene Heimann Circle    Room 31004                                                 Richmond           TX       77469                                      First Class Mail
                                                8509731   Fort Bend County District Court, TX    240th Judicial District Court         301 Jackson Street            Room 101                                                   Richmond           TX       77469                                      First Class Mail
                                                8509104   Fotheringham, Lisa                     5352 Flowing Spring St                                                                                                         Las Vegas          NV       89122                                      First Class Mail
                                                8508914   Fotheringham, Lisa                     Rempfer Mott & Lundy                  10091 Park Run Dr.            Suite 200                                                  Las Vegas          NV       89145                                      First Class Mail
                                                8508794   Fritz, Christopher                     12150 Pigeon Pass Rd                                                                                                           Moreno Valley      CA       92557                                      First Class Mail
                                                8509257   FURIE, SARAH                           5224 CARTWRIGHT                                                                                                                NORTH HOLLYWOOD    CA       91601                                      First Class Mail

                                                8509201   FURIE, SARAH                           LAW OFFICES OF BRIAN GONZALEZ         BRIAN GONZALEZ                2445 FIFTH AVENUE                SUITE 330                 SAN DIEGO          CA       92101                                      First Class Mail
                                                8509258   GALICIA, MARTHA                        1973 TATE ST                          Apt F110                                                                                 EAST PALO ALTO     CA       94303-2589                                 First Class Mail
                                                8509158   GALICIA, MARTHA                        RAFFI & NAZARIAN LLP                  9100 WILSHIRE BLVD            SUITE 465E                                                 BEVERLY HILLS      CA       90212                                      First Class Mail
                                                8509259   GALVEZ, HERMINIA                       10535 S. VAN NESS AVE.                #1                                                                                       INGLEWOOD          CA       90303                                      First Class Mail
                                                8509170   GALVEZ, HERMINIA                       FERNALD LAW GROUP                     510 W. 6TH STREET             SUITE 700                                                  LOS ANGELES        CA       90014                                      First Class Mail
                                                8508795   Garces, Jonnathan                      9425 Southwest 124 Place                                                                                                       Miami              FL       33186                                      First Class Mail
                                                8509261   GARCIA, JOCABEE                        117 BERNAL RD                                                                                                                  SAN JOSE           CA       95119-1375                                 First Class Mail
                                                8509216   GARCIA, JOCABEE                        PICONE & DEFILIPPIS                   625 N. 1ST STREET                                                                        SAN JOSE           CA       95112                                      First Class Mail
                                                8509260   GARCIA, JULIO                          348 WEBSTER AVE.                      #17B                                                                                     BRONX              NY       10456                                      First Class Mail

                                                8509218 GARCIA, JULIO                            SHAPIRO LAW OFFICES                   SHAPIRO,JASON                 32005 GRAND CONCOURSE                                      NEW YORK           NY       10468                                      First Class Mail
                                                8509083 Gasprian, Rita                           346 W Lomita Ave                                                                                                               Glendale           CA       91204                                      First Class Mail
                                                8508934 Gasprian, Rita                           Avetisyan Law Group                   1700 West Magnolia Blvd.      Suite 200                                                  Burbank            CA       91506                                      First Class Mail

                                                8509109 Gavrilenko, Alena                        5758 Geary Blvd                                                                                                                San Francisco      CA       94121         jaspermccargo@gmail.com      First Class Mail and Email

                                                8509004   Gavrilenko, Alena                      Law Offices of Michael Martinovsky    1925 East Francisco Blvd.     Suite 17                                                   San Rafael         CA       94901                                      First Class Mail
                                                8509379   GELBART, SARAH                         5622 EDITH ST                                                                                                                  HOUSTON            TX       77081-7404                                 First Class Mail
                                                8509529   Genesis Health Clubs of Midwest LLC    Richards, Layton & Finger, P.A.       Blake Rohrbacher              One Rodney Square                920 North King Street     Wilmington         DE       19801                                      First Class Mail
                                                8509038   Gernshteyn, Sagie                      1401 55th St                          Apt 2B                                                                                   Brooklyn           NY       11219                                      First Class Mail
                                                8508910   Gernshteyn, Sagie                      Burns & Harris                        Woolworth Building            223 Broadway                                               New York           NY       10279                                      First Class Mail
                                                8509262   GERNSHTEYN, SERGE                      233 BROADWAY                          RM 900                                                                                   NEW YORK           NY       10279-0999                                 First Class Mail
                                                8509197   GERNSHTEYN, SERGE                      BURNS & HARRIS                        JASON STEINBERG               233 BROADWAY                                               NEW YORK           NY       10279                                      First Class Mail




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                                                                                                                                           Case 20-11558-KBO       Doc 1120       Filed 10/23/20      Page 22 of 57




                                                                                                                                                                           Exhibit C
                                                                                                                                                               Civil Counterparties Service List
                                                                                                                                                                  Served as set forth below

                                                MMLID                        Name                 Address1                        Address2                    Address3                         Address4                  City     State   Postal Code                   Email                   Method of Service
                                                8509263   GHANEM, YOLLA             5633 COLFAX AVE                   #114                                                                                    NORTH HOLLYWOOD    CA       91601                                             First Class Mail
                                                8509206   GHANEM, YOLLA             CASILLAS & ASSOCIATES             CASEY KOZOLL                3777 LONG BEACH BLVD.            3RD FLOOR                  LONG BEACH         CA       90807                                             First Class Mail
                                                8509090   Gibson, Michael           402 Owens St                                                                                                              Houston            TX       77029                                             First Class Mail
                                                8508876   Gibson, Michael           Dion A. Craig Attorney at Law     PO Box 52845                                                                            Houston            TX       77052                                             First Class Mail
                                                8508998   Goines                    Gruenberg Law Firm                2155 First Avenue                                                                       San Diego          CA       92101                                             First Class Mail
                                                8509044   Goines, James             1533 FERNSIDE ST                                                                                                          Redwood            CA       94061                                             First Class Mail
                                                8509377   GOLD, KERRI               13239 GARCIA CT                                                                                                           RANCHO CUCAMONGA   CA       91739-9486                                        First Class Mail
                                                8509264   GOLDEN, RICHARD           16 DEVONSHIRE CT                                                                                                          PLAINVIEW          NY       11803-3231                                        First Class Mail

                                                8509225   GOLDEN, RICHARD           ELLIOT IFRAIMOFF & ASSOCIATES     SHEYLA ZOEGER               118-35 QUEENS BLVD.              SUITE 1250                 FOREST HILLS       NY       11375                                             First Class Mail
                                                8509086   Goldsmith, Jennifer       3601 NICOLETTE WAY                                                                                                        CARMICHAEL         CA       95608                                             First Class Mail
                                                8508964   Goldsmith, Jennifer       Carter, Wolden, Curtis            1111 Exposition Blvd.       Suite 602                                                   Sacramento         CA       95815                                             First Class Mail
                                                8509312   GOMEZ, JOSE               76 GUISE WAY                                                                                                              BRENTWOOD          CA       94513                                             First Class Mail

                                                8509410   GOMEZ, JOSE               FROST LAW                         ZACHARY FROST               39510 PASEO PADRE PKWY           Suite 300                  FREMONT            CA       94538                                             First Class Mail
                                                8509346   GONZALEZ, FELIPE          601 MAGNOLIA AVE                                                                                                          INGLEWOOD          CA       90301-3128                                        First Class Mail
                                                8509345   GONZALEZ, VANESSA         15017 FLEMING ST                                                                                                          SAN LEANDRO        CA       94579-1713                                        First Class Mail
                                                8509040   Gordon, Marilyn           142 W 94th St                     Apt 1                                                                                   Los Angeles        CA       90003                                             First Class Mail
                                                8508865   Gordon, Marilyn           Kim, Shapiro, Park & Lee          3435 Wilshire Blvd          Suite 2050                                                  Los Angeles        CA       90010                                             First Class Mail
                                                8509400   GRAEBER, MARK             34140 SELVA RD                    Unit 217                                                                                DANA POINT         CA       92629-3775                                        First Class Mail
                                                8508776   Gravina, Vincent          Scott Levenson                    Scott Levenson              231 Oakdene Ave                                             Cliffside Park     NJ       07010                                             First Class Mail
                                                8509074   Gubik, Stephan            2945 N Lincoln St                                                                                                         Burbank            CA       91504                                             First Class Mail
                                                8508986   Gubik, Stephan            501 N VERMONT AVE STE 102                                                                                                 Los Angeles        CA       90004                                             First Class Mail
                                                8509265   GUERRA, ALBERT            3100 TIMMONS LN                   Suite 310                                                                               HOUSTON            TX       77027-5904                                        First Class Mail
                                                8509155   GUERRA, ALBERT            BRUERA LAW FIRM                   SOFIA BRUERA                3100 TIMMONS LANE                                           HOUSTON            TX       77027                                             First Class Mail
                                                8509064   GUNATILAKE, RUWAN         2478 Barry Ave                                                                                                            Los Angeles        CA       90064                                             First Class Mail
                                                8508886   GUNATILAKE, Ruwan         Wyatt Law Firm                    20750 Ventura Blvd.         Suite 440                                                   Woodland Hills     CA       91364                                             First Class Mail
                                                8509266   HADDAD, VERONIKA          1254 S SALTAIR                                                                                                            LOS ANGELES        CA       90025                                             First Class Mail

                                                8509210 HADDAD, VERONIKA            CWILKO LAW                        WARNER CENTER TOWERS        21650 OXNARD ST.                 SUITE 1960                 WOODLAND HILLS     CA       91367         filings@westcoasttriallawyers.com   First Class Mail and Email

                                                8509047   Hahn, Victoria            16010 FOLGER ST                                                                                                           HACIENDA HEIGHTS   CA       91745         jleegarces@gmail.com                First Class Mail and Email
                                                8509001   Hahn, Victoria            Law offices of Scott Warmuth      17700 Castleton Street      Suite 168                                                   City of Industry   CA       91748                                             First Class Mail
                                                8509354   HALLEY, LENISE            872 WORCESTER AVE                                                                                                         PASADENA           CA       91104-4256                                        First Class Mail
                                                8509344   HAMBAROFF, PETER          7306 CARSON RIVER RD                                                                                                      BAKERSFIELD        CA       93311-4503                                        First Class Mail
                                                8508796   Hamilton, Gabe            1936 Shadyhill Terrace                                                                                                    Winter Park        FL       32792                                             First Class Mail
                                                8509313   HAMILTON, MELISSA         1304 LINE ROCK                                                                                                            ROUNDROCK          TX       78681                                             First Class Mail
                                                8509333   HANSEN, DANIELLE          14901 BRAEBURN RD                                                                                                         TUSTIN             CA       92780                                             First Class Mail
                                                8509428   HANSEN, DANIELLE          LAW OFFICE OF JAMIE A. BLUNT      JAMEY A. TEITELL            1651 E 4TH ST                    Suite 133                  SANTA ANA          CA       94612                                             First Class Mail
                                                8509351   HARGROVE, DARLENN         2123 CUTTING BLVD                                                                                                         RICHMOND           CA       94804-2747                                        First Class Mail

                                                8509436 HARGROVE, DARLENN           BOXER & GERSON                    300 FRANK H OGAWA PLAZA ROTUNDA BLDG.                        SUITE 500                  OAKLAND            CA       94612                                             First Class Mail
                                                8509267 HARRISON, ALRAD             4912 COLISEUM ST                  Apt 3                                                                                   LOS ANGELES        CA       90016-5340                                        First Class Mail

                                                8509194 HARRISON, ALRAD             G. DALLAS HORTON LAW              G. DALLAS HORTON            4435 SOUTH EASTERN AVE.                                     LAS VEGAS          NV       89119                                             First Class Mail
                                                8509026 Haskis, Tariq               1205 Kachina Way                                                                                                          Haslet             TX       76052                                             First Class Mail
                                                8508950 Haskis, Tariq               MSL Law                           12222 Merit Drive           Suite 1200                                                  Dallas             TX       75251                                             First Class Mail

                                                8509330 HAWLEY, AARON               627 WEST WILSON AVE               #A                                                                                      GLENDALE           CA       91203         sirusjp@gmail.com                   First Class Mail and Email

                                                8509395 HAZLETT, GORDON             502 HAWKINS AVE                                                                                                           HOUSTON            TX       77037-1628    traylorlawoffice@gmail.com          First Class Mail and Email
                                                8508797 Heerema, Gabrielle          2220 Fulton Rd                                                                                                            Santa Rosa         CA       95403                                             First Class Mail
                                                8509087 Henriquez, Michael          3841 Fir Cir                                                                                                              Seal Beach         CA       90740                                             First Class Mail

                                                8508900 Henriquez, Michael          The Law Concierge                 3780 Airport Way            Suite 200 PMB 401                                           Long Beach         CA       90806         augustobovio@hotmail.com            First Class Mail and Email

                                                8509268 HERGERT, MATHEW             123 UNKNOWN                                                                                                               LIVERMORE          CA       94551-9418    perezjpt2810@gmail.com              First Class Mail and Email
                                                                                    LAW OFFICES OF J. MICHAEL
                                                8509190 HERGERT, MATHEW             HOSTERMAN                         J. MICHAEL HOSTERMAN        555 PETERS AVE.                  SUITE 115                  PLEASANTON         CA       94566                                             First Class Mail
                                                8509081 Hernandez, Alfonso          3392 Buffalo Rd                                                                                                           Perris             CA       92570                                             First Class Mail

                                                8508978 Hernandez, Alfonso          Bauman Law                        6800 Owensmouth Avenue      Suite 410                                                   Canoga Park        CA       91303                                             First Class Mail
                                                8509365 HERNANDEZ, CRISOFORO        4004 MCLAUGHLIN AVE                                                                                                       SAN JOSE           CA       95121-2632                                        First Class Mail
                                                8509269 HERNANDEZ, DARRICK          1530 MERIDIAN AVE                 Suite 102                                                                               SAN JOSE           CA       95125-5318                                        First Class Mail

                                                8509168   HERNANDEZ, DARRICK        LAW OFFICE OF WILLIAM MCCANN      WILLIAM MCCANN              1530 MERIDIAN AVE.                                          SAN JOSE           CA       95125                                             First Class Mail
                                                8509270   HILL, JEM                 2960 GRAND CONCOURSE              #6C                                                                                     BRONX              NY       10458-1909                                        First Class Mail
                                                8509214   HILL, JEM                 L/O OF STEPHEN KAUFMAN            JOHN DECOLATOR              3397 EAST TREMONT AVE.                                      BRONX              NY       10465                                             First Class Mail
                                                8509271   HILL-JOHNSON, MARIETTE    703 S 8TH ST                                                                                                              LAS VEGAS          NV       89101-7006                                        First Class Mail
                                                8509171   HILL-JOHNSON, MARIETTE    ERIC ROY LAW FIRM                 ERIC ROY                    703 SOUTH EIGHTH STREET                                     LAW VEGAS          NV       89101                                             First Class Mail
                                                8508798   Holmes, Ebonie            504 The Terrace Apt 2                                                                                                     Redlands           CA       92374                                             First Class Mail

                                                8509002 Horton, Viola               Dorothy M. Hyde Attorney at Law   4925 Greeville Avenue       Suite 1022                                                  Dallas             TX       75206                                             First Class Mail
                                                8509140 Horton, Viola               PO Box 171094                                                                                                             Dallas             TX       75217                                             First Class Mail
                                                8509031 Hug, Robert                 126 PAGE AVE                                                                                                              Yonkers            NY       10704                                             First Class Mail

                                                8508959 Hug, Robert                 Scott Baron & Associates          159-45 Cross Bay Blvd.                                                                  Howard Beach       NY       11414         karoly.mayer.allas@gmail.com        First Class Mail and Email
                                                8508799 Hutchison, Michael          2614 Graham Ave Apt A                                                                                                     Redondo Beach      CA       90278                                             First Class Mail
                                                8509272 ILCO, GEORGE                35 CALAIS RD                                                                                                              RANDOLPH           NJ       07869-3531                                        First Class Mail
                                                                                    LAW OFFICES OF DEGRADO
                                                8509183 ILCO, GEORGE                HALKOVICH, LLC                    DEGRADO,PAUL                540 HUDSON STREET                                           HACKENSACK         NJ       07601                                             First Class Mail

                                                8509037 Jacinda, Perez              13965 Weidner St                                                                                                          Pacoima            CA       91331         rnathan@nathanlawpractice.com       First Class Mail and Email

                                                8509024   James, Shirley            941 VICTORIA TER                                                                                                          ALTAMONTE SPG      FL       32701-7308    matt@righettilaw.com                First Class Mail and Email
                                                8509092   Jarret, Ayianna           408 S 56th Ave                                                                                                            Hollywood          FL       33023                                             First Class Mail
                                                8508976   Jarret, Ayianna           Zebersky Payne                    110 SE 6th Street           Suite 2150                                                  Fort Lauderdale    FL       33301                                             First Class Mail
                                                8509273   JOBITY, ANTONIO           225 BROADWAY                      Suite 1606                                                                              NEW YORK           NY       10007-3701                                        First Class Mail
                                                8509212   JOBITY, ANTONIO           ROBERT J. BERKOWITZ & ASSOC.      225 BROADWAY                                                                            NEW YORK           NY       10007                                             First Class Mail
                                                8509318   JOHNSON, ALYSSA           751 LAUREL ST                     # 914                                                                                   SAN CARLOS         CA       94070                                             First Class Mail

                                                8509416 JOHNSON, ALYSSA             BOXER & GERSON                    JENNY JEREZ                 300 FRANK H OGAWA PLAZA                                     OAKLAND            CA       92506                                             First Class Mail
                                                8509274 JOHNSON, JERRICK            9330 LBJ FWY                      Suite 120                                                                               DALLAS             TX       75243-4357                                        First Class Mail
                                                                                    ALMASRI MARZWANIAN &
                                                8509226 JOHNSON, JERRICK            SEPULVEDA                         C. ASHLEY COVERT            9330 LBJ FREEWAY                 SUITE 120                  DALLAS             TX       75243                                             First Class Mail
                                                                                    ALMASRI MARZWANIAN &                                          9330 LBJ FREEWAY, SUITE
                                                8509195   JOHNSON, JERRICK          SEPULVEDA                         SAM ALMASRI                 #120                                                        DALLAS             TX       75243                                             First Class Mail
                                                8509356   JOHNSON, TAMLA            6623 GORTON DR                                                                                                            KATY               TX       77449-7715                                        First Class Mail
                                                8508767   Jones, Stewart            Stewart Jones                     Stewart Jones               P.O. Box 36741                                              Houston            TX       77236                                             First Class Mail
                                                8509017   Kalaydjian, Narine        1140 SWEETBRIAR DRIVE                                                                                                     Glendale           CA       91206                                             First Class Mail
                                                                                    Law offices of Arman Sahakyan &
                                                8508985 Kalaydjian, Narine          Associates                        301 E. Glenoaks Blvd.       Suite 6                                                     Glendale           CA       91207                                             First Class Mail

                                                8508778 Kang, Jack                  Shekhar Vyas, Yvette Harrell      Legal Justice Advocates     1629 K Street NW, Suite 300                                 Washington         DC       20006                                             First Class Mail
                                                                                                                                                  1 East Broward Blvd, Suite
                                                8508779 Kang, Jack                  Shekhar Vyas, Yvette Harrell      Legal Justice Advocates     700                                                         Fort Lauderdale    FL       33301         kennykibaeknam@gmail.com            First Class Mail and Email

                                                8509049   Kanjouri, Fabira          177 W Wilbur                                                                                                              Lake Mary          FL       32746         kim4education@gmail.com             First Class Mail and Email
                                                8508885   Kanjouri, Fabira          Zaeri & Associates                PO Box 915693                                                                           Longwood           FL       32791                                             First Class Mail
                                                8508765   Khan                      Michael Fuller                    Under Dog Lawyer            US Bancorp Tower                 111 SW 5th Ave. STE 3150   Portland           OR       97204                                             First Class Mail
                                                8509275   KIEFFER, STEPHEN          4104 PINEWOOD DR                                                                                                          PLANO              TX       75093-6942                                        First Class Mail
                                                8509227   KIEFFER, STEPHEN          LAW OFFICE OF JULIE JOHNSON       JULIE JOHNSON               12222 MERIT DRIVE                SUITE 1200                 DALLAS             TX       75251                                             First Class Mail
                                                8508845   Kiketua, Alfredo          132 Marginal Way Apt 315                                                                                                  Portland           ME       04101                                             First Class Mail
                                                8509276   KIM, YOON                 1701 ROYAL LN                     Apt 6105                                                                                FARMERS BRANCH     TX       75229-3155                                        First Class Mail

                                                8509228 KIM, YOON                   LAW OFFICES OF PATRICK WRIGHT     PATRICK WRIGHT              10888 SHADY TRAIL                                           DALLAS             TX       75220                                             First Class Mail
                                                8509108 King, Kodeesha              5715 Coastal Way                                                                                                          Houston            TX       77085                                             First Class Mail
                                                8508923 King, Kodeesha              Livingston & Flowers Law Firm     1900 St. James Place        Suite 480                                                   Houston            TX       77056                                             First Class Mail

                                                8509146 Kleinberger, Richard        16266 Pacific Circle              Unit B                                                                                  Huntington Beach   CA       92649         saslam@lfecr.com                    First Class Mail and Email

                                                8509008 Kleinberger, Richard        Mancini & Associates              15303 Ventura Blvd.         Suite 600                                                   Sherman Oaks       CA       91403         kristopherchown@gmail.com           First Class Mail and Email




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Case No. 20-11558 (KBO)                                                                                                                                                  Page 4 of 9
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                                                                                                                                                                                            Exhibit C
                                                                                                                                                                                Civil Counterparties Service List
                                                                                                                                                                                   Served as set forth below

                                                MMLID                         Name                             Address1                       Address2                         Address3                         Address4                   City    State   Postal Code                     Email           Method of Service
                                                8508800   Knudson, Kim                          2850 East Orange Grove                                                                                                         Pasadena           CA       91107                                       First Class Mail
                                                8509485   Kossow, Mikenna                       Hogue & Belong                      Jeffrey L. Hogue, Esq.         170 Laurel Street                                           San Diego          CA       92101                                       First Class Mail
                                                8509358   KOTINEK, TERRI                        9 SUFFOLK DOWNS                                                                                                                LAGUNA NIGUEL      CA       92677-4754                                  First Class Mail
                                                8509439   KOTINEK, TERRI                        MONTOYA LAW                         360 E 1ST ST                   # 294                                                       TUSTIN             CA       92705                                       First Class Mail
                                                8508801   Kousonsavath, Ty                      1308 Garmont Ct                                                                                                                Rohnert Park       CA       94928                                       First Class Mail
                                                8509277   KURTI, ARSEDA                         500 LANDFAIR AVE.                                                                                                              LOS ANGELES        CA       90224                                       First Class Mail
                                                8509204   KURTI, ARSEDA                         KATZMAN LAW                         MARK KATZMAN                   13273 VENTURA BLVD.              SUITE 105                  STUDIO CITY        CA       91604                                       First Class Mail

                                                        La Costa Town Center; Terramar Retail
                                                        Centers, LLC; Property Development      Wilson Elser Moskowitz Edelman &
                                                8509549 Centers, LLC; Safeway, Inc.             Dicker LLP                          Gregory D. Hagen               401 West A Street Suite 1900                                San Diego          CA       92101                                       First Class Mail

                                                8508769   Labib, Brenda                         Yeremey O. Krivoshey                Bursor & Fisher                1990 N. California Blvd          Suite 940                  Walnut Creek       CA       94596         Gsosa@laralunalaw.com         First Class Mail and Email
                                                8509102   LALOS, ALEX                           503 Sunrise Ct                      Apt 1                                                                                      Lake Worth         FL       33460                                       First Class Mail
                                                8508904   LALOS, Alex                           Goldberg & Rosen                    1111 Brickell Avenue           Suite 2180                                                  Miami              FL       33131                                       First Class Mail
                                                8509132   Lampkin, Brad                         17 8TH ST SE                                                                                                                   FORT MEADE         FL       33841-4007                                  First Class Mail

                                                8509007 Lampkin, Brad                           Morgan & Morgan                     20 N. Orange Avenue            16th Floor                                                  Orlando            FL       32802         leondra1uebbert@yahoo.com     First Class Mail and Email

                                                8509060 Landeis, Denise                         22614 Fanwick Dr                                                                                                               Tomball            TX       77375         lcoborubio60@icloud.com       First Class Mail and Email
                                                                                                                                    363 N. Sam Houston Parkway
                                                8508933   Landeis, Denise                       Criaco & Associates                 E                          Suite 800                                                       Houston            TX       77060                                       First Class Mail
                                                8509279   LARA DE SALAZAR, ANGELITA             1184 MAIN AVE                       Suite 200                                                                                  CLIFTON            NJ       07011-2257                                  First Class Mail
                                                8509184   LARA DE SALAZAR, ANGELITA             PITTS & POLIZZI                     DENNIS POLIZZI             1184 MAIN AVE.                                                  CLIFTON            NJ       07011                                       First Class Mail
                                                8509278   LARA, MONICA                          16018 HARTLAND ST.                                                                                                             VAN NUYS           CA       91406                                       First Class Mail
                                                                                                LAW OFFICES OF BRADLEY S.
                                                8509179   LARA, MONICA                          WALLACE                             BRADLEY S. WALLACE             312 N. SPRING STREET                                        LOS ANGELES        CA       90012                                       First Class Mail
                                                8509114   Laurent, Edmond                       640 W WESTMINSTER AVE APT 2                                                                                                    Venice             CA       90291                                       First Class Mail
                                                8508966   Laurent, Edmond                       Howard Craig Kornberg               Opperheimer Tower              18th Floor                                                  Los Angeles        CA       90024                                       First Class Mail
                                                8509097   Ledesma, Amy Elizabeth                43911 Normandy Ln                                                                                                              Lancaster          CA       93536                                       First Class Mail
                                                8508940   Ledesma, Amy Elizabeth                Kuzyk Law                           1700 West Avenue K             Suite 101                                                   Lancaster          CA       93534                                       First Class Mail
                                                8509043   Ledesma, Manuel                       15325 1.5 Bellflower Blvd                                                                                                      Bellflower         CA       90706                                       First Class Mail
                                                8509039   Leroy, Julia                          1406 Piedmont Dr                                                                                                               Mansfield          TX       76063                                       First Class Mail

                                                8508880 Leroy, Julia                            David S. Kohm & Associates          1414 West Randol Mill Road     Suite 118                                                   Arlington          TX       76012         alban.lorena87@gmail.com      First Class Mail and Email
                                                8508802 Lewis, Antonio                          4537 Lippi Parkway                                                                                                             Sacramento         CA       95823                                       First Class Mail

                                                8508764   Ling, Dick                            Abbas Kazerounian, Esq              KAZEROUNI LAW GROUP, APC 245 Fischer Avenue, Unit D1                                       Costa Mesa         CA       92626                                       First Class Mail
                                                8508908   Linn, William                         Law offices of Michael J. Trezza    506 Second Street                                                                          Yuba City          CA       95991                                       First Class Mail
                                                8509138   Linn, William                         PO Box 1424                                                                                                                    Roseville          CA       95678                                       First Class Mail
                                                8509405   LITTLE, DAX                           3608 HALIFAX DR                                                                                                                ARLINGTON          TX       76013-1911                                  First Class Mail
                                                8508858   Llama, Robert                         11841 SW 103rd Lane                                                                                                            Miami              FL       33186                                       First Class Mail
                                                8508981   Llanos Rangel, Omar                   Martinian & Associates              2801 Cahuenga Blvd.                                                                        West Los Angeles   CA       90068                                       First Class Mail
                                                                                                                                                                   7083 Hollywood Blvd., First
                                                8509488 Long, Eric                              Swain Law Firm                      Charles Swain                  Floor                                                       Los Angeles        CA       90028                                       First Class Mail
                                                8508803 Long, Robert                            3300 Bailey Ave Apt B14                                                                                                        Bronx              NY       10463                                       First Class Mail

                                                8509030 Lopez, Ana                              1251 SW 131 St Pl Cir W                                                                                                        Miami              FL       33184         mallorymorgan522@yahoo.com    First Class Mail and Email

                                                8508948 lopez, Ana                              Morgan & Morgan                     703 Waterford Way              Suite 1050                                                  Miami              FL       33126         manpreet.sing2213@gmail.com   First Class Mail and Email
                                                8509329 LOPEZ, JUSTIN                           361 SEINE WAY                                                                                                                  HENDERSON          NV       89014                                       First Class Mail
                                                                                                LAW OFFICES OF BERKOWITZ &
                                                8509425 LOPEZ, JUSTIN                           COHEN                               6420 WILSHIRE BLVD             Suite 1918                                                  LOS ANGELES        CA       92108                                       First Class Mail

                                                8509117 Lopez, Pedro                            660 East Palm St                                                                                                               Altadena           CA       91001         mbiguessthisisit@gmail.com    First Class Mail and Email

                                                8508932   Lopez, Pedro                          Law offices of Joseph Pourshalimy   1429 Westwood Blvd.                                                                        Los Angeles        CA       90024                                       First Class Mail
                                                8509106   Louis, Gina                           5680 DOLOMITE DR                                                                                                               EL DORADO          CA       95623                                       First Class Mail
                                                8508963   Louis, Gina                           Carter, Wolden, Curtis              1111 Exposition Blvd.          Suite 602                                                   Sacramento         CA       95815                                       First Class Mail
                                                8508944   louise, Mondry                        Pawar Law                           20 Vesey Street                Suite 1210                                                  New York           NY       10007                                       First Class Mail
                                                8509391   LOZANO, GERARDO                       6216 WILDCAT BROOK CT                                                                                                          NORTH LAS VEGAS    NV       89081-6645                                  First Class Mail
                                                8509023   Lu, Poyuan                            11802 4TH AVE. W                    APT D318                                                                                   EVERETT            WA       98204                                       First Class Mail
                                                8508982   Lu, Poyuan                            Hoover Law Group                    815 S. Weller Street           Suite 105                                                   Seattle            WA       98104                                       First Class Mail
                                                8509048   Lucio, Dylan                          1727 W. 30 St                                                                                                                  San Bernadino      CA       92407                                       First Class Mail
                                                8508907   Lucio, Dylan                          Markarian Law Group                 250 E. Rowland Street                                                                      Covina             CA       91723                                       First Class Mail

                                                8509399   LUKIC, VLADIMIR                       8225 FAIRMOUNT DR                   #9-205                                                                                     DENVER             CO       80247-1176    lfana@lfecr.com               First Class Mail and Email
                                                8509055   Lynch, Willie                         2028 High St                        Apt 8                                                                                      Oakland            CA       94601                                       First Class Mail
                                                8508973   Lynch, Willie                         Otis L. Jones                       1726 Sonoma Blvd.                                                                          Vallejo            CA       94590                                       First Class Mail
                                                8509334   MADIGAN, SEAN                         15420 OLD HWY 80                    SPC 205                                                                                    EL CAJON           CA       92021-1800                                  First Class Mail
                                                                                                LAW OFFICE OF THOMAS                                               2655 CAMINO DEL RIO
                                                8509429 MADIGAN, SEAN                           DEBENEDETTO                         THOMAS DEBENEDETTO             NORTH                                                       SAN DIEGO          CA       92108                                       First Class Mail
                                                8508804 Madrigal, Ray                           935 Sir Francis Drake Blvd Ap 1                                                                                                Kentfield          CA       94904                                       First Class Mail

                                                8508841 Maeda, Mitchell                         7390 21St St                                                                                                                   Sacramento         CA       95822         danielle@eanetpc.com          First Class Mail and Email
                                                                                                                                                                   2901 West Coast Highway,
                                                8509489 Malhas, Sam                             Nathan & Associates, APC            Reuben D. Nathan, Esq.         Ste. 200                                                    Newport Beach      CA       92663                                       First Class Mail
                                                                                                                                                                   456 Montgomery Street, Ste.
                                                8509490 Malhas, Sam                             Righetti Glugoski P.C.              Matthew Righetti               1400                                                        San Francisco      CA       94104                                       First Class Mail
                                                8509280 MALVEAUX, TROY                          12206 SHADOWPOINT DR                                                                                                           HOUSTON            TX       77082-2325                                  First Class Mail
                                                8509202 MALVEAUX, TROY                          ATTORNEY AT LAW                     JAMES CARLOS CANADY            5020 MONTROSE BLVD.                                         HOUSTON            TX       77006                                       First Class Mail

                                                8508842   Mangrum, Floyd                        5959 SE 92nd Ave #308                                                                                                          Portland           OR       97266         mark.c.delacruz@gmail.com     First Class Mail and Email
                                                8509326   MANJIKIAN, LARA                       1145 MEDFORD RD                                                                                                                PASADENA           CA       91107-1703                                  First Class Mail
                                                8509337   MANJIKIAN, LARA                       390 CLIFF DR                        Apt 3                                                                                      PASADENA           CA       91107-3041                                  First Class Mail
                                                8509424   MANJIKIAN, LARA                       PICCO & PRESLEY                     ANNA VELLANOWETH               11900 W OLYMPIC BLVD             Suite 660                  LOS ANGELES        CA       33060                                       First Class Mail
                                                8509421   MANJIKIAN, LARA                       PICCO & PRESLEY                     ANNA VELLANOWETH               11900 W OLYMPIC BLVD             Suite 660                  LOS ANGELES        CA       92705                                       First Class Mail
                                                8509085   Marquez, Patricia                     360 Julian St                                                                                                                  Denver             CO       80219                                       First Class Mail
                                                8508871   Marquez, Patricia                     Eduardo Ferszt Attorney at Law      1010 S. Joliet Street          Suite 211                                                   Aurora             CO       80012                                       First Class Mail
                                                8509103   MARTE, MIRIAM                         512 OXFORD BRONX AVE APT 1A                                                                                                    BRONX              NY       10463                                       First Class Mail

                                                8508990   MARTE, Miriam                         Richard M. Altman Attorney at Law   3201 Grand Concourse           Suite 1-F                                                   Bronx              NY       10468         marymorales03@gmail.com       First Class Mail and Email
                                                8509281   MARTIN, MICHAEL                       123 MAIN STREET                                                                                                                ROSENBERG          TX       77469                                       First Class Mail
                                                8509282   MARTINEZ, ANA                         948 MACE AVE                        Apt 6C                                                                                     BRONX              NY       10469-4636                                  First Class Mail
                                                8509213   MARTINEZ, ANA                         SCOTT BARON & ASSOC.                ELLIOT SKYDEL                  159-45 CROSS BAY BLVD.                                      HOWARD BEACH       NY       11414                                       First Class Mail
                                                8508855   Martinez, Antonio                     1290 South Vrain Street                                                                                                        Lakewood           CO       80219                                       First Class Mail

                                                8509112 Martinez, Humberto                      620 Tropicana                                                                                                                  Las Vegas          NV       89103         maxjthorn@aol.com             First Class Mail and Email

                                                8508875 martinez, Humberto                      Henness & Haight                    8972 Spanish Ridge Avenue                                                                  Las Vegas          NV       89148                                       First Class Mail
                                                8509013 MATO, NESTOR                            11010 SW 25th Ct                                                                                                               Miramar            FL       33025                                       First Class Mail

                                                8508929 MATO, Nestor                            Law Offices of Joshua J. Hertz PA   8100 Oak Land                  Penthouse 403                                               Miami              FL       33016                                       First Class Mail

                                                8508805 May, Ricky                              1302 Kinau St                                                                                                                  Honolulu           HI       96814         dhyun@hyunlegal.com           First Class Mail and Email

                                                8508806   Mayer, Karoly                         8815 Cynthia St                                                                                                                West Hollywood     CA       90069         bill@polarislawgroup.com      First Class Mail and Email
                                                8508852   McCargo, Jasper                       290 Broadway                                                                                                                   Richmond           CA       94804                                       First Class Mail
                                                8509348   MCCAULEY, SEAN                        48 PARK FLETCHER PL                                                                                                            SAN JOSE           CA       95136-2403                                  First Class Mail
                                                8509437   MCCAULEY, SEAN                        SHATFORD LAW                        SHIRIN HEJAZI                  16491 SCIENTIFIC WAY                                        IRVINE             CA       90064                                       First Class Mail
                                                8509283   MCCOY, WILLIAM                        123 UNKNOWN                                                                                                                    PLANTATION         FL       33324                                       First Class Mail

                                                8509229 MCCOY, WILLIAM                          SCOTT A. MAGER ATTORNEY AT LAW 2719 HOLLYWOOD BLVD.                2ND FLOOR                                                   HOLLYWOOD          FL       33010                                       First Class Mail
                                                8508903 McDonald, Saysawar                      1012 W ANDRESON LN                                                                                                             AUSTIN             TX       78757                                       First Class Mail
                                                8509027 McDonald, Saysawar                      1231 Laurelleff Dr                                                                                                             Pflugerville       TX       78660                                       First Class Mail

                                                8508953 MCDONALD, Saysawart                     1012 W ANDERSON LN                                                                                                             Austin             TX       78757         Mcbing69@gmail.com            First Class Mail and Email

                                                8509059   MCDONALD, SAYSAWART                   2205 Buckwood Patch                                                                                                            Round Rock         TX       78664         mk_solutions@yahoo.com        First Class Mail and Email
                                                8509363   MCGARRY, ELIZABETH                    4875 ELIMA WAY                      Apt A                                                                                      EWA BEACH          HI       96706-3044                                  First Class Mail
                                                8508771   McPherson, Christina                  Judith A. Endejan                   Judith A. Endejan              P.O. Box 19188                                              Newbury Park       CA       91329                                       First Class Mail
                                                8509284   MEJIA, ESTIBAN                        13805 ESTELLE ST                                                                                                               CORONA             CA       92879-1895                                  First Class Mail




In re: 24 Hour Fitness Worldwide, Inc., et al
Case No. 20-11558 (KBO)                                                                                                                                                                   Page 5 of 9
                                                                                                                                                        Case 20-11558-KBO        Doc 1120        Filed 10/23/20     Page 24 of 57




                                                                                                                                                                                         Exhibit C
                                                                                                                                                                             Civil Counterparties Service List
                                                                                                                                                                                Served as set forth below

                                                MMLID                        Name                           Address1                        Address2                        Address3                         Address4                   City     State   Postal Code                  Email           Method of Service
                                                8509220 MEJIA, SANDY                          GIRARDI & KEESE                     1126 WILSHIRE BLVD.                                                                       LOS ANGELES         CA       90017                                    First Class Mail

                                                8508861 Mendez, Cheryl                        PO Box 741823                                                                                                                 San Diego           CA       92174         mehutchison@aol.com        First Class Mail and Email
                                                8509372 MENDOZA-TURNER, SYLVIA                1554 UPPINGHAM DR                                                                                                             THOUSAND OAKS       CA       91360-6545                               First Class Mail
                                                8508947 Mercedes, Constancia                  Freman Injury Law                   4 Harvard Circle              Suite 600                                                   West Palm Beach     FL       33409                                    First Class Mail
                                                                                              Glaser Weil Fink Howard Avchen &                                  10250 Constellation Blvd.,
                                                8509538   MGP XI-GPI Laurel Plaza, LLC        Shapiro LLP                         Peter C. Sheridan             19th Floor                                                  Los Angeles         CA       90067                                    First Class Mail
                                                8509285   MILLER, JAMES                       25056 KERRY ROBIN DR                                                                                                          NEWHALL             CA       91321-2314                               First Class Mail
                                                8509219   MILLER, JAMES                       VAHDAT & ABOUDI                     16255 VENTURA BLVD.                                                                       ENCINO              CA       91436                                    First Class Mail
                                                8509397   MILLER, SHANNA                      2448 KAREN DRIVE                    Apt 1                                                                                     SANTA CLARA         CA       95050                                    First Class Mail
                                                8508851   MILLS, STEVEN                       9103 SW 206 St                                                                                                                Miami               FL       33189                                    First Class Mail
                                                8509010   Miranda, Ramon                      10000 BROADWAY ST 841                                                                                                         Pearland            TX       77584                                    First Class Mail
                                                                                              Lawyers for Employee and Consumer                                 4100 West Alameda Avenue,
                                                8509492   Mitchell, Kourtney                  Rights                              Saima Aslam                   Third Floor                                                 Burbank             CA       91505                                    First Class Mail
                                                8509025   Mondry, Louise                      1200 Gravesend Neck Rd              Apt 6K                                                                                    Brooklyn            NY       11229                                    First Class Mail
                                                8509286   MONTEZA, HERMINIA                   77 JEFFERSON PL                                                                                                               TOTOWA              NJ       07512-2614                               First Class Mail
                                                8509200   MONTEZA, HERMINIA                   ROPER & THYNE, LLC                  ANGELA ROPER                  77 JEFFERSON PLACE                                          TOTOWA              NJ       07511                                    First Class Mail
                                                8508807   Morales, Mary                       3301 D St                                                                                                                     Hayward             CA       94541                                    First Class Mail
                                                8508808   MORENO, ALAN                        14606 Estrella Ave                                                                                                            Gardena             CA       90248                                    First Class Mail
                                                8508809   Morse, Christopher                  1615 Rose Ave 6                                                                                                               Long Beach          CA       90813                                    First Class Mail

                                                8509378 MOSS, NATHAN                          20010 NW 12TH AVE                                                                                                             MIAMI               FL       33169-2701    maedav0603@gmail.com       First Class Mail and Email
                                                                                                                                                                West Coast Trial Lawyers,        350 South Grand Avenue,
                                                8509494   Moya, Jonathan                      Neama Rahmani                       Ronald L. Zambrano, Esq.      APLC                             Ste. 3325                  Los Angeles         CA       90071                                    First Class Mail
                                                8509076   Moya, Kimberly                      3031 E Thoroughbred St                                                                                                        Ontario             CA       91761                                    First Class Mail
                                                8508939   Moya, Kimberly                      RLS Firm                            2300 Contra Costa Blvd.       Suite 500                                                   Pleasanton          CA       94523                                    First Class Mail
                                                8509288   MUELLER, DIANE                      1298 E PHILLIPS DR                                                                                                            LITTLETON           CO       80122-2962                               First Class Mail
                                                                                                                                                                6025 SOUTH QUEBEC STREET,
                                                8509169 MUELLER, DIANE                        VARNER FADDIS ELITE LEGAL, LLC.     LAUREN VARNER                 #320                                                        CENTENNIAL          CO       80111                                    First Class Mail
                                                8509287 MUELLER, KEN                          123 UNKNOWN                                                                                                                   SEATTLE             WA       98125                                    First Class Mail
                                                                                                                                  WOODLAND PROFESSIONAL
                                                8509230   MUELLER, KEN                        HUNT LAW OFFICES                    BLDG                          407 1/2 NORTH 45TH STREET                                   SEATTLE             WA       98103                                    First Class Mail
                                                8508810   Muradyan, Gayane                    1935 Alpha Rd Apt 312                                                                                                         Glendale            CA       91208                                    First Class Mail
                                                8508846   Nam, Kibaek                         1916 West 162nd Street                                                                                                        Gardena             CA       90247                                    First Class Mail
                                                8508847   Naysmith, Cheryl                    17524 Elm Dr.                                                                                                                 BROWNSTOWN          MI       48147                                    First Class Mail
                                                                                                                                                                2267 Lava Ridge Court, Ste.
                                                8509539   Nazareth Retail Holdings, LLC       Peterson Watts Law Group, LLP       Richard M. Watts, Jr., Esq.   210                                                         Roseville           CA       95661                                    First Class Mail
                                                8509084   Nguyen, Helen                       3484 Lisbon Dr                                                                                                                San Jose            CA       95132                                    First Class Mail
                                                8508945   Nguyen, Helen                       Diep Nguyen Attorney at Law         1569 Lexann Avenue            Suite 110                                                   San Jose            CA       95121                                    First Class Mail
                                                8509317   NGUYEN, KHANG                       10392 LUDERS AVE                                                                                                              GARDEN GROVE        CA       92843-3213                               First Class Mail

                                                8509414   NGUYEN, KHANG                       LAW OFFICE OF LAFAYETTE BLAIR       BLAIR LAFAYETTE               491 W COMPTON BLVD                                          COMPTON             CA       92705                                    First Class Mail
                                                8509121   Nguyen, Luan                        7696 14th St                                                                                                                  Westminster         CA       92683                                    First Class Mail
                                                8508898   Nguyen, Luan                        Law offices of Adam V. Nguyen       9550 Bolsa Avenue             Unit 224                                                    Westminster         CA       92683                                    First Class Mail
                                                8509136   Nguyen, Phuc                        9832 Cheshire Ave                                                                                                             Westminster         CA       92683                                    First Class Mail

                                                8508943   Nguyen, Quyen                       Crim & Villalpando                  2122 E. Grosvernors Circle                                                                Houston             TX       77092         maestronicknrp@gmail.com   First Class Mail and Email
                                                8508997   Niges, De Ann                       Blue Law Group                      801 South Grand Avenue        1st Floor                                                   Los Angeles         CA       90017                                    First Class Mail
                                                8509018   NOEL, ARIELLE                       1145 S TREMAINE AVE                                                                                                           Los Angeles         CA       90019                                    First Class Mail
                                                8509000   NOEL, Arielle                       Michael J O'Hara & Associates       10850 Wilshire Blvd.          Suite 770                                                   Los Angeles         CA       90024                                    First Class Mail
                                                8509323   NOWOSINSKI, JACK                    23562 VIA CALZADA                                                                                                             MISSION VIEJO       CA       92691-3626                               First Class Mail

                                                8509418 NOWOSINSKI, JACK                      LAW OFFICES OF DENNIS DASCARIO      200 N MAIN ST                 2nd Floor                                                   SANTA ANA           CA       90048                                    First Class Mail
                                                8509289 NUNEZ, JOHNNY                         123 UNKNOWN                                                                                                                   YONKERS             NY       10710                                    First Class Mail

                                                8509163   NUNEZ, JOHNNY                       SEITLEMAN LAW OFFICES               MARK SEITELMAN                111 BROADWAY, 9TH FLOOR                                     NEW YORK            NY       10006                                    First Class Mail
                                                8509061   Nunez, Jose                         231 Samantha St                                                                                                               Las Vegas           NV       89110                                    First Class Mail
                                                8508926   Nunez, Jose                         Gina Corena & Associates            300 4th Street                Suite 1250                                                  Las Vegas           NV       89101                                    First Class Mail
                                                8509050   Nunn, Cathryn                       17906 Tiara St                                                                                                                Encino              CA       91316                                    First Class Mail
                                                8508946   Nunn, Cathryn                       Flahavan Law Office                 960 S. Westlake Blvd.         Suite 202                                                   Westlake Village    CA       91361                                    First Class Mail
                                                8509321   O'BRIEN, MELISSA                    5008 DEERPARK CIR                                                                                                             FAIR OAKS           CA       95628-4210                               First Class Mail
                                                                                                                                                                515 S. Figueroa Street, Ste.
                                                8509497 O'Brien, Melissa                      Hyuen Legal, APC                    Dennis S. Hyun                1250                                                        Los Angeles         CA       90071                                    First Class Mail
                                                                                                                                                                501 San Benito Street, Suite.
                                                8509496   O'Brien, Melissa                    Polaris Law Group                   William L. Marder, Esq.       200                                                         Hollister           CA       95023                                    First Class Mail
                                                8508848   Olivo, Abraham                      252 High St #B                                                                                                                Nampa               ID       83651                                    First Class Mail
                                                8509364   ORTIZ, CONSUELO                     26120 UNDERWOOD AVE                                                                                                           HAYWARD             CA       94544-2720                               First Class Mail
                                                8509098   Ortiz, Martin                       44 CARTIER AISLE                                                                                                              IRVINE              CA       92620                                    First Class Mail
                                                8508987   Ortiz, Martin                       A.G. Assanti & Associates, P.C.     9841 Irvine Center Drive      Suite 100                                                   Irvine              CA       92618                                    First Class Mail
                                                                                                                                                                2901 West Coast Highway,
                                                8509498 Padhiar, Kayla                        Nathan & Associates, APC            Reuben D. Nathan, Esq.        Ste. 200                                                    Newport Beach       CA       92663                                    First Class Mail
                                                                                                                                                                456 Montgomery Street, Ste.
                                                8509499 Padhiar, Kayla                        Righetti Glugoski P.C.              Matthew Righetti              1400                                                        San Francisco       CA       94104                                    First Class Mail
                                                                                              California Labor & Workforce
                                                8509726 PAGA Notice                           Development Agency                  Attn: PAGA Administrator      455 Golden Gate Avenue           9th Floor                  San Francisco       CA       94102                                    First Class Mail
                                                8509341 PAJARON, LUIS                         173 W 107TH ST                      Apt 10B                                                                                   NEW YORK            NY       10025-3130                               First Class Mail
                                                8508811 Palmer, Josh                          1107 Norwich Ct                                                                                                               Fort Collins        CO       80525                                    First Class Mail
                                                                                              SHER, HERMAN, BELLONE &
                                                8509433 PARAJON, LUIS                         TIPOGRAPH                           9131 QUEENS BLVD.             SUITE 311                                                   ELMHURST            NY       11373                                    First Class Mail
                                                8509020 Pardo, Joe                            11575 Pearland Pkwy                 Apt 11301                                                                                 Houston             TX       77089                                    First Class Mail

                                                8508863 Pardo, Joe                            Mestermaker, Straub & Zummalt       3100 Timmons                  Suite 455                                                   Houston             TX       77027                                    First Class Mail

                                                8509236 PARENTS OF AVREY ANDERSON             123 UNKNOWN                                                                                                                   INDEPENDENCE        MO       64055         thecherl4@gmail.com        First Class Mail and Email

                                                8509309 PARENTS OF DANIEL WILSON, A MINOR     4301 GARDEN CITY DR                 # 410                                                                                     HYATTSVILLE         MD       20785-2367                               First Class Mail

                                                8509306 PARENTS OF JAYDEN VILLEGAS, A MINOR   5915 PONCE DE LEON BL               # 21                                                                                      CORAL GABLES        FL       33146-2435                               First Class Mail
                                                8509069 Parker, Phillip                       2602 Townley St                                                                                                               Santa Ana           CA       92706                                    First Class Mail

                                                8508870 Parker, Phillip                       Law office of Jacob Emrani          714 W. Olympic Blvd.          Suite 300                                                   Los Angeles         CA       90015         rise0162@gmail.com         First Class Mail and Email

                                                8509054 Patel, Sam                            2027 S Wayside Dr                                                                                                             Houston             TX       77023         raysun2012@gmail.com       First Class Mail and Email

                                                8508905 patel, Sam                            Farrell, Patel, Tomarron & Lopez    10777 Westheimer              Suite 1100                                                  Houston             TX       77042         REMUNDAA@YAHOO.COM         First Class Mail and Email
                                                8508812 Patterson, Amir                       10051 Valley Circle Blvd                                                                                                      Chatsworth          CA       91311                                    First Class Mail
                                                8509389 PEACOCK, ROBERT                       5333 BALBOA BLVD                    Apt 228                                                                                   ENCINO              CA       91316                                    First Class Mail

                                                8509440 PEACOCK, ROBERT                       LAVANDI LAW GROUP                   2955 MAIN STREET              SUITE 110                                                   IRVINE              CA       92614         Rickemup@yahoo.com         First Class Mail and Email

                                                8509385   PELOSI, FRANK                       901 SW 120TH TER                    Apt 303                                                                                   PEMBROOKE PINES     FL       33027         aryeeteyr29@gmail.com      First Class Mail and Email
                                                8509290   PENSADO, GUADALUPE                  3235 CAMBRIDGE AVE                  Apt 4G                                                                                    BRONX               NY       10463-3628                               First Class Mail
                                                8509156   PENSADO, GUADALUPE                  THE DEARIE LAW FIRM, P.C.           JOHN DEARIE                   515 MADISON AVE.                                            NEW YORK            NY       10022                                    First Class Mail
                                                8508936   Perez, Jacinda                      Razi Law Group                      8666 Wilshire Blvd                                                                        Beverly Hills       CA       90211                                    First Class Mail
                                                8508813   Perez, Juan                         11619 Primwood Dr                                                                                                             Houston             TX       77070                                    First Class Mail
                                                8509369   PEREZ, MIRIAM                       4715 W 159TH ST                                                                                                               LAWNDALE            CA       90260-2502                               First Class Mail
                                                8509320   PERFETTO, ANDREW                    12202 JUNIPER HILLS RD                                                                                                        PEARBLOSSOM         CA       93553                                    First Class Mail
                                                8509342   PETERKIN, HENRY                     12836 GREENROSE ST                                                                                                            LAS VEGAS           NV       89141                                    First Class Mail

                                                8509370 PHILLANDER, KEITH                     3815 MITCHELL RD                                                                                                              ORLANDO             FL       32808-2505    rickymay2@aol.com          First Class Mail and Email
                                                8508854 Phillips, Nick                        1819 Carleton Street, A                                                                                                       Berkeley            CA       94703-1907                               First Class Mail
                                                8508894 Phuc, Nguyen                          Law offices of Phillip Ma           9191 Bolsa Avenue             Suite 201                                                   Westminster         CA       92683                                    First Class Mail
                                                                                                                                                                200 South Biscayne Blvd., Ste.
                                                8509541   Polimix USA, LLC                    The Barthet Firm                    Jessica A. Goldfarb           1800                                                        Miami               FL       33131                                    First Class Mail
                                                8509375   PORTER, ERIC                        14012 S WILKIE AVE                                                                                                            GARDENA             CA       90249-2819                               First Class Mail
                                                8509349   PORTILLA, LUCIE                     16010 E 55TH AVE                                                                                                              DENVER              CO       80239-7000                               First Class Mail
                                                8508814   Powell, Earl                        4123 Broadway                                                                                                                 Oakland             CA       94611                                    First Class Mail
                                                8509144   Proctor, Alisia                     1635 S. Banna Avenue                                                                                                          Glendora            CA       91740                                    First Class Mail

                                                8509291 PROVOST, TREY                         9919 BROOK MEADOW LN                                                                                                          HOUSTON             TX       77089-2144    robert.llama17@gmail.com   First Class Mail and Email

                                                8509215 PROVOST, TREY                         LAW FIRM OF ALTON TODD              ALTON TODD                    312 S. FRIENDSWOOD DRIVE                                    FRIENDSWOOD DRIVE   TX       77546         ricklongnycl@gmail.com     First Class Mail and Email




In re: 24 Hour Fitness Worldwide, Inc., et al
Case No. 20-11558 (KBO)                                                                                                                                                                Page 6 of 9
                                                                                                                                                          Case 20-11558-KBO        Doc 1120      Filed 10/23/20      Page 25 of 57




                                                                                                                                                                                          Exhibit C
                                                                                                                                                                              Civil Counterparties Service List
                                                                                                                                                                                 Served as set forth below

                                                MMLID                         Name                           Address1                         Address2                       Address3                         Address4                   City          State   Postal Code                  Email                    Method of Service
                                                8509122 Prystupa, Jeffrey                      7804 Ingalls St                                                                                                               Arvada                   CO       80003                                             First Class Mail
                                                8508942 Prystupa, Jeffrey                      Gaiennie Law Firm                    3801 East Florida Ave.       Suite 100                                                   Denver                   CO       80210                                             First Class Mail

                                                8509325 QUEZADA, ARTURO                        333 E ENOS DR                        Apt 155                                                                                  SANTA MARIA              CA       93454         riley.robert36@yahoo.com            First Class Mail and Email

                                                8509420   QUEZADA, ARTURO                      LAW OFFICES OF SOLOV & TEITELL       JAMEY A. TEITELL             1625 W OLYMPIC BLVD              Suite 802                  LOS ANGELES              CA       90503                                             First Class Mail
                                                8509384   QUINONES, MICHAEL                    311 TAMARACK DR                                                                                                               LODI                     CA       95240-5733                                        First Class Mail
                                                8509042   Quiroz, Joseph                       15044 Odell Ct                                                                                                                Victorville              CA       92394                                             First Class Mail
                                                8508999   Quiroz, Joseph                       Alderson Law Firm                    14350 Civic Drive            Suite 280                                                   Victorville              CA       92392                                             First Class Mail
                                                8508984   Ramon, Miranda                       Law offices of Alan J. Garcia        6071 Bissonnet Street                                                                    Houston                  TX       77081                                             First Class Mail
                                                8509111   Rangel, Omar Llanos                  605 Sorenson Road                    Apt 27                                                                                   Hayward                  CA       94544                                             First Class Mail
                                                                                                                                    ANTHONY CRAWFORD &
                                                8508772   Reginald Boatwright and 2 minors     ANTHONY J. CRAWFORD                  ASSOCIATES                   2945 Townsgate Road              Suite 200                  Westlake Village         CA       91361                                             First Class Mail
                                                8508815   Reyes, Elsa                          2401 E St Apt B                                                                                                               San Diego                CA       92102                                             First Class Mail
                                                8508895   Reyes, Xavier                        Eidman Law                           3 Columbus Circle            15th Floor                                                  New York                 NY       10019                                             First Class Mail
                                                8509376   RICAFORTE, MARIA                     7233 QUAIL RD                                                                                                                 FAIR OAKS                CA       95628-4311                                        First Class Mail
                                                8508816   Riley, Robert                        3921 N Attu                                                                                                                   Portland                 OR       97217                                             First Class Mail

                                                8509292 ROBINSON, BRANDON                      5917 LAUREL CANYON BL.               #8                                                                                       VALLEY VILLAGE           CA       91607         Scott@ThePLGLaw.com                 First Class Mail and Email

                                                8509193   ROBINSON, BRANDON                    LAW OFFICES OF DAVID BURSTEIN        9107 WILSHIRE BLVD.          SUITE 450                                                   BEVERLY HILLS            CA       90210                                             First Class Mail
                                                8509071   Rodas, Yeny                          2836 Scandia Way Carmichael                                                                                                   Sacramento               CA       95823                                             First Class Mail
                                                8508882   Rodas, Yeny                          Del Rio & Caraway                    2335 American River Drive    Suite 200                                                   Sacramento               CA       95825                                             First Class Mail
                                                8509374   ROECKER, HEATHER                     6302 MEADOW GRASS                                                                                                             FORT COLLINS             CO       80528                                             First Class Mail
                                                8509314   ROLAND, JODIE                        5225 BLAKESLEE AVE                   # 237                                                                                    NORTH HOLLYWOOD          CA       91601                                             First Class Mail
                                                                                               GORDON, EDELSTEIN, KREPACK,
                                                8509411 ROLAND, JODIE                          GRANT, ET ALL                        STEVE SCARDINO               3580 WILSHIRE BLVD               Suite 1800                 LOS ANGELES              CA       92701                                             First Class Mail

                                                8508920 Ronald, Demarco                        Florida Advocates                    45 East Sheridan Street                                                                  Dania Beach              FL       33004         rnathan@nathanlawpractice.com       First Class Mail and Email

                                                8509407 RONSIEK, MELISSA                       189 5TH ST                                                                                                                    HICKSVILLE               NY       11801-5444    matt@righettilaw.com                First Class Mail and Email
                                                8509542 Roofco Inc.                            Mahoney & Soll LLP                   Paul M. Mahoney              150 W. First St., Ste. 180       P.O. Box 940               Claremont                CA       91711-0940                                        First Class Mail
                                                8509125 Rosa, Archael Dela                     800 SE Tech Center Dr                                                                                                         Vancouver                WA       98683                                             First Class Mail

                                                8509096   Rosado, Maria                        4345 Bale Ct                                                                                                                  Lancaster                CA       93536         sameh_edward@yahoo.com              First Class Mail and Email
                                                8508921   Rosado, Maria                        Law offices of Arnel B. Jalbuena     3250 Wilshire Blvd.          Suite 2003                                                  Los Angeles              CA       90010                                             First Class Mail
                                                8508817   Rossini, Fernanda                    3510 Caminito El Rincon                                                                                                       San Diego                CA       92130                                             First Class Mail
                                                8508864   Rosski, Giovanni                     Haddad Law Firm                      100 West Pond Road                                                                       Woodbridge               NJ       08861                                             First Class Mail

                                                8508781   Rowe, Cesar                          James Cook                           James Cook Law Group         667 31st Street                                             Oakland                  CA       94609         duchess.sarahw@gmail.com            First Class Mail and Email
                                                8508818   Rubalcaba, Steven                    4629 Cass St #350                                                                                                             San Diego                CA       92109                                             First Class Mail
                                                8509101   Rubiera, Gudelia                     5010 N NOB HILL RD APT 129                                                                                                    Sunrise                  FL       33351                                             First Class Mail
                                                8508962   Rubiera, Gudelia                     Rodriguez Law Firm                   814 Ponce de Leon Blvd.      Suite 201                                                   Coral Gables             FL       33134                                             First Class Mail
                                                8509089   Rueda, Sylvia                        402 E 104 St                                                                                                                  Los Angeles              CA       90003                                             First Class Mail
                                                8508873   Rueda, Sylvia                        Kim, Shapiro, Park & Lee             3435 Wilshire Blvd           Suite 2050                                                  Los Angeles              CA       90010                                             First Class Mail
                                                8509353   RUIZ RIOS, NANCY                     6220 ALDER DR.                       # 3809                                                                                   HOUSTON                  TX       77081                                             First Class Mail
                                                8509355   RUSSELL, NICHOLAS                    24645 ESHELMAN AVE                                                                                                            LOMITA                   CA       90717-1233                                        First Class Mail
                                                8509426   RUSSELL, NICHOLAS                    OZUROVICH & SCHWARTZ                 3655 TORRANCE BLVD           Suite 405                                                   TORRANCE                 CA       90015                                             First Class Mail

                                                8509728 Sacramento County Superior Court, CA   720 9th Street                                                                                                                Sacramento               CA       95814                                             First Class Mail
                                                8509128 Salas, Luis                            88 Ave C                                                                                                                      Lodi                     NJ       07644                                             First Class Mail
                                                8509003 Salas, Luis                            Law offices of Jeffrey S. Hanson     320 Cedar Lane                                                                           Teaneck                  NJ       07666                                             First Class Mail

                                                8509186 SALAS, LUIS                            LAW OFFICES OF JEFFREY S. HASSON HASSON,JEFFREY                   320 CEDAR LANE                                              TEANECK                  NJ       07666                                             First Class Mail

                                                8509293 SALAS, SALAS, LUIS                     88 AVE. C.                                                                                                                    LODI                     NJ       07644         wyldesean@yahoo.com                 First Class Mail and Email
                                                8509362 SALAZAR, GRACIE                        11022 SEIGE MORGAN DRIVE                                                                                                      HOUSTON                  TX       77089                                             First Class Mail
                                                8509294 SALVADOR, BERNADETTE                   1065 KAWAIAHAO ST                    Apt 705                                                                                  HONOLULU                 HI       96814-4121                                        First Class Mail

                                                8509177   SALVADOR, BERNADETTE                 LAW OFFICES OF IAN L. MATTOCH        IAN L. MATTOCH               737 BISHOP STREET                                           HONOLULU                 HI       96813                                             First Class Mail
                                                8508819   Sanchez, Editshi                     4000 Ace Ln Lot 344                                                                                                           Lewisville               TX       75067                                             First Class Mail
                                                8508820   Sanchez, Vivian                      13923 Daventry St                                                                                                             Pacoima                  CA       91331                                             First Class Mail
                                                8509080   Sanchez-Gallagher, Esmeralda         3366 Heather Ridge Ct                                                                                                         San Marcos               CA       92069                                             First Class Mail
                                                8508937   Sanchez-Gallagher, Esmeralda         Levenbaum Trachtemberg               3500 W. Olive                Suite 300                                                   Burbank                  CA       91505                                             First Class Mail
                                                8509295   SANGSICK, KYEONG                     123 UNKNOWN                                                                                                                   ENGLEWOOD CLIFFS         NJ       07632                                             First Class Mail
                                                8509203   SANGSICK, KYEONG                     L/O ANDREW PARK                      DAVID WASSERMAN              450 SEVENTH AVE.                                            NEW YORK                 NY       10123                                             First Class Mail
                                                8509124   Sano, Wander                         7970 Woodman Ave                     Apt 327                                                                                  Panorama City            CA       91402                                             First Class Mail
                                                8509408   SANTIAGO, STEVEN                     74 W 174TH ST                        Apt 6B                                                                                   BRONX                    NY       10453-7650                                        First Class Mail
                                                8509296   SAULS, HAROLD                        5720 LBJ FWY                         Suite 550                                                                                DALLAS                   TX       75240-6366                                        First Class Mail
                                                8509172   SAULS, HAROLD                        WARANCH & NUNN                       HUNTER NUNN                  5720 LBJ FWY #550                                           DALLAS                   TX       75240                                             First Class Mail
                                                9739721   Sauls, Linda                         Waranch & Nunn                       Hunter Nunn                  5720 LBJ Freeway #550                                       Dallas                   TX       75240                                             First Class Mail
                                                8509352   SAVAGE, CHRISTOPHER                  3638 H ST                            Apt 13                                                                                   SACRAMENTO               CA       95816-4644                                        First Class Mail

                                                8509435   SAVAGE, CHRISTOPHER                  RATTO LAW FIRM                       BRETT GOWEN                  600 16TH ST                                                 OAKLAND                  CA       91203         misharlem15@bellsouth.net           First Class Mail and Email
                                                8509052   Schmid, James                        2 S Quarantina St                                                                                                             Santa Barbara            CA       93103                                             First Class Mail
                                                8508884   Schmid, James                        Law offices of Thomas Griffin        1758 Calle Cerro                                                                         Santa Barbara            CA       93101                                             First Class Mail
                                                8509093   Schwab, Maria                        4105 NE Hassalo St                                                                                                            Portland                 OR       97232                                             First Class Mail
                                                8508878   Schwab, Maria                        Vogelman, Turner & Wright            124 South Royal Street                                                                   Alexandria               VA       22314                                             First Class Mail
                                                8509336   SEDGWICK, ELIZABETH                  PO BOX 1773                                                                                                                   BURLINGAME               CA       94011-1773                                        First Class Mail
                                                8508821   Serfass, Mallory                     2233 Brigadoon Ct                                                                                                             Arlington                TX       76013                                             First Class Mail
                                                8509016   SEUNGKU, JUNG                        11254 Bootes St                                                                                                               San Diego                CA       92126                                             First Class Mail

                                                8508930 SEUNGKU, Jung                          Law offices of Donald Norris         3055 Wilshire Blvd.          Suite 980                                                   Los Angeles              CA       90010         devilgetupoffinel3@yahoo.com        First Class Mail and Email

                                                8509297 SEZAVARMANESH, MOHAMMAD                6701 DE SOTO AVE                     Apt 133                                                                                  CANOGA PARK              CA       91303-2992    stvmil9@aol.com                     First Class Mail and Email

                                                8509231 SEZAVARMANESH, MOHAMMAD                Michael A. Waskull & Associates      6454 Van Nuys Blvd           Suite 212                                                   Van Nuys                 CA       91401         kliterfthf466fhbvx@protonmail.com   First Class Mail and Email
                                                8509120 SHEIKHZADEH, OMAR                      667 Linden St                        Apt 3                                                                                    Daly City                CA       94014                                             First Class Mail
                                                                                               Liuzzi, Murphy, Solomon, Churton &
                                                8508879   SHEIKHZADEH, Omar                    Hale, LLP                            235 Montgomery Street        Suite 854                                                   San Francisco            CA       94104-2928                                        First Class Mail
                                                8509058   Sheila, Rabb                         21918 Alecia Ave                                                                                                              Jamaica                  NY       11413                                             First Class Mail
                                                8508902   Sheila, Rabb                         Monarch Law Group                    445 Broad Hollow Road        Suite 25                                                    Melville                 NY       11747                                             First Class Mail
                                                8508770   Shihad, Heney                        Matthew Righetti                     RIGHETTI GLUGOSKI, P.C.      456 Montgomery Street            Suite 1400                 San Francisco            CA       94104                                             First Class Mail
                                                8508951   SHIRLEY, James                       Justin Clark and Associates          500 Winderley PL.            Suite 100                                                   Maitland                 FL       32751                                             First Class Mail

                                                8508935 Shteyman, Genadiy                      Law offices of Bikhman & Vinbaytel   1909 East 17th Street                                                                    Brooklyn                 NY       11229                                             First Class Mail

                                                8508775 Sialeu, Julienne                       Andrew Kurfz, Esq                    Tamir Law Group              80 Broad Street, Suite 1302                                 New York                 NY       10004                                             First Class Mail
                                                                                                                                                                 16700 Valley View Ave., Ste.
                                                8509502 Silva, Larissa                         Lara & Luna, APC                     Gerardo Sosa, Esq.           170                                                         La Mirada                CA       90638                                             First Class Mail
                                                8508822 Singh, Manpreet                        3602 Lillick Dr                                                                                                               Santa Clara              CA       95051                                             First Class Mail
                                                8509298 SMACK, SHERYL                          1386 PALISADE AVE (ATTY)                                                                                                      FORT LEE                 NJ       07632-2548                                        First Class Mail
                                                                                               LAW OFFICES OF ROSEMARIE
                                                8509187   SMACK, SHERYL                        ARNOLD                               ROSEMARIE ARNOLD             1386 PALISADE AVE.                                          FORT LEE                 NJ       07024                                             First Class Mail
                                                8508872   Smartt, Devin Kathryn                Law offices of NGF                   18685 Main Street            Suite 101-193                                               Huntington Beach         CA       92648                                             First Class Mail
                                                8509143   Smartt, Kathryn                      PO Box 80844                                                                                                                  Rancho Santa Margarita   CA       92688                                             First Class Mail
                                                8509335   SMITH, ALYSON                        23106 LE SOLEIL                                                                                                               LAGUNA NIGUEL            CA       92677                                             First Class Mail
                                                8509383   SMITH, KATHLEEN                      263 CASSOU RD                                                                                                                 SAN MARCOS               CA       92069-9705                                        First Class Mail
                                                8509398   SMITH, KENNY                         998 55TH ST                                                                                                                   OAKLAND                  CA       94608-3108                                        First Class Mail
                                                8509299   SMITH, ROBERT                        17600 S. SANTA FE AVE                B                                                                                        COMPTON                  CA       90221                                             First Class Mail
                                                                                               LAW OFFICES OF BRADLEY S.
                                                8509181 SMITH, ROBERT                          WALLACE                              BRADLEY S. WALLACE           312 N. SPRING STREET                                        LOS ANGELES              CA       90012                                             First Class Mail

                                                8508991 Somers, Celia                          Cohen & Marzban Law Corporation      PO Box 18200                                                                             Encino                   CA       91416                                             First Class Mail
                                                8509145 Somers, Celia Linda                    249 S. La Fayette Park Place         Apt. 217                                                                                 Los Angeles              CA       90057                                             First Class Mail
                                                                                                                                                                                            8033 Linda Vista Road, Ste.
                                                8509543 Stacy Holmes                           Center for Disability Access      Attn Ray Ballister Phyl Grace   Russell Handy Dennis Price 200                              San Diego                CA       92111                                             First Class Mail
                                                                                               Lawyers for Employee and Consumer                                 4100 West Alameda Avenue,
                                                8509503 Staples, Ezekiel                       Rights                            Joel Ezoory                     Third Floor                                                 Burbank                  CA       91505                                             First Class Mail
                                                8509300 STEPPAN, SILVIA                        7401 SW 128TH AVE                                                                                                             MIAMI                    FL       33183-3439                                        First Class Mail
                                                                                               LAW OFFICE OF WILLIAM C.
                                                8509211 STEPPAN, SILVIA                        RUGGIERO                          WILLIAM RUGGIERO                200 SOUTH ANDREWS AVE.                                      FORT LAUDERDALE          FL       33301         emckinney@lfecr.com                 First Class Mail and Email




In re: 24 Hour Fitness Worldwide, Inc., et al
Case No. 20-11558 (KBO)                                                                                                                                                                 Page 7 of 9
                                                                                                                                                               Case 20-11558-KBO         Doc 1120       Filed 10/23/20    Page 26 of 57




                                                                                                                                                                                                 Exhibit C
                                                                                                                                                                                     Civil Counterparties Service List
                                                                                                                                                                                        Served as set forth below

                                                MMLID                        Name                                 Address1                         Address2                         Address3                       Address4                   City       State   Postal Code                  Email                   Method of Service
                                                8509009 Steverson, Vernetta                      100 Citronica La                        Apt 404                                                                                  Lemon Grove           CA       91945                                            First Class Mail
                                                8508957 Steverson, Vernetta                      Sailer Law Firm                         7915 Painter Avenue                                                                      Whittier              CA       90602                                            First Class Mail

                                                8508823 Stewart, Emelia                          1033 W Railroad Ave                                                                                                              Cotati                CA       94931         tyniccolo@gmail.com                First Class Mail and Email
                                                8509322 STORMS, KATHY                            121 ALAMO RANCH RD                                                                                                               ALAMO                 CA       94507-2031                                       First Class Mail
                                                8509380 STOVALL, ANGELA                          1511 PIPELINE AV.                       Spc 49                                                                                   CHINO HILLS           CA       91709                                            First Class Mail

                                                8508996 Strange, Linda                           Law offices of Drociak & Yeager         7627 So. Western Avenue                                                                  Los Angeles           CA       90047         tylerwunderlich91@gmail.com        First Class Mail and Email
                                                8509131 Sweeting, Charles                        8966 El Oro Plaza Dr                                                                                                             Elk Grove             CA       95624                                            First Class Mail

                                                8508862 Sweeting, Charles                        Del Rio Caraway PC                      2335 American River Drive,     Suite 200                                                 Sacramento            CA       95825                                            First Class Mail
                                                                                                                                                                        155-108th Avenue, N.E., Ste.
                                                8509544 T24LLC                                   Romero Park P.S.                        Justin D. Park                 2020                                                      Bellevue              WA       98004--591                                       First Class Mail
                                                8508824 Talpa, Dan                               320 Clubhouse Dr                                                                                                                 East Stroudsburg      PA       18302                                            First Class Mail
                                                                                                                                                                        8601 Lincoln Blvd 180, Suite
                                                8509505   Taylor Jones, Bailey                   Law Office of Michael S Traylor         Michael Traylor                525                                                       Los Angeles           CA       90045                                            First Class Mail
                                                8509396   TAYLOR, KIYOKO                         14190 SW BARROWS RD                     #1                                                                                       TIGARD                OR       97223-2070                                       First Class Mail
                                                8509301   TESFAI, NIGISTI                        3435 WILSHIRE BLVD                      # 1800                                                                                   LOS ANGELES           CA       90010-2004                                       First Class Mail
                                                8509162   TESFAI, NIGISTI                        GHERMEZIAN LAW                          3435 WILSHIRE BLVD             SUITE 1800                                                LOS ANGELES           CA       90010                                            First Class Mail
                                                8509070   Thomas, Virgil                         2741 Citron Dr                                                                                                                   Longwood              FL       32779                                            First Class Mail
                                                8508949   Thomas, Virgil                         Dan Newlin & Partners                   7335 W. Sand Lake Road         Suite 300                                                 Orlando               FL       32819                                            First Class Mail
                                                8509302   THOMAS, WARREN                         33 HULDAH ST                                                                                                                     PROVIDENCE            RI       02909-2933                                       First Class Mail
                                                8508967   Thomas, Warren                         Ghuneim Law Firm                        3115 Preston                   Suite F                                                   Pasadena              TX       77505                                            First Class Mail
                                                                                                 JEFFREY NASH TODD ATTORNEY AT
                                                8509182   THOMAS, WARREN                         LAW                                     JEFFREY NASH TODD              12929 GULF FREEWAY               SUITE 301                HOUSTON               TX       77034                                            First Class Mail
                                                8509035   Thompson, Angela                       13411 NE 4TH PLAIN RD                                                                                                            VANCOUVER             WA       98682                                            First Class Mail
                                                8509135   Thompson, Carlton                      9828 NW 15TH ST                                                                                                                  Cutler Ridge          FL       33170                                            First Class Mail
                                                8508856   Thornburn, Maximilian                  108 windward rd                                                                                                                  Wilmington            DE       19807                                            First Class Mail
                                                8508825   Thu, Frankie                           33139 Lake Mead Dr                                                                                                               Fremont               CA       94555                                            First Class Mail
                                                8509095   Tice, Henrietta                        4334 Clarinda St                                                                                                                 Orlando               FL       32811                                            First Class Mail
                                                8508979   Tice, Henrietta                        Osborne & Francis                       PO Box 140007                                                                            Orlando               FL       32814                                            First Class Mail
                                                8509118   Tidwell, Adam                          1117 MOUNTAUK                                                                                                                    VENTURA               CA       93001-3835                                       First Class Mail
                                                8508975   Tidwell, Adam                          Nabi Law                                9171 Wilshire Blvd.            Suite 500                                                 Beverly Hills         CA       90210                                            First Class Mail
                                                8509331   TILFORD, STEVE                         27645 SWEETBRIER LN                                                                                                              MISSION VIEJO         CA       92691-6673                                       First Class Mail
                                                8508826   Timoleon, Squasia                      13300 Meergate Circle                                                                                                            Orlando               FL       32837                                            First Class Mail
                                                8509063   Tinnin, Ann                            2339 Candleglow St                                                                                                               Castle Rock           CO       80109                                            First Class Mail

                                                8508919   Tinnin, Ann                            Richard Harris Law Firm                 801 South 4th Street                                                                     Las Vegas             NV       89101         itsvivian1313@gmail.com            First Class Mail and Email
                                                8509303   TIVOLI, ANDREW                         9811 SW 2ND ST                                                                                                                   PLANTATION            FL       33324-2316                                       First Class Mail
                                                8509208   TIVOLI, ANDREW                         ATTORNEY AT LAW                         MARCOS GONZALEZ                6500 COW PEN ROAD                                         MIAMI LAKES           FL       33014                                            First Class Mail
                                                8508827   Todd, Greyson                          1452 Liholiho St                                                                                                                 Honolulu              HI       96822                                            First Class Mail
                                                8509068   Torres, Jeime                          2541 N VILLAGE DR                                                                                                                Santa Rosa            CA       95403                                            First Class Mail
                                                8508983   Torres, Jeime                          Law office of Bert M. Vega              506 Sacramento Street                                                                    Vallejo               CA       94590                                            First Class Mail
                                                8509350   TORRES, VICTORIA                       6133 FIDLER AVE                                                                                                                  LAKEWOOD              CA       90712-1256                                       First Class Mail
                                                8508859   Trinh, Duc                             2600 Torrey Pines Rd #A24                                                                                                        La Jolla              CA       92037                                            First Class Mail

                                                8509530 TruFusion Soho                           Law Offices of Mark C. Fields           Mark C Fields                  333 So. Hope Street, Ste. 450                             Los Angeles           CA       90071-1406                                       First Class Mail
                                                8509531 TruFusion Soho                           Reade & Associates                      Robert C Reade                 1333 North Buffalo Drive,     Suite 210                   Las Vegas             NV       89128                                            First Class Mail
                                                        U.S. Equal Employment Opportunity
                                                8509493 Commission                               Houston District Office                 1919 Smith Street, 7th Floor                                                             Houston               TX       77002                                            First Class Mail
                                                        U.S. Equal Employment Opportunity                                                                               255 E. Temple Street, 4th
                                                8509477 Commission                               Kathleen Gilliam, Enforcement ISA       Los Angeles District Office    Floor                                                     Los Angeles           CA       90012         willianamayal@hotmail.com          First Class Mail and Email
                                                        U.S. Equal Employment Opportunity                                                Miami Tower, 100 S E 2nd
                                                8509501 Commission                               Miami District Office                   Street, Ste. 1500                                                                        Miami                 FL       33131                                            First Class Mail
                                                        U.S. Equal Employment Opportunity        Nationwide EEOC Investigation - 24hr
                                                8509495 Commission (EEOC) Headquarters           Fitness                              131 M Street NC                                                                             Washington            DC       20507                                            First Class Mail
                                                8508849 Underwood, Carrol                        3145 SW Newberry Ave                                                                                                             Redmond               OR       97756                                            First Class Mail
                                                8509012 Underwood, Michelle                      10935 Terra Vista Pkwy                                                                                                           Rancho Cucamonga      CA       91730                                            First Class Mail
                                                8508874 underwood, Michelle                      The Hartunian Law Firm               10250 Constellation Blvd.         Suite 2320                                                Los Angeles           CA       90067                                            First Class Mail
                                                                                                                                                                        4100 Newport Place, Suite
                                                8508777 Unnamed Party                            Scott Ferrell, Esq.                     Pacific Trial Attorneys        800                                                       Newport Beach         CA       92660                                            First Class Mail
                                                        Upper V, Inc. D.B.A. Sundance Plumbing                                                                          29122 Rancho Viejo Road,
                                                8509545 Company                                  Kron & Card LLP                         Scott A. Kron, Esq.            Suite 110                                                 San Juan Capistrano   CA       92675                                            First Class Mail
                                                8509116 Valencia, Claudia                        6512 Bancroft Ave                                                                                                                Oakland               CA       94605                                            First Class Mail

                                                8508965 Valencia, Claudia                        Oakwood Legal Group                     470 South San Vicente Blvd.    2nd floor                                                 Los Angeles           CA       90048                                            First Class Mail
                                                8509110 Valencia, Ileana                         5860 NW 186TH ST                                                                                                                 HIALEAH               FL       33015                                            First Class Mail

                                                8508989 Valencia, Ileana                         Schiller Kessler Group                  7501 W. Oakland Park Blvd.     Suite 201                                                 Lauderdale            FL       33319                                            First Class Mail
                                                8509014 VALLEJO, GILBERT                         111 E. Atara St                                                                                                                  Monrovia              CA       91016                                            First Class Mail
                                                8508918 VALLEJO, Gilbert                         Smith Legal Center                      1308 E. Colorado Blvd.         Suite 675                                                 Pasadena              CA       91106                                            First Class Mail

                                                8509546 Valley Mack (DE), LLC                    The McLain Law Firm                     Daniel L. McClain              9229 Ward Parkway, Ste. 370                               Kansas City           MO       64114                                            First Class Mail
                                                8509304 VAN METER, MICHAEL                       18627 BROOKHURST ST                     # 180                                                                                    FOUNTAIN VALLEY       CA       92708-6748                                       First Class Mail

                                                8509166 VAN METER, MICHAEL                       DAVID NISSAN ATTORNEY AT LAW            DAVID NISSAN                   17291 IRVINE BLVD. #154                                   TUSTIN                CA       92780                                            First Class Mail
                                                8508828 Vargas, Aaron                            1443 Grayford Ct.                                                                                                                Houston               TX       77073                                            First Class Mail

                                                8509340 VARTANI, ARPI                            9437 VIA VENEZIA                                                                                                                 BURBANK               CA       91504-1244    bthoreson@buchalter.com            First Class Mail and Email
                                                8509432 VARTANI, ARPI                            SOOKASIAN LAW                           500 N CENTRAL AVE              Suite 740                                                 GLENDALE              CA       91203                                            First Class Mail

                                                8509019 VARTANYAN, HENRICK                       1156 Western Ave                        #E                                                                                       Glendale              CA       91201         lwlee@diversitylaw.com             First Class Mail and Email

                                                8508896 VARTANYAN, Henrick                       Glickman & Glickman                     9460 Wilshire Blvd.            Suite 330                                                 Beverly Hills         CA       90212         dhyun@hyunlegal.com                First Class Mail and Email

                                                8509034 Vasquez, Franklin                        1328 Castleguard Lane                                                                                                            Justin                TX       76247         bill@polarislawgroup.com           First Class Mail and Email

                                                8508829 Vasquez, Lorena                          9 West Allendale Avenue Fl 2                                                                                                     Allendale             NJ       07401         CJPetersen@BlankRome.com           First Class Mail and Email
                                                                                                                                                                                                                                                                               Bart.McLeavy@Kutak.Rock.com;
                                                8508881 Ventura Sano, Wander                     Law offices of Fiorella Rivas Demaria   18345 Ventura Blvd.            Suite 416                                                 Tarzana               CA       91356         Dwyer.Arce@KutackRock.com          First Class Mail and Email

                                                8509057 Vergara, Carmen                          2115 S Shelton St                                                                                                                Santa Ana             CA       92707         eric.johnson@kutakrock.com         First Class Mail and Email
                                                                                                 Law offices of Michael Majid                                                                                                                                                  whargens@mcgrathnorth.com;
                                                8508916 Vergara, Carmen                          Mojtahedi                               322 W. 3rd Street                                                                        Santa Ana             CA       92701         lgoodman@mcgrathnorth.com          First Class Mail and Email
                                                                                                                                                                                                                                                                               GBordo@BlankRome.com;
                                                8509305 VIALPANDO, MARISSA                       12840 BRITTANIA CT                                                                                                               MORENO VALLEY         CA       92553-1847    CJPetersen@BlankRome.com           First Class Mail and Email
                                                                                                                                                                                                                                                                               whargens@mcgrathnorth.com;
                                                8509160 VIALPANDO, MARISSA                       GOMEZ TRIAL LAWYERS                     ALLISON WORDEN                 655 W. BROADWAY                  SUITE 1700               SAN DIEGO             CA       92101         lgoodman@mcgrathnorth.com          First Class Mail and Email
                                                8509021 Villa, Juan                              11735 4th Ave                                                                                                                    Lynwood               CA       90262                                            First Class Mail

                                                                                                                                                                                                                                                                               david.laird@moyewhite.com;
                                                8508891 Villa, Juan                              Premier Justice Law                     155 N. Lake Avenue             Suite 800                                                 Pasadena              CA       91101         vika.chandrashekar@moyewhite.com   First Class Mail and Email
                                                                                                                                                                                                                                                                               msackel@shutts.com;
                                                8508830 Villacis, Brandon                        112 73Rd St                                                                                                                      North Bergen          NJ       07047         mmunoz@shutts.com                  First Class Mail and Email

                                                8509199 VILLEGAS, JAYDEN                         ROBER MILLER P.A.                       5915 PONCE DE LEON BLVD.       SUITE 212                                                 CORAL GABLES          FL       33146         christina@chumphreylaw.com         First Class Mail and Email
                                                8509079 Viviani, Greg                            32142 Virginia Way                                                                                                               Laguna Beach          CA       92651                                            First Class Mail
                                                8508941 Viviani, Greg                            Beljajev Law Group                      101 Main Street                Suite 1                                                   Seal Beach            CA       90740                                            First Class Mail

                                                8509347 WADA, KEVIN                              212 HUALI ST                            Apt 103                                                                                  HONOLULU              HI       96813-1859    contact.center@dfeh.ca.gov         First Class Mail and Email

                                                8509105 Walker, Michael                          561 Fisher Cir                                                                                                                   Folsom                CA       95630         laborcomm.wca.lao@dir.ca.gov       First Class Mail and Email

                                                8508938 Walker, Michael                          Phoong Law Corporation                  2725 Riverside Blvd                                                                      Sacramento            CA       95818         laborcomm.wca.vno@dir.ca.gov       First Class Mail and Email

                                                8509307   WALUYO, KORNELIUS                      2051 E AROMA DR                                                                                                                  WEST COVINA           CA       91791-4104    laborcomm.wca.lbo@dir.ca.gov       First Class Mail and Email
                                                8509175   WALUYO, KORNELIUS                      SHAFIR LAW                              313 N. BIRCH STREET            SUITE 100                                                 SANTA ANA             CA       92701                                            First Class Mail
                                                8508831   Wang, Henry                            903 Bear Lake Road                                                                                                               Apopka                FL       32703                                            First Class Mail
                                                8509308   WARD, SHELIAH                          4311 WILSHIRE BLVD                      # 308                                                                                    LOS ANGELES           CA       90010-3714                                       First Class Mail
                                                                                                 SAMUEL OGBOGU LAW
                                                8509174 WARD, SHELIAH                            CORPORATION                             4311 WILSHIRE BLVD.            SUITE 308                                                 LOS ANGELES           CA       90010                                            First Class Mail




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                                                                                                                                                                                                    Exhibit C
                                                                                                                                                                                        Civil Counterparties Service List
                                                                                                                                                                                           Served as set forth below

                                                MMLID                         Name                                   Address1                         Address2                         Address3                          Address4                   City    State   Postal Code                  Email                Method of Service

                                                8509056 Warnke, Erik                                   205 DE ANZA BLVD #74                                                                                                             San Mateo          CA       94402         laborcomm.wca.wca@dir.ca.gov    First Class Mail and Email

                                                8508971 Warnke, Erik                                   Vaziri Law Group                     5757 Wilshire Blvd.            Suite 670                                                    Los Angeles        CA       90036         aclefton@reincleftonlaw.com     First Class Mail and Email

                                                8509732 Wauson Probus                                  Attn: John Wesley Wauson             One Sugar Creek Center Blvd    Suite 880                                                    Sugarland          TX       77478         info@reincleftonlaw.com         First Class Mail and Email

                                                          Wendt Industries, Inc. dba Club Resource
                                                          Group; Vestar Properties, Inc., dba Vestar                                        Edward J. Riffle, Esq.; Bradley
                                                8509547   Kimco Santee LP, an Arizona corporation      Collins Collins Muir & Stewart LLP   D. Doucette. Esq.               1100 El Centro Street                                       South Pasadena     CA       91030                                         First Class Mail
                                                8508911   Whitacre, Nance                              Huperetes Legal Counsel              7824 West 109th PL.                                                                         Westminster        CO       80021                                         First Class Mail
                                                8509142   Whitacre, Nance                              PO Box 60181                                                                                                                     San Diego          CA       92166                                         First Class Mail
                                                8508832   White, Alana                                 4672 West 37Th Ave                                                                                                               Denver             CO       80212                                         First Class Mail
                                                                                                                                                                           8601 Lincoln Blvd 180, Suite
                                                8509506 White, Joshalyn                                Law Office of Michael S Traylor      Michael Traylor                525                                                          Los Angeles        CA       90045                                         First Class Mail

                                                8508768 Williams, Andre                                ANDRE WILLIAMS                       ANDRE WILLIAMS                 2113 OLD HICKORY TRL                                         DESOTO             TX       75115         gregory.hagen@wilsonelser.com   First Class Mail and Email

                                                8508762   Williams, Jessica                            Daniel L. Keller                     Keller, Fishback & Jackson LLP 28720 Canwood Street              Suite 200                  Agoura Hills       CA       91301                                         First Class Mail
                                                8509167   WILSON, DANIEL                               TIMIAN & FAWCETT                     JASON KISNER                   4301 GARDEN CITY DRIVE                                       HYATTSVILLE        MD       20785                                         First Class Mail
                                                8508780   Won Vision Inc                               Lawrence McGuinness                  MG Legal Group                 3126 Center St                                               Coconut Grove      FL       33133-4670                                    First Class Mail
                                                8509404   WOOD, CHARLES                                8335 BLUFFVIEW WAY                                                                                                               COLORADO SPRINGS   CO       80919-4501                                    First Class Mail
                                                8509094   Wu, Thomas                                   420 Pontius Ave N                    Apt 314                                                                                     Seattle            WA       98109                                         First Class Mail
                                                8508956   Wu, Thomas                                   Arrow Law Group                      12826 SE 40th Lane             Suite A11                                                    Bellevue           WA       98006                                         First Class Mail

                                                8508833   Wunderlich, Tyler                            10651 Eglantine Ct                                                                                                               San Diego          CA       92131         jgoldfarb@barthet.com           First Class Mail and Email
                                                8508993   Wunsche, Christpher                          Templer & Hirsch                     20801 Biscayne Blvd.           Suite 400                                                    Aventura           FL       33180                                         First Class Mail
                                                8508834   Wylde, Sean                                  1105 El Terraza Dr                                                                                                               La Habra Heights   CA       90631                                         First Class Mail
                                                8508835   Yamashita, Dave                              6208 54th Ave NE                                                                                                                 Seattle            WA       98115                                         First Class Mail

                                                8509310 YANG, KEVIN                                    1622 ALEGRO SQ                       Apt M                                                                                       SAN GABRIEL        CA       91776-3958    dennisp@potterhandy.com         First Class Mail and Email

                                                8509165 YANG, KEVIN                                    LAW OFFICES OF ADAM NGUYEN           9550 BOLSA AVENUE              UNIT 224                                                     WESTMINSTER        CA       92683         jpark@romeropark.com            First Class Mail and Email

                                                8509099 Yunatayev, Khayba                              4711 12th Ave                        Apt B2                                                                                      Brooklyn           NY       11219         fields@markfieldslaw.com        First Class Mail and Email

                                                8508899 yunatayev, Khayba                              Law office of Yuriy Prakhin, PC      1883 86th Street               2nd Floor                                                    Brooklyn           NY       11214         CReade@ReadeLawFirm.com         First Class Mail and Email
                                                8509338 ZEPEDA, MIRIAM                                 1355 IMPERIAL BEACH BLVD                                                                                                         IMPERIAL BEACH     CA       91932-3031                                    First Class Mail

                                                8509130 Zuleta, Veronica                               890 Douglas Ave                                                                                                                  Redwood City       CA       94063         HoustonIntake@EEOC.GOV          First Class Mail and Email

                                                8508961 Zuleta, Veronica                               Choi Law Firm                        26250 Industrial Blvd          Suite 44                                                     Hayward            CA       94545         dlm@danmcclainlaw.com           First Class Mail and Email




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                                                                                      Exhibit D
                                                                              Fee Application Service List
                                                                               Served as set forth below
       DESCRIPTION                                     NAME                            ADDRESS                                 EMAIL                 METHOD OF SERVICE
                                                                         Attn: Bankruptcy Dept
                                                                         Carvel State Office Bldg
                                                                         820 N French St 6th Fl
Delaware Attorney General          Delaware Attorney General             Wilmington DE 19801                   attorney.general@state.de.us       Email
                                                                         Attn: Bankruptcy Dept
                                                                         820 Silver Lake Blvd Ste 100
Delaware State Treasury            Delaware State Treasury               Dover DE 19904                        statetreasurer@state.de.us         First Class Mail and Email
                                                                         Centralized Insolvency Operation
                                                                         2970 Market St
                                                                         Mail Stop 5 Q30 133
IRS Insolvency Section             Internal Revenue Service              Philadelphia PA 19104-5016                                               First Class Mail
                                                                         Attn: Herb Baer
                                                                         One Grand Central Place
                                                                         60 East 42nd Street, Suite 1440       24hourfitnessteam@Primeclerk.com
Claims Agent                       Prime Clerk, LLC                      New York NY 10165                     serviceqa@primeclerk.com           Email




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                                                                                                                                                Exhibit E
                                                                                                                                         Adjusted Core Service List
                                                                                                                                         Served as set forth below


                                                          DESCRIPTION                                                          NAME                                              ADDRESS                                           EMAIL                METHOD OF SERVICE
                                                                                                                                                      Attn: Chad Timmons, Larry R. Boyd, Emily M. Hahn
                                                                                                                                                      1700 Redbud Blvd                                          ctimmons@abernathy-law.com
                                                                                                                                                      Ste 300                                                   bankruptcy@abernathy-law.com
Counsel to Collin County Tax Assessor/Collector                                                            Abernathy, Roeder, Boyd & Hullett, P.C.    McKinney TX 75069                                         ehahn@abernathy-law.com             Email on 10/23/2020
                                                                                                                                                      Attn: Roger K. Adams
                                                                                                                                                      4155 E. Jewell Ave.
                                                                                                                                                      Suite 612
Counsel to Diane Mueller                                                                                   Adams Law Firm, LLC                        Denver CO 80222                                           rogerkadams@rka-law.com             Email on 10/23/2020
Counsel to Weingarten Realty Investors, Weingarten Nostat, Inc., WRI West Gate South, L.P., WRI                                                       Attn: Ivan M. Gold
Southern Industrial Pool, LLC, Mercury TIC, LLC, SIC-Lakeside Drive, LLC, W/GL Ocean Avenue LB Holdings                                               Three Embarcadero Center
VII, LLC, OTR, an Ohio general partnership, CLPF Gateway Towne Center LP, 100 California Street LLC, and   Allen Matkins Leck Gamble Mallory & Natsis 12th Floor
Triangle Center, LLC                                                                                       LLP                                        San Francisco CA 94111-4074                               igold@allenmatkins.com              Email on 10/23/2020
                                                                                                                                                      Attn: Annie Y. Stoops
                                                                                                                                                      555 West Fifth Street
                                                                                                                                                      48th Floor
Counsel to Los Altos School District                                                                       Arent Fox, LLC                             Los Angeles CA 90013                                      annie.stoops@arentfox.com           Email on 10/23/2020
                                                                                                                                                      Attn: Matthew P. Austria
                                                                                                                                                      1007 N. Orange Street
                                                                                                                                                      4th Floor
Counsel to Diane Mueller                                                                                   Austria Legal, LLC                         Wilmington DE 19801                                       maustria@austriallc.com             Email on 10/23/2020
                                                                                                                                                      Attn: Scott D. Mayer
Counsel to AVG Partners GP; AVG Partners I, LLC; AVG Austin, LP; AVG Chula Vista, LLC; AVG Laguna LLC;                                                9595 Wilshire Blvd.
AVG Oakland, LLC; AVG Cypress LP; SW3LH, LLC; Builders Associates #3 (Rockwall); Arnold & Sheri                                                       Suite 700
Schlesinger; Builders Associates #3, LLC; Peak Holdings, LLC; AG Upland, LLC; AVG Puyallup, LLC            AVG Partners                               Beverly Hills CA 90212                                    sdmayer@avgpartners.com             Email on 10/23/2020
                                                                                                                                                      Attn: Craig Solomon Ganz, Katherine E. Anderson Sanchez
                                                                                                                                                      1 E. Washington Street, Suite 2300                        ganzc@ballardspahr.com
Counsel to Seven Hills Properties 31, LLC                                                                  Ballard Spahr LLP                          Phoenix AZ 85004                                          andersonsanchezk@ballardspahr.com   Email on 10/23/2020
Counsel to Centennial Real Estate Company, LLC,
Citivest Commercial Investments, LLC, GS Pacific                                                                                                         Attn: Dustin P. Branch, Esq.
ER, LLC, Houston Willowbrook LLC, PGIM Real                                                                                                              2029 Century Park East
Estate, Starwood Retail Partners, LLC and The                                                                                                            Suite 800
Macerich Company                                                                                           Ballard Spahr LLP                             Los Angeles CA 90067-2909                              branchd@ballardspahr.com            Email on 10/23/2020

Counsel to Seven Hills Properties 31, LLC, Brixmor Operating Partnership LP, Federal Realty Investment
Trust, Centennial Real Estate Company, LLC, Citivest Commercial Investments, LLC, GS Pacific
ER, LLC, Houston Willowbrook LLC, PGIM Real
Estate, Starwood Retail Partners, LLC and The
Macerich Company, Weingarten Realty Investors, Weingarten Nostat, Inc., WRI West Gate South, L.P., WRI
Southern Industrial Pool, LLC, Mercury TIC, LLC, SIC-Lakeside Drive, LLC, W/GL Ocean Avenue LB Holdings                                              Attn: Leslie C. Heilman, Laurel D. Roglen
VII, LLC, OTR, an Ohio general partnership, CLPF Gateway Towne Center LP, 100 California Street LLC, and                                             919 N. Market Street, 11th Floor                           heilmanl@ballardspahr.com
Triangle Center, LLC                                                                                     Ballard Spahr LLP                           Wilmington DE 19801-3034                                   roglenl@ballardspahr.com            Email on 10/23/2020
                                                                                                                                                     Attn: William J.Barrett
                                                                                                                                                     200 West Madison Street
                                                                                                           Barack Ferrazzano Kirschbaum & Nagelberg Suite 3900
Counsel to Terramar Retail Centers, LLC                                                                    LLP                                       Chicago IL 60606                                           william.barrett@bfkn.com            Email on 10/23/2020
                                                                                                                                                     Attn: Niclas A. Ferland, Esq., Ilan Markus, Esq
                                                                                                                                                     545 Long Wharf Drive
                                                                                                                                                     9th Floor                                                  nferland@barclaydamon.com
Westfield, LLC and its affiliates                                                                          Barclay Damon LLP                         New Haven CT 06511                                         imarkus@barclaydamon.com            Email on 10/23/2020
                                                                                                                                                     Attn: Scott L. Fleischer
                                                                                                                                                     1270 Avenue of the Americas
                                                                                                                                                     Suite 501
Westfield, LLC and its affiliates                                                                          Barclay Damon LLP                         New York NY 10020                                          sfleischer@barclaydamon.com         Email on 10/23/2020
                                                                                                                                                     Attn: Michael J. Barrie, Kevin M. Capuzzi
                                                                                                                                                     1313 North Market Street, Suite 1201                       mbarrie@beneschlaw.com
Counsel to RNB Partners, LLC                                                                               Benesch Friedlander, Coplan & Aronoff LLP Wilmington DE 19801                                        kcapuzzi@beneschlaw.com             Email on 10/23/2020
                                                                                                                                                     Attn: Ernie Zachary Park
                                                                                                                                                     13215 E. Penn St., Suite 510
Counsel to Spring Shopping Center LLC, Irvine Spectrum Center LLC, a Delaware limited liability company    Bewley, Lassleben & Miller, LLP           Whittier CA 90602                                          ernie.park@bewleylaw.com            Email on 10/23/2020




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                                                                                                               Case 20-11558-KBO          Doc 1120       Filed 10/23/20    Page 32 of 57




                                                                                                                                                 Exhibit E
                                                                                                                                         Adjusted Core Service List
                                                                                                                                         Served as set forth below


                                                         DESCRIPTION                                                         NAME                                                   ADDRESS                                  EMAIL                        METHOD OF SERVICE
                                                                                                                                                         Attn: David M. Klauder, Esquire
                                                                                                                                                         1204 N. King Street
Counsel to Kellermeyer Bergensons Services, LLC                                                          Bielli & Klauder, LLC                           Wilmington DE 19801                           dklauder@bk-legal.com                         Email on 10/23/2020
                                                                                                                                                         Attn: Jeffrey Rhodes
                                                                                                                                                         1825 Eye Street NW
Counsel to Kin Properties, Inc. and Masue LLC                                                            Blank Rome LLP                                  Washington DC 20006                           jrhodes@blankrome.com                         Email on 10/23/2020
Counsel to AVG Partners GP; AVG Partners I, LLC; AVG Austin, LP; AVG Chula Vista, LLC; AVG Laguna LLC;
AVG Oakland, LLC; AVG Cypress LP; SW3LH, LLC; Builders Associates #3 (Rockwall); Arnold & Sheri                                                          Attn: Victoria A. Guilfoyle & Bryan J. Hall
Schlesinger; Builders Associates #3, LLC; Peak Holdings, LLC; AG Upland, LLC; AVG Puyallup, LLC, Kin                                                     1201 N. Market Street
Properties, Inc. and                                                                                                                                     Suite 800                                     guilfoyle@blankrome.com
Masue LLC                                                                                                Blank Rome LLP                                  Wilmington DE 19801                           bhall@blankrome.com                           Email on 10/23/2020
                                                                                                                                                         Attn: Kristen N. Pate, Julie Minnick Bowden
                                                                                                                                                         350 N. Orleans Street, Suite 300              bk@brookfieldpropertiesretail.com
Counsel to Brookfield Properties Retail, Inc. as Agent                                                   Brookfield Properties Retail, Inc.              Chicago IL 60654-1607                         julie.bowden@brookfieldpropertiesretail.com   Email on 10/23/2020
                                                                                                                                                         Attn: Andrew J. Meyers
                                                                                                                                                         Governmental Center, Suite 423
                                                                                                                                                         115 South Andrews Avenue
Counsel to Broward County, Florida                                                                       Broward County Attorney                         Fort Launderdale FL 33301                     sandron@broward.org                           Email on 10/23/2020
                                                                                                                                                         Attn: Jeffrey K. Garfinkle
                                                                                                                                                         18400 Von Karman Avenue, Suite 800
Counsel to 507 Northgate LLC                                                                             Buchalter, a Professional Corporation           Irvine CA 92612                               jgarfinkle@buchalter.com                      Email on 10/23/2020
                                                                                                                                                         Attn: Shawn M. Christianson
                                                                                                                                                         55 Second Street, 17th Floor
Counsel to Oracle America, Inc.                                                                          Buchalter, a Professional Corporation           San Francisco CA 94105-3493                   schristianson@buchalter.com                   Email on 10/23/2020
                                                                                                                                                         Attn: Mary F. Caloway
                                                                                                                                                         919 North Market Street
                                                                                                                                                         Suite 990
Counsel to CentiMark Corporation                                                                         Buchanan Ingersoll & Rooney PC                  Wilmington DE 19801                           mary.caloway@bipc.com                         Email on 10/23/2020
                                                                                                                                                         Attn: Timothy P. Palmer
                                                                                                                                                         501 Grant Street
                                                                                                                                                         Suite 200
Counsel to CentiMark Corporation                                                                         Buchanan Ingersoll & Rooney PC                  Pittsburgh PA 15219                           timothy.palmer@bipc.com                       Email on 10/23/2020
                                                                                                                                                         Attn: Bankruptcy Division
                                                                                                                                                         PO Box 20207
TN Dept of Labor - Bureau of Unemployment Insurance                                                      c/o TN Attorney General's Office                Nashville TN 37202-0207                                                                     First Class Mail on 10/20/2020
                                                                                                                                                         Attn: Aaron R. Cahn
                                                                                                                                                         2 Wall Street
Counsel to Evelyn Wells, Trustee u/w/o Fred Straus, 231st SRS, LLC and 231st CGS, LLC                    Carter Ledyard & Milburn LLP                    New York NY 10005-2072                        bankruptcy@clm.com                            Email on 10/23/2020
                                                                                                                                                         Attn: Alan J. Lipkin
Counsel to 24 HR – TX (TX) Limited Partnership;                                                                                                          1700 Broadway
FIT (TX) LP; SF (TX) LP; FIT (CO) QRS 15-59, INC.;                                                                                                       33rd Floor
AND FIT (UT) QRS 14-92, INC.                                                                             Chaffetz Lindsey LLP                            New York NY 10019                             a.lipkin@chaffetzlindsey.com                  Email on 10/23/2020
                                                                                                                                                         Attn: David M. Blau, Esq.
                                                                                                                                                         151 S. Old Woodward Ave
                                                                                                                                                         Ste. 200
Counsel to Santan Gem, LLC                                                                               Clark Hill PLC                                  Birmingham MI 48009                           dblau@clarkhill.com                           Email on 10/23/2020
                                                                                                                                                         Attn: Karen M. Grivner, Esq.
                                                                                                                                                         824 N. Market St.
                                                                                                                                                         Ste. 710
Counsel to Santan Gem, LLC                                                                               Clark Hill PLC                                  Wilmington DE 19801                           kgrivner@clarkhill.com                        Email on 10/23/2020
                                                                                                                                                         Attn: Patrick J. Reilley
                                                                                                                                                         500 Delaware Avenue
                                                                                                                                                         Suite 1410
Counsel to Seritage SRC Finance LLC                                                                      Cole Schotz P.C.                                Wilmington DE 19801                           preilley@coleschotz.com                       Email on 10/23/2020
                                                                                                                                                         Attn: Ryan T. Jareck
                                                                                                                                                         Court Plaza North
                                                                                                                                                         25 Main Street
Counsel to Seritage SRC Finance LLC                                                                      Cole Schotz P.C.                                Hackensack NJ 07601-                          rjareck@coleschotz.com                        Email on 10/23/2020




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                                                                             Case 20-11558-KBO         Doc 1120       Filed 10/23/20   Page 33 of 57




                                                                                                             Exhibit E
                                                                                                      Adjusted Core Service List
                                                                                                      Served as set forth below


                                                         DESCRIPTION                      NAME                                                      ADDRESS                                             EMAIL             METHOD OF SERVICE
                                                                                                                      Attn: Edward J. Riffle, Esq., Bradley D. Doucette, Esq.
                                                                                                                      1100 El Centro Street                                       eriffle@ccmslaw.com
Counsel to Wedt Industries, Inc. dba Club Resources Group              Collins Collins Muir + Stewart LLP             South Pasadena CA 91030                                     bdoucette@ccmslaw.com              Email on 10/23/2020
                                                                                                                      Attn: Karen C. Bifferato & Kelly M. Conlan
                                                                                                                      1201 N. Market Street
                                                                                                                      20th Floor                                                  kbifferato@connollygallagher.com
Counsel to RPAI Lakewood, LLC                                          Connolly Gallagher LLP                         Wilmington DE 19801                                         kconlan@connollygallagher.com      Email on 10/23/2020
                                                                                                                      Attn: Cathy Hershcopf, Michael Klein, Lauren A. Reichardt   chershcopf@cooley.com
                                                                                                                      55 Hudson Yards                                             mklein@cooley.com
Official Committee of Unsecured Creditors                              Cooley LLP                                     New York NY 10001                                           lreichardt@cooley.com              Email on 10/23/2020
                                                                                                                      Attn: Cullen D. Speckhardt, Olya Antle
                                                                                                                      1299 Pennsylvania Avenue, NW                                cspeckhart@cooley.com
Official Committee of Unsecured Creditors                              Cooley LLP                                     Washington DC 20004                                         oantle@cooley.com                  Email on 10/23/2020
                                                                                                                      Attn: Ronald Hewitt, Martin E. Beeler, Todd A. Mortensen,   rhewitt@cov.com
                                                                                                                      Gabriella B. Zahn-Bielski                                   mbeeler@cov.com
                                                                                                                      620 Eighth Avenue                                           tmortensen@cov.com
Counsel to DIP Agent, Wilmington Trust, National Association, USOPC    Covington & Burling LLP                        New York NY 10018                                           gzahnbielski@cov.com               First Class Mail and Email
                                                                                                                      Attn: Thomas J. Francella, Jr.
                                                                                                                      1201 N. Market Street
                                                                                                                      Suite 1001
Counsel to LaSalle, LP, AAP Trust, and AV Now, Inc.                    Cozen O'Connor                                 Wilmington DE 19801                                         tfrancella@cozen.com               Email on 10/23/2020
                                                                                                                      Attn: Mette H. Kurth
                                                                                                                      4023 Kennett Pike #165
Counsel to Pine Castle, N.V                                            Culhane Meadows PLLC                           Wilmington DE 19807                                         mkurth@cm.law                      Email on 10/23/2020
                                                                                                                      Attn: Bankruptcy Dept
                                                                                                                      Carvel State Office Bldg
                                                                                                                      820 N French St 6th Fl
Delaware Attorney General                                              Delaware Attorney General                      Wilmington DE 19801                                         attorney.general@state.de.us       Email on 10/23/2020
                                                                                                                      Zillah Frampton
                                                                                                                      820 N French St
Delaware Division of Revenue                                           Delaware Division of Revenue                   Wilmington DE 19801                                         FASNotify@state.de.us              First Class Mail and Email
                                                                                                                      Corporations Franchise Tax
                                                                                                                      PO Box 898
Delaware Secretary of State                                            Delaware Secretary of State                    Dover DE 19903                                              dosdoc_Ftax@state.de.us            First Class Mail and Email
                                                                                                                      Attn: Bankruptcy Dept
                                                                                                                      820 Silver Lake Blvd Ste 100
Delaware State Treasury                                                Delaware State Treasury                        Dover DE 19904                                              statetreasurer@state.de.us         First Class Mail and Email
                                                                                                                      Attn: Ronald D. Dessy, Fawn Kennedy Dessy
                                                                                                                      1301 L Street
Counsel to Olive Drive Partners                                        Dessy & Dessy, a Professional Corporation      Bakersfield CA 93301                                        Dessylaw@aol.com                   First Class Mail and Email
                                                                                                                      Attn: Jarret P. Hitchings
                                                                                                                      222 Delaware Avenue
                                                                                                                      Suite 1600
Counsel to US VI Downey, LLC                                           Duane Morris LLP                               Wilmington DE 19801-1659                                    jphitchings@duanemorris.com        Email on 10/23/2020
                                                                                                                      Attn: Steven E. Lewis
                                                                                                                      230 Park Avenue, 21st Floor
Counsel to Epsilon Agency LLC                                          Dunnington, Bartholow & Miller LLP             New York NY 10169                                           slewis@dunnington.com              Email on 10/23/2020
                                                                                                                      Attn: Bankruptcy Dept
                                                                                                                      1650 Arch Street
Environmental Protection Agency - Region 3                             Environmental Protection Agency                Philadelphia PA 19103-2029                                                                     First Class Mail on 10/20/2020
                                                                                                                      c/o Byron Z. Moldo
                                                                                                                      9401 Wilshire Boulevard
                                                                                                                      9th Floor
Counsel to Copperwood Square IA, LLC,                                  Ervin Cohen & Jessup LLP                       Beverly Hills CA 90212                                      bmoldo@ecjlaw.com                  Email on 10/23/2020
                                                                                                                      Attn: Joseph D. Frank, Jeremy C. Kleinman
                                                                                                                      1327 W. Washington Blvd., Suite 5 G-H                       jfrank@fgllp.com
Counsel to PepsiCo, Inc.                                               FrankGecker LLP                                Chicago IL 60607                                            jkleinman@fgllp.com                Email on 10/23/2020




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                                                                                                                                                    Exhibit E
                                                                                                                                             Adjusted Core Service List
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                                                         DESCRIPTION                                                          NAME                                                       ADDRESS                                          EMAIL          METHOD OF SERVICE
                                                                                                                                                             Attn: Ronald E. Gold, A.J. Webb
                                                                                                                                                             3300 Great American Tower
                                                                                                                                                             301 East Fourth Street                                  rgold@fbtlaw.com
Counsel to Washington Prime Group Inc.                                                                     Frost Brown Todd LLC                              Cincinnati OH 45202                                     awebb@fbtlaw.com                Email on 10/23/2020
                                                                                                                                                             Attn: David W. deBruin
                                                                                                                                                             3711 Kennett Pike
Attorney for CAPLOW DENVER, LLC, a California limited liability company; and DENVER EXCHANGE, LLC, a                                                         Suite 100
California limited liability company d/b/a DENVER EXCHANGE I, LLC                                          Gawthrop Greenwood, PC                            Wilmington DE 19807                                     ddebruin@gawthrop.com           Email on 10/23/2020
                                                                                                                                                             Attn: Michael Busenkell, Amy Brown
                                                                                                                                                             1201 N. Orange St.
                                                                                                                                                             Suite 300                                               mbusenkell@gsbblaw.com
Counsel to OB Frank Properties, LLC, Cal Select Builders                                                   Gellert Scali Busenkell & Brown, LLC              Wilmington DE 19801                                     abrown@gsbblaw.com              Email on 10/23/2020
                                                                                                                                                             Attn: Kumar Bhavanasi
                                                                                                                                                             551 S. Washington Ave., Ste. 402A
Top 30 Unsecured Creditors                                                                                 Geneva Crossing Carol Stream IL LLC               Piscataway NJ 08554                                     kumar.bhavanasi@first-tek.com   Email on 10/23/2020
                                                                                                                                                             Attn: Howard A. Cohen
                                                                                                                                                             300 Delaware Avenue, Suite 1015
Counsel to Hanover 3201 Realty L.L.C.                                                                      Gibbons P.C.                                      Wilmington DE 19801-1761                                hcohen@gibbonslaw.com           Email on 10/23/2020
                                                                                                                                                             Attn: Mark Conlan
                                                                                                                                                             One Gateway Center
Counsel to Hanover 3201 Realty L.L.C.                                                                      Gibbons P.C.                                      Newark NJ 07102-5310                                    mconlan@gibbonslaw.com          Email on 10/23/2020
                                                                                                                                                             Attn: Lawrence M. Jacobson
                                                                                                                                                             8383 Wilshire Boulevard
                                                                                                                                                             Suite 408
Counsel to Creditor and Interested Party 525 Colorado LLC                                                  Glickfeld, Fields & Jacobson LLP                  Beverly Hills CA 90211                                  lmj@gfjlawfirm.com              Email on 10/23/2020

Counsel to RU Old Denton Road Fort Worth TX, LLC                                                                                                             Attn: Marc C. Forsythe
which is a subsidiary of BRIX REIT, INC., RU Rainbow Blvd Las Vegas, NV, LLC which is a subsidiary of RW                                                     18101 Von Karman, Suite 1200
Holdings NNN REIT Operating Partnership, LP, a subsidiary of RW Holdings NNN REIT., Inc.                   Goe Forsythe & Hodges LLP                         Irvine CA 92612                                         mforsythe@goeforlaw.com         Email on 10/23/2020
                                                                                                                                                             Attn: Douglas B. Rosner, Esq., Vanessa P. Moody, Esq.
Counsel HUH/DI OCP Cinque Terre, LLC, BP/CGCENTER II, LLC, and CA-Santa Monica Business Park Limited                                                         400 Atlantic Avenue                                     drosner@goulstonstorrs.com
Partnership                                                                                          Goulston & Storrs PC                                    Boston MA 02110-3333                                    vmoody@goulstonstorrs.com       Email on 10/23/2020
                                                                                                                                                             Attn: David M. Guess
                                                                                                                                                             18565 Jamboree Road
                                                                                                                                                             Suite 500
Counsel to MGP XI Ballinger, LLC, MGP Fund X Laguna Hills, LLC, and MGP XI-GPI Laurel Plaza, LLC           Greenberg Traurig, LLP                            Irvine CA 92612                                         guessd@gtlaw.com                Email on 10/23/2020
                                                                                                                                                             Attn: Dennis A. Meloro
Counsel to MGP XI Ballinger, LLC, MGP Fund X Laguna Hills, LLC, and MGP XI-GPI Laurel Plaza, LLC           Greenberg Traurig, LLP                            1007 North Orange Street                                melorod@gtlaw.com               Email on 10/23/2020
                                                                                                                                                             Attn: Peter D. Kieselbach
                                                                                                                                                             90 South Seventh Street
                                                                                                                                                             Suite 3500
Counsel to MGP XI Ballinger, LLC, MGP Fund X Laguna Hills, LLC, and MGP XI-GPI Laurel Plaza, LLC           Greenberg Traurig, LLP                            Minneapolis MN 55402                                    kieselbachp@gtlaw.com           Email on 10/23/2020
                                                                                                                                                             Attn: Jeffrey A. Krieger
                                                                                                           Greenberg, Glusker, Fields, Claman &              2049 Century Park East, Suite 2600
Counsel to SR19 Mark II Portfolio, LLC and Arka Miramar II, L.P. and Pacifica Real Estate III, LLC         Machtinger LLP                                    Los Angeles CA 90067                                    JKrieger@ggfirm.com             Email on 10/23/2020
                                                                                                                                                             Attn: Bernard S. Greenfield, Edward T. Colbert
                                                                                                                                                             55 S. Market Street, Suite 1500                         bgreenfield@greenfieldlaw.com
Counsel to LaSalle, LP and AAP Trust                                                                       Greenfield LLP                                    San Jose CA 95113                                       ecolbert@greenfieldlaw.com      Email on 10/23/2020
                                                                                                                                                             Attn: Jason S. Nunnermacker
                                                                                                                                                             365 West Passaic Street, Suite 130
Counsel to Custom Locations, LLC                                                                           Guaglardi & Meliti, LLP                           Rochelle Park NJ 07662                                  jnunnermacker@adgmlaw.com       Email on 10/23/2020
                                                                                                                                                             Attn: Donna H. Lieberman, Esquire
                                                                                                                                                             40 Wall Street, 37th Floor
Counsel to Kellermeyer Bergensons Services, LLC                                                            Halperin Battaglia Benzija, LLP                   New York NY 10005                                       dlieberman@halperinlaw.net      Email on 10/23/2020
                                                                                                                                                             Attn: Nancy J. Newman, Jordan A. Lavinsky
                                                                                                                                                             425 Market Street
                                                                                                                                                             26th Floor                                              nnewman@hansonbridgett.com
Counsel to ACRE Investment Company, LLC, Marin Country Mart, LLC                                           Hanson Bridgett LLP                               San Franciso CA 94105                                   jlavinsky@hansonbridgett.com    Email on 10/23/2020




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                                                                                                                                               Exhibit E
                                                                                                                                        Adjusted Core Service List
                                                                                                                                        Served as set forth below


                                                         DESCRIPTION                                                           NAME                                                   ADDRESS                                                   EMAIL                     METHOD OF SERVICE
                                                                                                                                                        Attn: Carly M. Newman, Esq.
                                                                                                                                                        830 Lucerne Terrace
Counsel to Greenway Electrical Services, LLC                                                               Hayes & Newman, Pl                           Orlando FL 32801                                                    cnewman@const-law.com                    Email on 10/23/2020
                                                                                                                                                        Attn: Kevin S. Wiley, Jr., Rebecca A. Hicks
                                                                                                                                                        325 N. St. Paul St.                                                 KWiley@HicksLawGroup.com
Counsel to Kruger Litle d/b/a TCS Plumbing                                                                 Hicks Law Group PLLC                         Dallas TX 75201                                                     RHicks@HicksLawGroup.com                 Email on 10/23/2020
                                                                                                                                                        Attn: Daniel C. Kerrick
                                                                                                                                                        1311 Delaware Avenue
Counsel to U.S. Electrical Services, Inc. d/b/a Wiedenbach-Brown Co., Inc.                                 Hogan McDaniel                               Wilmington DE 19806                                                 dckerrick@dkhogan.com                    Email on 10/23/2020
                                                                                                                                                        Attn: Barbra R. Parlin
                                                                                                                                                        31 West 52nd Street
Counsel to TR Wateridge LLC                                                                                Holland & Knight LLP                         New York NY 10019                                                   barbra.parlin@hklaw.com                  Email on 10/23/2020
                                                                                                                                                        Attn: Lawrence A. Lichtman
                                                                                                                                                        2290 First National Building
                                                                                                                                                        660 Woodward Avenue
Counsel to Agree Littleton CO LLC, assignee of Denver Oaks, LP, 1830-1850 Ocean Avenue LLC                 Honigman LLP                                 Detriot MI 48226                                                    llichtman@honigman.com                   Email on 10/23/2020
                                                                                                                                                        Attn: Gregory Scott Hoover
                                                                                                                                                        1805 - 136th Place NE #203
Counsel to POYUAN LU                                                                                       Hoover Law Group, PLLC                       Bellevue WA 98005                                                   greg@gshlaw.net                          Email on 10/23/2020
                                                                                                                                                        Attn: Jay Michael Ross, Monique D. Jewett-Brewster, Stephen J.      jross@hopkinscarley.com
                                                                                                                                                        Kottmeier, Liam O'Connor                                            mjb@hopkinscarley.com
Counsel to Columbus Avenue II, LLC, Croactive Property Group, Inc., 93 Bovet Lease Partners, LLC, and                                                   70 S First Street                                                   sjk@hopkinscarley.com
Pacific Bay Masonry, Inc.                                                                                  Hopkins & Carley                             San Jose CA 95113-2406                                              loconnor@hopkinscarley.com               Email on 10/23/2020
                                                                                                                                                        Attn: Claudio E. Iannitelli
                                                                                                                                                        5353 North 16th Street
                                                                                                                                                        Suite 315
Counsel to OUTFRONT Media LLC                                                                              Iannitelli Marcolini, P.C.                   Phoenix AZ 85016                                                    cei@imlawpc.com                          Email on 10/23/2020
                                                                                                                                                        Centralized Insolvency Operation
                                                                                                                                                        2970 Market St
                                                                                                                                                        Mail Stop 5 Q30 133
IRS Insolvency Section                                                                                     Internal Revenue Service                     Philadelphia PA 19104-5016                                                                                   First Class Mail on 10/20/2020
                                                                                                                                                        Centralized Insolvency Operation
                                                                                                                                                        PO Box 7346
IRS Insolvency Section                                                                                     Internal Revenue Service                     Philadelphia PA 19101-7346                                                                                   First Class Mail on 10/20/2020
                                                                                                                                                        Attn: "J" Jackson Shrum
Counsel to Columbus Avenue II, LLC, Croactive Property Group, Inc., Marsau Enterprises, Inc, Pacific Bay                                                919 N. Market Street, Suite 1410
Masonry, Inc.                                                                                              Jack Shrum, PA                               Wilmington DE 19801                                                 jshrum@jshrumlaw.com                     Email on 10/23/2020
                                                                                                                                                        Attn: Jeffrey M. Hawkinson
                                                                                                                                                        801 Second Avenue, Suite 700
Counsel to Bellevue Pacific, LLC                                                                           Jameson Pepple Cantu PLLC                    Seattle WA 98104                                                    jhawkinson@jpclaw.com                    Email on 10/23/2020
                                                                                                                                                        1125 Lexington Avenue
                                                                                                                                                        Apt 5D
Interested Party                                                                                           Jayne Malkenson RN                           New York NY 10075                                                   jayne1125@aol.com                        Email on 10/23/2020
                                                                                                                                                        Attn: John E. Mitchell, Esq., Yelena E. Archiyan, Esq.
                                                                                                                                                        2121 North Pearl Street
                                                                                                                                                        Suite 1100                                                          john.mitchell@katten.com
Counsel to Spirit Master Funding X and Spirit CC Aurora, LLC                                               Katten Muchin Rosenman LLP                   Dallas TX 75201                                                     yelena.archiyan@katten.com               Email on 10/23/2020
                                                                                                                                                        Attn: Tobias S. Keller, Esq., Berry D. Spears, Esq.,David Taylor,
                                                                                                                                                        Esq.
Counsel to AVG Partners GP; AVG Partners I, LLC; AVG Austin, LP; AVG Chula Vista, LLC; AVG Laguna LLC;                                                  650 California Street                                               tkeller@kbkllp.com
AVG Oakland, LLC; AVG Cypress LP; SW3LH, LLC; Builders Associates #3 (Rockwall); Arnold & Sheri                                                         Suite 1900                                                          bspears@kbkllp.com
Schlesinger; Builders Associates #3, LLC; Peak Holdings, LLC; AG Upland, LLC; AVG Puyallup, LLC            Keller Benvenutti Kim LLP                    San Francisco CA 94108                                              dtaylor@kbkllp.com                       Email on 10/23/2020
Counsel to Basser-Kaufman, Inc., Brookfield Property                                                                                                    Attn: Robert L. LeHane & Jennifer D. Raviele                        KDWBankruptcyDepartment@kelleydrye.com
REIT Inc., Regency Centers L.P., SITE Centers Corp.                                                                                                     101 Park Avenue                                                     rlehane@kelleydrye.com
and Woodmont Properties, Inc.                                                                              Kelley Drye & Warren LLP                     New York NY 10178                                                   jraviele@kelleydrye.com                  Email on 10/23/2020
                                                                                                                                                        Attn: Bankruptcy Division
                                                                                                                                                        c/o Linda Delgao
                                                                                                           Kern County Treasurer and Tax Collector      PO Box 579
Kern County Treasurer and Tax Collector Office                                                             Office                                       Bakersfield CA 93302-0579                                           bankruptcy@kerncounty.com                First Class Mail and Email




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                                                                                                                                               Exhibit E
                                                                                                                                        Adjusted Core Service List
                                                                                                                                        Served as set forth below


                                                         DESCRIPTION                                                      NAME                                                       ADDRESS                                                  EMAIL             METHOD OF SERVICE
                                                                                                                                                        Attn: Raymond H. Lemisch
                                                                                                                                                        919 N. Market Street
                                                                                                                                                        Suite 1000
Counsel to 525 Colorado LLC                                                                            Klehr Harrison Harvey Branzburg LLP              Wilmington DE 19801-3062                                         rlemisch@klehr.com                 Email on 10/23/2020
                                                                                                                                                        Attn: Raymond M. Patella
                                                                                                                                                        675 Morris Ave
                                                                                                                                                        3rd Floor
Counsel to Axiom DR Construction LLC d/b/a Axiom Construction LLC                                      Kraemer Burns, P.A.                              Springfield NJ 07081                                             rpatella@kraemerburns.com          Email on 10/23/2020
                                                                                                                                                        Attn: Jeffrey Kurtzman, Esquire
                                                                                                                                                        401 S. 2nd Street
                                                                                                                                                        Suite 200
Counsel to BT Carrolton, LP                                                                            Kurtzman Steady, LLC                             Philadelphia PA 19147                                            kurtzman@kurtzmansteady.com        Email on 10/23/2020
                                                                                                                                                        Attn: Alfred Xue, Esq
                                                                                                                                                        885 3rd Ave
Counsel to First Agent                                                                                 Latham & Watkins LLP                             New York NY 10022                                                AlfredXue@lw.com                   Email on 10/23/2020
                                                                                                                                                        Attn: Richard A. Levy & James Ktsanes
                                                                                                                                                        330 North Wabash Avenue
                                                                                                                                                        Suite 2800
Counsel to Morgan Stanley Senior Funding, Inc., as Administrative Agent and Collateral Agent           Latham & Watkins LLP                             Chicago IL 60611                                                 james.ktsanes@lw.com               Email on 10/23/2020
                                                                                                                                                        Attn: Corey E. Taylor
                                                                                                                                                        629 Camino de Los Mares
                                                                                                                                                        Suite 305
Counsel to PCW Properties, LLC                                                                         Law Office of Corey E. Taylor                    San Clemente CA 92673                                            corey@taylorlawoc.com              Email on 10/23/2020
                                                                                                                                                        Attn: Steven L. Bryson
                                                                                                                                                        11150 W. Olympic Blvd., Ste. 1120
Counsel to Schedule of Creditors                                                                       Law Office of Steven L. Bryson                   Los Angeles CA 90064                                             Office@SteveBryson.com             Email on 10/23/2020
                                                                                                                                                        Attn: Susan E. Kaufman, Esq.
                                                                                                                                                        919 N. Market Street
Attorney for the Taubman Landlords, Westfield, LLC and its affiliates, Marin Country Mart, LLC, ACRE                                                    Suite 460
Investment Company, LLC                                                                                Law Office of Susan E. Kaufman, LLC              Wilmington DE 19801                                              skaufman@skaufmanlaw.com           Email on 10/23/2020
                                                                                                                                                        Attn: William P. Fennell
                                                                                                                                                        600 West Broadway
                                                                                                                                                        Ste 930
Counsel to 5 Point Partners LP, a California Limited Partnership                                       Law Office of William P. Fennell, APLC           San Diego CA 92101                                               william.fennell@fennelllaw.com     Email on 10/23/2020
                                                                                                                                                        Attn: William P. Fennell, Melissa A. Blackburn Joniaux, Yosina
                                                                                                                                                        M. Lissebeck
                                                                                                                                                        600 West Broadway                                                william.fennell@fennelllaw.com
                                                                                                                                                        Suite 930                                                        mblackburnjoniaux@fennelllaw.com
Counsel to 5 Points Partners LP                                                                        Law Office of William P. Fennell, APLC           San Diego CA 92101                                               yosina.lissebeck@fennelllaw.com    Email on 10/23/2020
                                                                                                                                                        Attn: Kevin S. Neiman
                                                                                                                                                        999 18th Street
                                                                                                                                                        Suite 1230 S
Counsel to US VI Downey, LLC                                                                           Law Offices of Kevin S. Neiman, PC               Denver CO 80202                                                  kevin@ksnpc.com                    Email on 10/23/2020
                                                                                                                                                        Attn: Ronald K. Brown, Jr.
                                                                                                                                                        901 Dove Street, Suite 120
Counsel to Newkoa, LLC                                                                                 Law Offices of Ronald K. Brown, Jr.              Newport Beach CA 92660                                           Ron@rkbrownlaw.com                 Email on 10/23/2020
                                                                                                                                                        Attn: Eve H. Karasik
                                                                                                                                                        10250 Constellation Blvd
                                                                                                                                                        Suite 1700
Counsel to Huntington South Center LLC                                                                 Levene, Neale, Bender, Yoo & Brill L.L.P.        Los Angeles CA 90067                                             EHK@lnbyb.com                      Email on 10/23/2020
                                                                                                                                                        Attn: Eve H. Karasik
                                                                                                                                                        10250 Constellation Blvd.
                                                                                                                                                        Suite 1700
Counsel to Huntington South Center, LLC                                                                Levene, Neale, Bender, Yoo & Brill L.L.P.        Los Angeles CA 90067                                             EHK@lnbyb.com                      Email on 10/23/2020
                                                                                                                                                        Attn: M. Reas Bowman
                                                                                                                                                        180 N. LaSalle St., Suite 3200
Counsel to HSG-KRE Oak Lawn Property Owner, LLC and HSG Algonquin, LLC                                 Levin Ginsburg                                   Chicago IL 60601                                                 rbowman@lgattorneys.com            Email on 10/23/2020




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                                                                                                                                              Exhibit E
                                                                                                                                      Adjusted Core Service List
                                                                                                                                      Served as set forth below


                                                         DESCRIPTION                                                      NAME                                                     ADDRESS                                    EMAIL             METHOD OF SERVICE
                                                                                                                                                       Attn: Katie J. Comstock
                                                                                                                                                       1200 Fifth Ave.
                                                                                                                                                       Suite 1850
Attorney for Rosen Investment Company Holdings, LLC                                                    Levy Von Beck Comstock P.S.                     Seattle WA 98101                                  katie@levy-law.com                 Email on 10/23/2020
                                                                                                                                                       Attn: Elizabeth Weller
                                                                                                                                                       2777 N. Stemmons Freeway
                                                                                                                                                       Suite 1000
Counsel to Rockwall Cad, City of Frisco, Allen ISD, Dallas County, Tarrant County, and City of Allen   Linebarger Goggan Blair & Sampson, LLP          Dallas TX 75207                                   dallas.bankruptcy@publicans.com    Email on 10/23/2020
                                                                                                                                                       Attn: John P. Dillman
Counsel to Cypress-Fairbanks ISD, Harris County, Galveston County, Montgomery County, Fort Bend                                                        PO Box 3064
County                                                                                                 Linebarger Goggan Blair & Sampson, LLP          Houston TX 77253-3064                             houston_bankruptcy@publicans.com   Email on 10/23/2020
                                                                                                                                                       Attn: Jeffrey Cohen, Lindsay Sklar
                                                                                                                                                       1251 Avenue of the Americas                       jcohen@lowenstein.com
Counsel to Precor Incorporated                                                                         Lowenstein Sandler LLP                          New York NY 10020                                 lsklar@lowenstein.com              Email on 10/23/2020
                                                                                                                                                       Attn: Dennis D. Miller
                                                                                                                                                       600 Montgomery Street
                                                                                                                                                       14th Floor
Counsel to Eurpac Service, Inc.                                                                        Lubin Olson & Niewiadomski LLP                  San Francisco CA 94111                            dmiller@lubinolson.com             Email on 10/23/2020
                                                                                                                                                       Attn: Alexander K. Lee, Reno F.R. Fernandez III
                                                                                                                                                       221 Sansome Street, Third Floor                   reno@macfern.com
Counsel to Nazareth Retail Holdings, LLC and Crane Court, LLC                                          Macdonald Fernandez LLP                         San Francisco CA 94104                            alex@macfern.com                   Email on 10/23/2020
                                                                                                                                                       Attn: Nathan F. Smith, William G. Malcolm         nathan@mclaw.org
                                                                                                                                                       2112 Business Center Drive                        bill@mclaw.org
Counsel to Vilage Hillcrest Partners Lp                                                                Malcolm Cisneros, a Law Corporation             Irvine CA 92612                                   bill@mclaw.org                     Email on 10/23/2020
                                                                                                                                                       Attn: Tara LeDay
Counsel to The County of Denton, Texas and The County of Williamson, Texas, (the “Texas Taxing                                                         P. O. Box 1269
Authorities”)                                                                                          McCreary, Veselka, Bragg & Allen, P.C.          Round Rock TX 78680                               tleday@mvbalaw.com                 Email on 10/23/2020
                                                                                                                                                       Attn: Nicole C. Kenworthy
                                                                                                                                                       6801 Kenilworth Avenue
                                                                                                                                                       Suite 400
Counsel to Prince George's County, Maryland                                                            Meyers, Rodbell & Rosenbaum, P.A.               Riverdale MA 20737-1385                           bdept@mrrlaw.net                   Email on 10/23/2020
                                                                                                                                                       Attn: Marc N. Swanson
                                                                                                                                                       150 West Jefferson
                                                                                                                                                       Suite 2500
Counsel to Softtek Integration Systems, Inc.                                                           Miller, Canfield, Paddock and Stone, P.L.C.     Detroit MI 48226                                  swansonm@millercanfield.com        Email on 10/23/2020
                                                                                                                                                       Attn: Rachel B. Mersky
                                                                                                                                                       1201 N. Orange Street
                                                                                                       Monzack Mersky Browder and Hochman,             Suite 400
Counsel to Waste Management                                                                            P.A                                             Wilmington DE 19801                               rmersky@monlaw.com                 Email on 10/23/2020
                                                                                                                                                       Attn: Craig A. Wolfe
                                                                                                                                                       101 Park Avenue
Counsel to Kimco Realty Corporation                                                                    Morgan, Lewis & Bockius LLP                     New York NY 10178-0600                            craig.wolfe@morganlewis.com        Email on 10/23/2020
                                                                                                                                                       Attn: Jody C. Barillare
                                                                                                                                                       Nemours Buidling
                                                                                                                                                       1007 Orange Street, Suite 501
Counsel to Kimco Realty Corporation                                                                    Morgan, Lewis & Bockius LLP                     Wilmington DE 19801                               jbarillare@morganlewis.com         Email on 10/23/2020
                                                                                                                                                       Attn: Laura McCarthy
                                                                                                                                                       One Federal Street - 32nd Floor
Counsel to Kimco Realty Corporation                                                                    Morgan, Lewis & Bockius LLP                     Boston MA 02110-1726                              laura.mccarthy@morganlewis.com     Email on 10/23/2020
                                                                                                                                                       Attn: Eric J. Monzo, Brya M. Keilson
                                                                                                                                                       500 Delaware Avenue, Suite 1500                   emonzo@morrisjames.com
Official Committee of Unsecured Creditors                                                              Morris James LLP                                Wilmington DE 19801                               bkeilson@morrisjames.com           Email on 10/23/2020
                                                                                                                                                       Attn: Curtis S. Miller, Mathew O. Talmo
Counsel to 24 HR – TX (TX) Limited Partnership;                                                                                                        1201 North Market Street, 16th Floor
FIT (TX) LP; SF (TX) LP; FIT (CO) QRS 15-59, INC.;                                                                                                     P.O. Box 1347                                     cmiller@mnat.com
AND FIT (UT) QRS 14-92, INC.                                                                           Morris, Nichols, Arsht & Tunnell LLP            Wilmington DE 19899-1347                          mtalmo@mnat.com                    Email on 10/23/2020
                                                                                                                                                       Attn: Erica J. Richards
                                                                                                                                                       250 West 55th Street
Counsel to United Parcel Service, Inc. and BT-OH, LLC                                                  Morrison & Foerster Llp                         New York NY 10019-9601                            erichards@mofo.com                 Email on 10/23/2020




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                                                                                                                                           Adjusted Core Service List
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                                                         DESCRIPTION                                                              NAME                                                 ADDRESS                                                 EMAIL              METHOD OF SERVICE
                                                                                                                                                            Attn: Vikrama S. Chandrashekar
                                                                                                                                                            1400 16th Street
Counsel to CAPLOW DENVER, LLC, a California limited liability company; and DENVER EXCHANGE, LLC, a                                                          6th Floor
California limited liability company d/b/a DENVER EXCHANGE I, LLC                                            Moye White LLP                                 Denver CO 80202-1486                                          Vika.Chandrashekar@moyewhite.com   Email on 10/23/2020
Counsel to Brazos TC South - Partnership B, L.P.; A-S 93 SH 130-SH 45, L.P.; A-S 117 Shops at the Reserve,                                                  Attn: John D. Cornwell, Thomas D. Berghman
L.P.; A-S 76 HWY 290-Bingle, L.P.; A-S 86 FM 1960 FM 1960-Veterans Memorial, L.P.; A-S 30 FM 518-FM                                                         700 Milam Street, Suite 2700                                  jcornwell@munsch.com
528, L.P.; and A-S 144 Grand Parkway-W. Airport, L.P.                                                        Munsch Hardt Kopf & Harr, P.C.                 Houston TX 77002                                              tberghman@munsch.com               Email on 10/23/2020
                                                                                                                                                            Attn: Kevin M. Lippman, Esq.
                                                                                                                                                            500 N. Akard Street
                                                                                                                                                            Suite 3800
Counsel to CSRA 5901 Golden Triangle Master Lessee, LLC                                                      Munsch Hardt Kopf & Harr, P.C.                 Dallas TX 75201-6659                                          klippman@munsch.com                Email on 10/23/2020
                                                                                                                                                            Attn: Michael W. Adams
                                                                                                                                                            2603 Augusta
                                                                                                                                                            Suite 1000
Counsel to Axiom DR Construction LLC d/b/a Axiom Construction LLC                                            Nance & Simpson, LLP                           Houston TX 77057                                              madams@nancesimpson.com            Email on 10/23/2020
                                                                                                                                                                                                                          mparks@omm.com
                                                                                                                                                                                                                          spak@omm.com
                                                                                                                                                                                                                          dshamah@omm.com
                                                                                                                                                            Attn: Daniel S Shamah Esq, Diana M Perez Esq, Adam P          DPerez@omm.com
                                                                                                                                                            Haberkorn, Esq, John J. Rapisardi, Adam C. Rogoff             AHaberkorn@omm.com
                                                                                                                                                            7 Times Square                                                jrapisardi@omm.com
Counsel to the Ad Hoc Crossover Group                                                                        O’Melveny & Myers LLP                          New York NY 10036                                             adamrogoff@omm.com                 Email on 10/23/2020
                                                                                                                                                            Bankruptcy & Collections Division
                                                                                                                                                            Attn J Binford, J Roy, Courtney J. Hull                       jason.binford@oag.texas.gov
                                                                                                                                                            P.O. Box 12548 MC 008                                         casey.roy@oag.texas.gov
Counsel to the State of Texas, Texas Comptroller of Public Accounts                                          Office of the Attorney General of Texas        Austin TX 78711-2548                                          bk-chull@oag.texas.gov             Email on 10/23/2020
                                                                                                                                                            Attn: Linda J. Casey
                                                                                                                                                            844 King St Ste 2207
United States Trustee District of Delaware                                                                   Office of the United States Trustee            Wilmington DE 19801                                           Linda.Casey@usdoj.gov              First Class Mail and Email
                                                                                                                                                            Attn: Brian J. McLaughlin
                                                                                                                                                            222 Delaware Avenue, Suite 1105
Counsel to Mark Group Partnership No. 6                                                                      Offit Kurman, P.A.                             Wilmington DE 19801                                           Brian.mclaughlin@offitkurman.com   Email on 10/23/2020
                                                                                                                                                            Attn: Lawrence J. Hilton
                                                                                                                                                            4000 MacArthur Blvd, East Tower
                                                                                                                                                            Suite 500
Counsel to Ocean Ranch II, LLC                                                                               One LLP                                        Newport Beach CA 92660                                        lhilton@onellp.com                 Email on 10/23/2020
                                                                                                                                                            Attn: Laura Davis Jones, Timothy P. Cairns, Peter J. Keane
                                                                                                                                                            919 North Market Street                                       ljones@pszjlaw.com
                                                                                                                                                            P.O. Box 8705                                                 tcairns@pszjlaw.com
Counsel to Debtor                                                                                            Pachulski Stang Ziehl & Jones LLP              Wilmington DE 19899-8705                                      pkeane@pszjlaw.com                 Email on 10/23/2020
                                                                                                                                                                                                                          fournierd@pepperlaw.com
                                                                                                                                                                                                                          listwakk@pepperlaw.com
                                                                                                                                                            Attn: David M. Fournier, Kenneth A. Listwak                   wlbank@pepperlaw.com
                                                                                                                                                            Hercules Plaza, Suite 5100                                    smithda@pepperlaw.com
Counsel to Wilmington Trust, National Association,                                                                                                          1313 N. Market Street, P.O. Box 1709                          molitorm@pepperlaw.com
as DIP Agent                                                                                                 Pepper Hamilton LLP                            Wilmington DE 19899-1709                                      hardinp@pepperlaw.com              Email on 10/23/2020
                                                                                                                                                            c/o Eboney Cobb
                                                                                                                                                            500 E. Border Street
Counsel to Richardson ISD, Arlington ISD, Crowley ISD, Eagle Mountain-Saginaw ISD, Frisco ISD,               Perdue, Brandon, Fielder, Collins & Mott,      Suite 640
Grapevine-Colleyville ISD                                                                                    L.L.P.                                         Arlington TX 76010                                            ecobb@pbfcm.com                    Email on 10/23/2020
                                                                                                                                                            c/o Owen M. Sonik
Counsel to Spring Branch Independent School District, Klein Independent School District, Humble                                                             1235 North Loop West
Independent School District, Spring Independent School District, Alief Independent School District,          Perdue, Brandon, Fielder, Collins & Mott,      Suite 600
Pasadena Independent School District, Clear Creek Independent School District                                L.L.P.                                         Houston TX 77008                                              osonik@pbfcm.com                   Email on 10/23/2020

                                                                                                                                                            Attn: Christopher A. Ward, Brenna A. Dolphin, Shanti M. Katona
                                                                                                                                                            222 Delaware Ave.                                              cward@polsinelli.com
                                                                                                                                                            Suite 1101                                                     bdolphin@polsinelli.com
Counsel to Huntington South Center, LLC                                                                      Polsinelli Pc                                  Wilmington DE 19801                                            skatona@polsinelli.com            Email on 10/23/2020




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                                                                                                                                                      Exhibit E
                                                                                                                                            Adjusted Core Service List
                                                                                                                                            Served as set forth below


                                                         DESCRIPTION                                                             NAME                                                        ADDRESS                                             EMAIL           METHOD OF SERVICE
                                                                                                                                                               Attn: Gerald P. Kennedy, Esq.
                                                                                                                                                               525 B Street
                                                                                                                                                               Suite 2200
Attorney for Mann Enterprises, Inc.                                                                           Procopio, Cory, Hargreaves & Savitch LLP         San Diego CA 92101                                             gerald.kennedy@procopio.com   Email on 10/23/2020
                                                                                                                                                               c/o Timothy T. Mitchell
                                                                                                                                                               4422 Ridgeside Drive                                           tim@rashtiandmitchell.com
Counsel to EQYInvest Owner II, Ltd, LLP                                                                       Rashti and Mitchell, Attroneys at law            Dallas TX 75244                                                dkrm@aol.com                  Email on 10/23/2020
                                                                                                                                                               Attn: Eric A. Schaffer Esq., Luke A. Sizemore Esq.
                                                                                                                                                               Reed Smith Centre
Counsel to Wells Fargo Bank, National                                                                                                                          225 Fifth Avenue                                               eschaffer@reedsmith.com
Association, as indenture trustee                                                                             Reed Smith LLP                                   Pittsburgh PA 15222                                            lsizemore@reedsmith.com       Email on 10/23/2020
                                                                                                                                                               Attn: Mark W. Eckard
                                                                                                                                                               1201 North Market Street
Counsel to Wells Fargo Bank, National                                                                                                                          Suite 1500
Association, as indenture trustee                                                                             Reed Smith LLP                                   Wilmington DE 19801                                            meckard@reedsmith.com         Email on 10/23/2020
                                                                                                                                                               Attn: Evan W, Rassman, Esq.
                                                                                                                                                               1521 Concord Pike, Suite 305
Counsel to Che Chen Liu and Shu Fen Liu Revocable Trust (as successor in interest to Moreno Valley                                                             Brandywine Plaza West
Twenty-Four Hour, LLC), San Jose Central Travel, Inc                                                          Reger Rizzo & Darnall LLP                        Wilmington DE 19803                                            erassman@regerlaw.com         Email on 10/23/2020

                                                                                                                                                               Attn: Mark D. Collins, Michael J. Merchant, David T. Queroli
                                                                                                                                                               One Rodney Square                                              collins@rlf.com
                                                                                                                                                               920 North King Street                                          merchant@rlf.com
Counsel to the Ad Hoc Group                                                                                   Richards, Layton & Finger, P.A.                  Wilmington DE 19801                                            queroli@rlf.com               Email on 10/23/2020
                                                                                                                                                               Attn: Paul Jasper, Phillip K. Wang
                                                                                                                                                               One Embarcadero Center, Suite 400                              paul.jasper@rimonlaw.com
Counsel to AV Now, Inc.                                                                                       Rimon, P.C.                                      San Francisco CA 94111                                         phillip.wang@rimonlaw.com     Email on 10/23/2020
                                                                                                                                                               Attn: Jamie L. Edmonson
                                                                                                                                                               1201 North Market Street
                                                                                                                                                               Suite 1406
Counsel to MLT Station, L.L.C.                                                                                Robinson & Cole LLP                              Wilmington DE 19801                                            jedmonson@rc.com              Email on 10/23/2020

Counsel to RU Old Denton Road Fort Worth TX, LLC
which is a subsidiary of BRIX REIT, INC., Landlord, RU Rainbow Blvd Las Vegas, NV, LLC which is a subsidiary                                                   120 Newport Center Drive
of RW Holdings NNN REIT Operating Partnership, LP, a subsidiary of RW Holdings NNN REIT., Inc.               RU Rainbow Blvd Las Vegas, NV, LLC                Newport Beach CA 92660                                                                       First Class Mail on 10/20/2020
                                                                                                                                                               Attn: Paul A. Rubin, Hanh Huynh
                                                                                                                                                               345 Seventh Avenue
                                                                                                                                                               21st Floor                                                     prubin@rubinlawllc.com
Counsel to Centennial Square, LLC                                                                             Rubin LLC                                        New York NY 10001                                              hhuynh@rubinlawllc.com        Email on 10/23/2020
                                                                                                                                                               Attn: Steven W Kelly
                                                                                                                                                               1290 Broadway
                                                                                                                                                               Suite 1650
Counsel to AmCap Austin Bluffs LLC, AmCap Tiffany LLC, and ADLP-U&A, LLC, RSD Partners, LLC                   S&D Law                                          Denver CO 80203                                                                              First Class Mail on 10/20/2020
                                                                                                                                                               Attn: Joel M. Shafferman
                                                                                                                                                               The Omni - 333 Earle Ovington Boulevard
                                                                                                                                                               Suite 601
Counsel to BMS Realty Company                                                                                 Sahn Ward Coschignano, PLLC                      Uniondale NY 11553                                             jshafferman@swc-law.com       Email on 10/23/2020
                                                                                                                                                               Attn: John D. Demmy
                                                                                                                                                               1201 N. Market Street, Suite 2300
Counsel to SR19 Mark II Portfolio, LLC and Arka Miramar II, L.P. and Pacifica Real Estate III, LLC, HSG-KRE                                                    P.O. Box 1266
Oak Lawn Property Owner, LLC and HSG Algonquin, LLC                                                           Saul Ewing Arnstein & Lehr LLP                   Wilmington DE 19899                                            john.demmy@saul.com           Email on 10/23/2020
                                                                                                                                                               Attn: Nicholas J. LePore, Esq., Samantha Banks, Esq.
                                                                                                                                                               1600 Market Street
                                                                                                                                                               Suite 3600                                                     nlepore@schnader.com
Counsel to Frank Napolitano and Charles Huff                                                                  Schnader Harrison Segal & Lewis LLP              Philadelphia PA 19103                                          sbanks@schnader.com           Email on 10/23/2020
                                                                                                                                                               Attn: Richard A. Barkasy, Kristi J. Doughty, Esq.
                                                                                                                                                               824 N. Market Street
                                                                                                                                                               Suite 800                                                      rbarkasy@schnader.com
Counsel to Frank Napolitano and Charles Huff                                                                  Schnader Harrison Segal & Lewis LLP              Wilmington DE 19801-4939                                       kdoughty@schnader.com         Email on 10/23/2020




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                                                                                                                                                      Exhibit E
                                                                                                                                               Adjusted Core Service List
                                                                                                                                               Served as set forth below


                                                         DESCRIPTION                                                                NAME                                                    ADDRESS                          EMAIL           METHOD OF SERVICE
                                                                                                                                                               Attn: Michael M. Sperry, Esq.
                                                                                                                                                               575 S. Michigan Street
Counsel to OB Frank Properties, LLC                                                                           Schweet Linde & Coulson, Pllc                    Seattle WA 98108                          michaels@schweetlaw.com        Email on 10/23/2020
                                                                                                                                                               Secretary of the Treasury
                                                                                                                                                               100 F St NE
Securities and Exchange Commission - Headquarters                                                             Securities & Exchange Commission                 Washington DC 20549                       secbankruptcy@sec.gov          First Class Mail and Email
                                                                                                                                                               Attn: Bankruptcy Dept
                                                                                                                                                               Brookfield Place
                                                                                                              Securities & Exchange Commission - NY            200 Vesey Street Ste 400                  bankruptcynoticeschr@sec.gov
Securities and Exchange Commission - Regional Office                                                          Office                                           New York NY 10281-1022                    NYROBankruptcy@SEC.GOV         First Class Mail and Email
                                                                                                                                                               Attn: Bankruptcy Dept
                                                                                                                                                               One Penn Center
                                                                                                              Securities & Exchange Commission -               1617 JFK Blvd Ste 520
Securities and Exchange Commission - Regional Office                                                          Philadelphia Office                              Philadelphia PA 19103                     secbankruptcy@sec.gov          First Class Mail and Email
                                                                                                                                                               Attn: Edward M. Fox, Esq.
                                                                                                                                                               620 8th Avenue
Counsel to 600 Broadway Partners LLC                                                                          Seyfarth Shaw LLP                                New York NY 10018                         emfox@seyfarth.com             Email on 10/23/2020
                                                                                                                                                               Attn: Ronald M. Tucker, Esq.
                                                                                                                                                               225 West Washington Street
Counsel to Simon Property Group, Inc. and its related entities                                                Simon Property Group, Inc.                       Indianapolis IN 46204                     rtucker@simon.com              Email on 10/23/2020
                                                                                                                                                               Attn: Michelle E. Shriro, Esq.
                                                                                                                                                               16200 Addison Road
                                                                                                                                                               Suite 140
Counsel to Icon Owner Pool 1 West/Southwest, LLC                                                              Singer & Levick, P.C.                            Addison TX 75001                          mshriro@singerlevick.com       Email on 10/23/2020
                                                                                                                                                               Attn: Ian S. Landsberg, Esq.
                                                                                                                                                               1880 Century Park East
                                                                                                                                                               Suite 300
Counsels for Rolling Hills Plaza LLC                                                                          Sklar Kirsh, LLP                                 Los Angeles CA 90067                      ilandsberg@sklarkirsh.com      Email on 10/23/2020

Counsel to Allen Fitness, LP, Frisco Fitness, LP, Highlands Fitness, LP, Lakeline Austin Fitness, LP, North
Richland Fitness, LP, Phoenix Metro Center Fitness, LP, Colorado Springs Fitness, LP, Everett Washington                                                       Attn: Anne K. Edwards
Fitness, LP, Kirkwood Missouri Fitness, LP, Pembroke Miami Fitness, Ltd., Round Rock Fitness, LP, BHF, a                                                       444 South Flower Street, Suite 1700
California Limited Partnership, Lowry Denver Fitness, LP, Almaden Fitness, LP, Hancock Fitness, LP            Smith, Gambrell & Russell, LLP                   Los Angeles CA 90071                      aedwards@sgrlaw.com            Email on 10/23/2020
                                                                                                                                                               Attn: Michael D. Breslauer
                                                                                                                                                               401 B Street
                                                                                                                                                               Suite 1200                                mbreslauer@swsslaw.com
Counsel to SunBrewer Partners, L.P                                                                            Solomon Ward Seidenwurm & Smith, LLP             San Diego CA 92101                        wyones@swsslaw.com             Email on 10/23/2020
                                                                                                                                                               Attn: Brian H. Song
                                                                                                                                                               2559 S. Bascom Ave
Counsel to SAN JOSE CENTRAL TRAVEL, INC                                                                       Song & Lee, LLP                                  Campbell CA 95008                         Briansong@songleelaw.com       Email on 10/23/2020
                                                                                                                                                               Attn: Michael St. James, Esq.
                                                                                                                                                               22 Battery Street
                                                                                                                                                               Suite 888
Counsel to 111 Sutter Street Owner LP                                                                         St. James Law, P.C.                              San Francisco CA 94111                    ECF@stjames-law.com            Email on 10/23/2020
                                                                                                                                                               Attn: Joseph H. Lemkin, Thomas S. Onder
                                                                                                                                                               P.O. Box 5315                             jlemkin@stark-stark.com
Counsel to Levin Management Corporation                                                                       Stark & Stark, P.C.                              Princeton NJ 08543                        tonder@stark-stark.com         Email on 10/23/2020
                                                                                                                                                               Attn: James F. Evers, Esq.
                                                                                                                                                               Office of Consumer Protection
                                                                                                                                                               235 S. Beretania Street, Room 801
Counsel to the State of Hawaii pursuant to Hawaii Revised Statutes Chapter 487                                State of Hawaii                                  Honolulu HI 96813                         jevers@dcca.hawaii.gov         Email on 10/23/2020
                                                                                                                                                               Museum Tower, Suite 2200
                                                                                                              Stearns Weaver Miller Weissler Alhadeff &        150 West Flagler Street
Counsel to S&C Venture, a joint venture                                                                       Sitterson, P.A.                                  Miami FL 33130                            predmond@stearnsweaver.com     Email on 10/23/2020
                                                                                                                                                               Attn: Thomas A. Lerner
                                                                                                                                                               1420 Fifth Avenue
                                                                                                                                                               Suite 3000
Counsel to MLT Station, L.L.C.                                                                                Stokes Lawerence, P.S.                           Seattle WA 98101-2393                     tom.lerner@stokeslaw.com       Email on 10/23/2020




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                                                                                                                                                     Exhibit E
                                                                                                                                           Adjusted Core Service List
                                                                                                                                           Served as set forth below


                                                         DESCRIPTION                                                             NAME                                                   ADDRESS                                                 EMAIL           METHOD OF SERVICE
                                                                                                                                                            Attn: Ian Connor Bifferato, Esq.
                                                                                                                                                            1007 N. Orange Street
                                                                                                                                                            4th Floor
Counsel to Spirit Master Funding X and Spirit CC Aurora, LLC                                                 The Bifferato Firm, P.A.                       Wilmington DE 19801                                          cbifferato@tbf.legal              Email on 10/23/2020
                                                                                                                                                            Attn: James Tobia
                                                                                                                                                            1716 Wawaset Street
Counsel to MEPT Westwood Village, LLC                                                                        The Law Office of James Tobia, LLC             Wilmington DE 19806                                          jtobia@tobialaw.com               Email on 10/23/2020
                                                                                                                                                            Attn: John P. Schafer
                                                                                                                                                            30900 Rancho Viejo Road, Suite 235
Counsel to Pine Castle, N.V                                                                                  The Schafer Law Firm, P.C.                     San Juan Capistrano CA 92675                                 john@jpschaferlaw.com             Email on 10/23/2020
                                                                                                                                                            Attn: Dina L. Yunker
                                                                                                             The State of Washington Department of          800 Fifth Avenue, Suite 2000
The State of Washington Department of Revenue                                                                Revenue                                        Seattle WA 94104-3188                                        bcuyunker@atg.wa.gov              Email on 10/23/2020
                                                                                                                                                            Attn: Andrew S. Conway, Esq.
                                                                                                                                                            200 East Long Lake Road
                                                                                                                                                            Suite 300
Attorney for the Taubman Landlords                                                                           The Taubman Company                            Bloomfield Hills MI 48304                                    aconway@taubman.com               Email on 10/23/2020
                                                                                                                                                            Attn: Chase C. Alvord
                                                                                                                                                            1700 Seventh Avenue
                                                                                                                                                            Suite 2200
Counsel to MEPT Westwood Village, LLC and Madison Marquette                                                  Toulsey Brain Stephens PLLC                    Seattle WA 98101                                             calvord@tousley.com               Email on 10/23/2020
                                                                                                                                                            Attn: Jennifer L. Pruski
Counsel to DS FOUNTAIN VALLEY LP, a Delaware limited partnership; and DS PROPERTIES 17 LP, a                                                                Post Office Box 255824
Delaware limited partnership                                                                                 Trainor Fairbrook                              Sacramento CA 95865                                          jpruski@trainorfairbrook.com      Email on 10/23/2020
                                                                                                                                                            Attn: Jason A. Starks
                                                                                                                                                            P.O. Box 1748
Counsel to Travis County                                                                                     Travis County Attorney                         Austin TX 78767                                              Jason.Starks@traviscountytx.gov   Email on 10/23/2020
                                                                                                                                                            Attn: Charles Oberly co Ellen Slights
                                                                                                                                                            1007 Orange St Ste 700
                                                                                                                                                            PO Box 2046
US Attorney for the District of Delaware                                                                     US Attorney for Delaware                       Wilmington DE 19899-2046                                     usade.ecfbankruptcy@usdoj.gov     First Class Mail and Email
                                                                                                                                                            Attn: Thomas Korsman
                                                                                                                                                            600 S. 4th Street
                                                                                                                                                            MAC N9300-061
Top 30 Unsecured Creditors                                                                                   Wells Fargo, N.A.                              Minneapolis MN 55479                                         Thomas.m.korsman@wellsfargo.com   Email on 10/23/2020
                                                                                                                                                            Attn: Corporate Trust Services - Administrator for 24 Hour
                                                                                                                                                            Fitness
                                                                                                                                                            150 East 42nd St
Counsel to the Senior Notes Indenture Trustee                                                                Wells Fargo, National Association              New York NY 10017                                                                              First Class Mail on 10/20/2020
                                                                                                                                                            Attn: Jeff Carruth
                                                                                                                                                            11 Greenway Plaza, Suite 1400
Counsel to Tri Cities Harriman LLC                                                                           Weycer, Kaplan, Pulaski & Zuber, P.C.          Houston TX 77046                                             jcarruth@wkpz.com                 Email on 10/23/2020
                                                                                                                                                            Attn: Stephen B. Gerald
                                                                                                                                                            405 North King Street
                                                                                                                                                            Suite 500
Counsel to United Parcel Service, Inc. and BT-OH, LLC                                                        Whiteford, Taylor & Preston Llc                Wilmington DE 19801                                          sgerald@wtplaw.com                Email on 10/23/2020

Counsel to Brazos TC South - Partnership B, L.P.; A-S 93 SH 130-SH 45, L.P.; A-S 117 Shops at the Reserve,                                                  Attn: Matthew P. Ward, Morgan L. Patterson
L.P.; A-S 76 HWY 290-Bingle, L.P.; A-S 86 FM 1960 FM 1960-Veterans Memorial, L.P.; A-S 30 FM 518-FM                                                         1313 North Market Street, Suite 1200                         matthew.ward@wbd-us.com
528, L.P.; and A-S 144 Grand Parkway-W. Airport, L.P.; Crane Court, LLC and Nazareth Retail Holdings, LLC    Womble Bond Dickinson (US) LLP                 Wilmington DE 19801                                          morgan.patterson@wbd-us.com       Email on 10/23/2020
                                                                                                                                                            Attn: Robert S. Brady, Michael R. Nestor & Andrew L.
                                                                                                                                                            Magaziner
                                                                                                                                                            Rodney Square                                                rbrady@ycst.com
                                                                                                                                                            1000 North King Street                                       mnestor@ycst.com
Counsel to Morgan Stanley Senior Funding, Inc., as Administrative Agent and Collateral Agent                 Young Conaway Stargatt & Taylor, LLP           Wilmington DE 19801                                          amagaziner@ycst.com               Email on 10/23/2020




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                                                                                                                                            Exhibit F
                                                                                                                                        Agenda Service List
                                                                                                                                     Served as set forth below

                                                      DESCRIPTION                                                             NAME                                                   ADDRESS                                            EMAIL              METHOD OF SERVICE
                                                                                                                                                           Attn: Chad Timmons, Larry R. Boyd, Emily M. Hahn
                                                                                                                                                           1700 Redbud Blvd                                          ctimmons@abernathy-law.com
                                                                                                                                                           Ste 300                                                   bankruptcy@abernathy-law.com
Counsel to Collin County Tax Assessor/Collector                                                          Abernathy, Roeder, Boyd & Hullett, P.C.           McKinney TX 75069                                         ehahn@abernathy-law.com             Email
                                                                                                                                                           Attn: Roger K. Adams
                                                                                                                                                           4155 E. Jewell Ave.
                                                                                                                                                           Suite 612
Counsel to Diane Mueller                                                                                 Adams Law Firm, LLC                               Denver CO 80222                                           rogerkadams@rka-law.com             Email
Counsel to Weingarten Realty Investors, Weingarten Nostat, Inc., WRI West Gate South, L.P., WRI                                                            Attn: Ivan M. Gold
Southern Industrial Pool, LLC, Mercury TIC, LLC, SIC-Lakeside Drive, LLC, W/GL Ocean Avenue LB Holdings                                                    Three Embarcadero Center
VII, LLC, OTR, an Ohio general partnership, CLPF Gateway Towne Center LP, 100 California Street LLC, and Allen Matkins Leck Gamble Mallory &               12th Floor
Triangle Center, LLC                                                                                     Natsis LLP                                        San Francisco CA 94111-4074                               igold@allenmatkins.com              Email
                                                                                                                                                           Attn: Annie Y. Stoops
                                                                                                                                                           555 West Fifth Street
                                                                                                                                                           48th Floor
Counsel to Los Altos School District                                                                     Arent Fox, LLC                                    Los Angeles CA 90013                                      annie.stoops@arentfox.com           Email
                                                                                                                                                           Attn: Matthew P. Austria
                                                                                                                                                           1007 N. Orange Street
                                                                                                                                                           4th Floor
Counsel to Diane Mueller                                                                                 Austria Legal, LLC                                Wilmington DE 19801                                       maustria@austriallc.com             Email
                                                                                                                                                           Attn: Scott D. Mayer
Counsel to AVG Partners GP; AVG Partners I, LLC; AVG Austin, LP; AVG Chula Vista, LLC; AVG Laguna LLC;                                                     9595 Wilshire Blvd.
AVG Oakland, LLC; AVG Cypress LP; SW3LH, LLC; Builders Associates #3 (Rockwall); Arnold & Sheri                                                            Suite 700
Schlesinger; Builders Associates #3, LLC; Peak Holdings, LLC; AG Upland, LLC; AVG Puyallup, LLC        AVG Partners                                        Beverly Hills CA 90212                                    sdmayer@avgpartners.com             Email
                                                                                                                                                           Attn: Craig Solomon Ganz, Katherine E. Anderson Sanchez
                                                                                                                                                           1 E. Washington Street, Suite 2300                        ganzc@ballardspahr.com
Counsel to Seven Hills Properties 31, LLC                                                                Ballard Spahr LLP                                 Phoenix AZ 85004                                          andersonsanchezk@ballardspahr.com   Email
Counsel to Centennial Real Estate Company, LLC,
Citivest Commercial Investments, LLC, GS Pacific                                                                                                           Attn: Dustin P. Branch, Esq.
ER, LLC, Houston Willowbrook LLC, PGIM Real                                                                                                                2029 Century Park East
Estate, Starwood Retail Partners, LLC and The                                                                                                              Suite 800
Macerich Company                                                                                         Ballard Spahr LLP                                 Los Angeles CA 90067-2909                                 branchd@ballardspahr.com            Email

Counsel to Seven Hills Properties 31, LLC, Brixmor Operating Partnership LP, Federal Realty Investment
Trust, Centennial Real Estate Company, LLC, Citivest Commercial Investments, LLC, GS Pacific
ER, LLC, Houston Willowbrook LLC, PGIM Real
Estate, Starwood Retail Partners, LLC and The
Macerich Company, Weingarten Realty Investors, Weingarten Nostat, Inc., WRI West Gate South, L.P.,
WRI Southern Industrial Pool, LLC, Mercury TIC, LLC, SIC-Lakeside Drive, LLC, W/GL Ocean Avenue LB                                                 Attn: Leslie C. Heilman, Laurel D. Roglen
Holdings VII, LLC, OTR, an Ohio general partnership, CLPF Gateway Towne Center LP, 100 California Street                                           919 N. Market Street, 11th Floor                                  heilmanl@ballardspahr.com
LLC, and Triangle Center, LLC                                                                            Ballard Spahr LLP                         Wilmington DE 19801-3034                                          roglenl@ballardspahr.com            Email
                                                                                                                                                   Attn: William J.Barrett
                                                                                                                                                   200 West Madison Street
                                                                                                         Barack Ferrazzano Kirschbaum & Nagelberg Suite 3900
Counsel to Terramar Retail Centers, LLC                                                                  LLP                                       Chicago IL 60606                                                  william.barrett@bfkn.com            Email
                                                                                                                                                   Attn: Niclas A. Ferland, Esq., Ilan Markus, Esq
                                                                                                                                                   545 Long Wharf Drive
                                                                                                                                                   9th Floor                                                         nferland@barclaydamon.com
Westfield, LLC and its affiliates                                                                        Barclay Damon LLP                         New Haven CT 06511                                                imarkus@barclaydamon.com            Email
                                                                                                                                                   Attn: Scott L. Fleischer
                                                                                                                                                   1270 Avenue of the Americas
                                                                                                                                                   Suite 501
Westfield, LLC and its affiliates                                                                        Barclay Damon LLP                         New York NY 10020                                                 sfleischer@barclaydamon.com         Email
                                                                                                                                                   Attn: Michael J. Barrie, Kevin M. Capuzzi
                                                                                                                                                   1313 North Market Street, Suite 1201                              mbarrie@beneschlaw.com
Counsel to RNB Partners, LLC                                                                             Benesch Friedlander, Coplan & Aronoff LLP Wilmington DE 19801                                               kcapuzzi@beneschlaw.com             Email




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                                                                                                                                             Exhibit F
                                                                                                                                        Agenda Service List
                                                                                                                                     Served as set forth below

                                                      DESCRIPTION                                                          NAME                                                       ADDRESS                                   EMAIL                     METHOD OF SERVICE
                                                                                                                                                            Attn: Ernie Zachary Park
                                                                                                                                                            13215 E. Penn St., Suite 510
Counsel to Spring Shopping Center LLC, Irvine Spectrum Center LLC, a Delaware limited liability company Bewley, Lassleben & Miller, LLP                     Whittier CA 90602                             ernie.park@bewleylaw.com                      Email
                                                                                                                                                            Attn: David M. Klauder, Esquire
                                                                                                                                                            1204 N. King Street
Counsel to Kellermeyer Bergensons Services, LLC                                                         Bielli & Klauder, LLC                               Wilmington DE 19801                           dklauder@bk-legal.com                         Email
                                                                                                                                                            Attn: Jeffrey Rhodes
                                                                                                                                                            1825 Eye Street NW
Counsel to Kin Properties, Inc. and Masue LLC                                                          Blank Rome LLP                                       Washington DC 20006                           jrhodes@blankrome.com                         Email
Counsel to AVG Partners GP; AVG Partners I, LLC; AVG Austin, LP; AVG Chula Vista, LLC; AVG Laguna LLC;
AVG Oakland, LLC; AVG Cypress LP; SW3LH, LLC; Builders Associates #3 (Rockwall); Arnold & Sheri                                                             Attn: Victoria A. Guilfoyle & Bryan J. Hall
Schlesinger; Builders Associates #3, LLC; Peak Holdings, LLC; AG Upland, LLC; AVG Puyallup, LLC, Kin                                                        1201 N. Market Street
Properties, Inc. and                                                                                                                                        Suite 800                                     guilfoyle@blankrome.com
Masue LLC                                                                                              Blank Rome LLP                                       Wilmington DE 19801                           bhall@blankrome.com                           Email
                                                                                                                                                            Attn: Kristen N. Pate, Julie Minnick Bowden
                                                                                                                                                            350 N. Orleans Street, Suite 300              bk@brookfieldpropertiesretail.com
Counsel to Brookfield Properties Retail, Inc. as Agent                                                  Brookfield Properties Retail, Inc.                  Chicago IL 60654-1607                         julie.bowden@brookfieldpropertiesretail.com   Email
                                                                                                                                                            Attn: Andrew J. Meyers
                                                                                                                                                            Governmental Center, Suite 423
                                                                                                                                                            115 South Andrews Avenue
Counsel to Broward County, Florida                                                                      Broward County Attorney                             Fort Launderdale FL 33301                     sandron@broward.org                           Email
                                                                                                                                                            Attn: Jeffrey K. Garfinkle
                                                                                                                                                            18400 Von Karman Avenue, Suite 800
Counsel to 507 Northgate LLC                                                                            Buchalter, a Professional Corporation               Irvine CA 92612                               jgarfinkle@buchalter.com                      Email
                                                                                                                                                            Attn: Shawn M. Christianson
                                                                                                                                                            55 Second Street, 17th Floor
Counsel to Oracle America, Inc.                                                                         Buchalter, a Professional Corporation               San Francisco CA 94105-3493                   schristianson@buchalter.com                   Email
                                                                                                                                                            Attn: Mary F. Caloway
                                                                                                                                                            919 North Market Street
                                                                                                                                                            Suite 990
Counsel to CentiMark Corporation                                                                        Buchanan Ingersoll & Rooney PC                      Wilmington DE 19801                           mary.caloway@bipc.com                         Email
                                                                                                                                                            Attn: Timothy P. Palmer
                                                                                                                                                            501 Grant Street
                                                                                                                                                            Suite 200
Counsel to CentiMark Corporation                                                                        Buchanan Ingersoll & Rooney PC                      Pittsburgh PA 15219                           timothy.palmer@bipc.com                       Email
                                                                                                                                                            Attn: Bankruptcy Division
                                                                                                                                                            PO Box 20207
TN Dept of Labor - Bureau of Unemployment Insurance                                                     c/o TN Attorney General's Office                    Nashville TN 37202-0207                                                                     Overnight Mail
                                                                                                                                                            Attn: Aaron R. Cahn
                                                                                                                                                            2 Wall Street
Counsel to Evelyn Wells, Trustee u/w/o Fred Straus, 231st SRS, LLC and 231st CGS, LLC                   Carter Ledyard & Milburn LLP                        New York NY 10005-2072                        bankruptcy@clm.com                            Email
                                                                                                                                                            Attn: Alan J. Lipkin
Counsel to 24 HR – TX (TX) Limited Partnership;                                                                                                             1700 Broadway
FIT (TX) LP; SF (TX) LP; FIT (CO) QRS 15-59, INC.;                                                                                                          33rd Floor
AND FIT (UT) QRS 14-92, INC.                                                                            Chaffetz Lindsey LLP                                New York NY 10019                             a.lipkin@chaffetzlindsey.com                  Email
                                                                                                                                                            Attn: David M. Blau, Esq.
                                                                                                                                                            151 S. Old Woodward Ave
                                                                                                                                                            Ste. 200
Counsel to Santan Gem, LLC                                                                              Clark Hill PLC                                      Birmingham MI 48009                           dblau@clarkhill.com                           Email
                                                                                                                                                            Attn: Karen M. Grivner, Esq.
                                                                                                                                                            824 N. Market St.
                                                                                                                                                            Ste. 710
Counsel to Santan Gem, LLC                                                                              Clark Hill PLC                                      Wilmington DE 19801                           kgrivner@clarkhill.com                        Email
                                                                                                                                                            Attn: Patrick J. Reilley
                                                                                                                                                            500 Delaware Avenue
                                                                                                                                                            Suite 1410
Counsel to Seritage SRC Finance LLC                                                                     Cole Schotz P.C.                                    Wilmington DE 19801                           preilley@coleschotz.com                       Email



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                                                                                                   Agenda Service List
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                                                     DESCRIPTION                       NAME                                               ADDRESS                                              EMAIL             METHOD OF SERVICE
                                                                                                                Attn: Ryan T. Jareck
                                                                                                                Court Plaza North
                                                                                                                25 Main Street
Counsel to Seritage SRC Finance LLC                                   Cole Schotz P.C.                          Hackensack NJ 07601-                                        rjareck@coleschotz.com             Email
                                                                                                                Attn: Edward J. Riffle, Esq., Bradley D. Doucette, Esq.
                                                                                                                1100 El Centro Street                                       eriffle@ccmslaw.com
Counsel to Wedt Industries, Inc. dba Club Resources Group             Collins Collins Muir + Stewart LLP        South Pasadena CA 91030                                     bdoucette@ccmslaw.com              Email
                                                                                                                Attn: Karen C. Bifferato & Kelly M. Conlan
                                                                                                                1201 N. Market Street
                                                                                                                20th Floor                                                  kbifferato@connollygallagher.com
Counsel to RPAI Lakewood, LLC                                         Connolly Gallagher LLP                    Wilmington DE 19801                                         kconlan@connollygallagher.com      Email
                                                                                                                Attn: Cathy Hershcopf, Michael Klein, Lauren A. Reichardt   chershcopf@cooley.com
                                                                                                                55 Hudson Yards                                             mklein@cooley.com
Official Committee of Unsecured Creditors                             Cooley LLP                                New York NY 10001                                           lreichardt@cooley.com              Email
                                                                                                                Attn: Cullen D. Speckhardt, Olya Antle
                                                                                                                1299 Pennsylvania Avenue, NW                                cspeckhart@cooley.com
Official Committee of Unsecured Creditors                             Cooley LLP                                Washington DC 20004                                         oantle@cooley.com                  Email
                                                                                                                Attn: Ronald Hewitt, Martin E. Beeler, Todd A. Mortensen,   rhewitt@cov.com
                                                                                                                Gabriella B. Zahn-Bielski                                   mbeeler@cov.com
                                                                                                                620 Eighth Avenue                                           tmortensen@cov.com
Counsel to DIP Agent, Wilmington Trust, National Association, USOPC   Covington & Burling LLP                   New York NY 10018                                           gzahnbielski@cov.com               Overnight Mail and Email
                                                                                                                Attn: Thomas J. Francella, Jr.
                                                                                                                1201 N. Market Street
                                                                                                                Suite 1001
Counsel to LaSalle, LP, AAP Trust, and AV Now, Inc.                   Cozen O'Connor                            Wilmington DE 19801                                         tfrancella@cozen.com               Email
                                                                                                                Attn: Mette H. Kurth
                                                                                                                4023 Kennett Pike #165
Counsel to Pine Castle, N.V                                           Culhane Meadows PLLC                      Wilmington DE 19807                                         mkurth@cm.law                      Email
                                                                                                                Attn: Bankruptcy Dept
                                                                                                                Carvel State Office Bldg
                                                                                                                820 N French St 6th Fl
Delaware Attorney General                                             Delaware Attorney General                 Wilmington DE 19801                                         attorney.general@state.de.us       Email
                                                                                                                Zillah Frampton
                                                                                                                820 N French St
Delaware Division of Revenue                                          Delaware Division of Revenue              Wilmington DE 19801                                         FASNotify@state.de.us              Overnight Mail and Email
                                                                                                                Corporations Franchise Tax
                                                                                                                PO Box 898
Delaware Secretary of State                                           Delaware Secretary of State               Dover DE 19903                                              dosdoc_Ftax@state.de.us            Overnight Mail and Email
                                                                                                                Attn: Bankruptcy Dept
                                                                                                                820 Silver Lake Blvd Ste 100
Delaware State Treasury                                               Delaware State Treasury                   Dover DE 19904                                              statetreasurer@state.de.us         Overnight Mail and Email
                                                                                                                Attn: Ronald D. Dessy, Fawn Kennedy Dessy
                                                                                                                1301 L Street
Counsel to Olive Drive Partners                                       Dessy & Dessy, a Professional Corporation Bakersfield CA 93301                                        Dessylaw@aol.com                   Overnight Mail and Email
                                                                                                                Attn: Jarret P. Hitchings
                                                                                                                222 Delaware Avenue
                                                                                                                Suite 1600
Counsel to US VI Downey, LLC                                          Duane Morris LLP                          Wilmington DE 19801-1659                                    jphitchings@duanemorris.com        Email
                                                                                                                Attn: Steven E. Lewis
                                                                                                                230 Park Avenue, 21st Floor
Counsel to Epsilon Agency LLC                                         Dunnington, Bartholow & Miller LLP        New York NY 10169                                           slewis@dunnington.com              Email
                                                                                                                Attn: Bankruptcy Dept
                                                                                                                1650 Arch Street
Environmental Protection Agency - Region 3                            Environmental Protection Agency           Philadelphia PA 19103-2029                                                                     Overnight Mail




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                                                      DESCRIPTION                                                            NAME                                                      ADDRESS                                            EMAIL        METHOD OF SERVICE
                                                                                                                                                             c/o Byron Z. Moldo
                                                                                                                                                             9401 Wilshire Boulevard
                                                                                                                                                             9th Floor
Counsel to Copperwood Square IA, LLC,                                                                      Ervin Cohen & Jessup LLP                          Beverly Hills CA 90212                                  bmoldo@ecjlaw.com               Email
                                                                                                                                                             Attn: Joseph D. Frank, Jeremy C. Kleinman
                                                                                                                                                             1327 W. Washington Blvd., Suite 5 G-H                   jfrank@fgllp.com
Counsel to PepsiCo, Inc.                                                                                   FrankGecker LLP                                   Chicago IL 60607                                        jkleinman@fgllp.com             Email
                                                                                                                                                             Attn: Ronald E. Gold, A.J. Webb
                                                                                                                                                             3300 Great American Tower
                                                                                                                                                             301 East Fourth Street                                  rgold@fbtlaw.com
Counsel to Washington Prime Group Inc.                                                                     Frost Brown Todd LLC                              Cincinnati OH 45202                                     awebb@fbtlaw.com                Email
                                                                                                                                                             Attn: David W. deBruin
                                                                                                                                                             3711 Kennett Pike
Attorney for CAPLOW DENVER, LLC, a California limited liability company; and DENVER EXCHANGE, LLC, a                                                         Suite 100
California limited liability company d/b/a DENVER EXCHANGE I, LLC                                    Gawthrop Greenwood, PC                                  Wilmington DE 19807                                     ddebruin@gawthrop.com           Email
                                                                                                                                                             Attn: Michael Busenkell, Amy Brown
                                                                                                                                                             1201 N. Orange St.
                                                                                                                                                             Suite 300                                               mbusenkell@gsbblaw.com
Counsel to OB Frank Properties, LLC, Cal Select Builders                                                   Gellert Scali Busenkell & Brown, LLC              Wilmington DE 19801                                     abrown@gsbblaw.com              Email
                                                                                                                                                             Attn: Kumar Bhavanasi
                                                                                                                                                             551 S. Washington Ave., Ste. 402A
Top 30 Unsecured Creditors                                                                                 Geneva Crossing Carol Stream IL LLC               Piscataway NJ 08554                                     kumar.bhavanasi@first-tek.com   Email
                                                                                                                                                             Attn: Howard A. Cohen
                                                                                                                                                             300 Delaware Avenue, Suite 1015
Counsel to Hanover 3201 Realty L.L.C.                                                                      Gibbons P.C.                                      Wilmington DE 19801-1761                                hcohen@gibbonslaw.com           Email
                                                                                                                                                             Attn: Mark Conlan
                                                                                                                                                             One Gateway Center
Counsel to Hanover 3201 Realty L.L.C.                                                                      Gibbons P.C.                                      Newark NJ 07102-5310                                    mconlan@gibbonslaw.com          Email
                                                                                                                                                             Attn: Lawrence M. Jacobson
                                                                                                                                                             8383 Wilshire Boulevard
                                                                                                                                                             Suite 408
Counsel to Creditor and Interested Party 525 Colorado LLC                                                  Glickfeld, Fields & Jacobson LLP                  Beverly Hills CA 90211                                  lmj@gfjlawfirm.com              Email

Counsel to RU Old Denton Road Fort Worth TX, LLC                                                                                                             Attn: Marc C. Forsythe
which is a subsidiary of BRIX REIT, INC., RU Rainbow Blvd Las Vegas, NV, LLC which is a subsidiary of RW                                                     18101 Von Karman, Suite 1200
Holdings NNN REIT Operating Partnership, LP, a subsidiary of RW Holdings NNN REIT., Inc.                   Goe Forsythe & Hodges LLP                         Irvine CA 92612                                         mforsythe@goeforlaw.com         Email
                                                                                                                                                             Attn: Douglas B. Rosner, Esq., Vanessa P. Moody, Esq.
Counsel HUH/DI OCP Cinque Terre, LLC, BP/CGCENTER II, LLC, and CA-Santa Monica Business Park                                                                 400 Atlantic Avenue                                     drosner@goulstonstorrs.com
Limited Partnership                                                                                        Goulston & Storrs PC                              Boston MA 02110-3333                                    vmoody@goulstonstorrs.com       Email
                                                                                                                                                             Attn: David M. Guess
                                                                                                                                                             18565 Jamboree Road
                                                                                                                                                             Suite 500
Counsel to MGP XI Ballinger, LLC, MGP Fund X Laguna Hills, LLC, and MGP XI-GPI Laurel Plaza, LLC           Greenberg Traurig, LLP                            Irvine CA 92612                                         guessd@gtlaw.com                Email
                                                                                                                                                             Attn: Dennis A. Meloro
Counsel to MGP XI Ballinger, LLC, MGP Fund X Laguna Hills, LLC, and MGP XI-GPI Laurel Plaza, LLC           Greenberg Traurig, LLP                            1007 North Orange Street                                melorod@gtlaw.com               Email
                                                                                                                                                             Attn: Peter D. Kieselbach
                                                                                                                                                             90 South Seventh Street
                                                                                                                                                             Suite 3500
Counsel to MGP XI Ballinger, LLC, MGP Fund X Laguna Hills, LLC, and MGP XI-GPI Laurel Plaza, LLC           Greenberg Traurig, LLP                            Minneapolis MN 55402                                    kieselbachp@gtlaw.com           Email
                                                                                                                                                             Attn: Jeffrey A. Krieger
                                                                                                           Greenberg, Glusker, Fields, Claman &              2049 Century Park East, Suite 2600
Counsel to SR19 Mark II Portfolio, LLC and Arka Miramar II, L.P. and Pacifica Real Estate III, LLC         Machtinger LLP                                    Los Angeles CA 90067                                    JKrieger@ggfirm.com             Email
                                                                                                                                                             Attn: Bernard S. Greenfield, Edward T. Colbert
                                                                                                                                                             55 S. Market Street, Suite 1500                         bgreenfield@greenfieldlaw.com
Counsel to LaSalle, LP and AAP Trust                                                                       Greenfield LLP                                    San Jose CA 95113                                       ecolbert@greenfieldlaw.com      Email




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                                                     DESCRIPTION                                                               NAME                                                        ADDRESS                                              EMAIL        METHOD OF SERVICE
                                                                                                                                                              Attn: Jason S. Nunnermacker
                                                                                                                                                              365 West Passaic Street, Suite 130
Counsel to Custom Locations, LLC                                                                           Guaglardi & Meliti, LLP                            Rochelle Park NJ 07662                                        jnunnermacker@adgmlaw.com      Email
                                                                                                                                                              Attn: Donna H. Lieberman, Esquire
                                                                                                                                                              40 Wall Street, 37th Floor
Counsel to Kellermeyer Bergensons Services, LLC                                                            Halperin Battaglia Benzija, LLP                    New York NY 10005                                             dlieberman@halperinlaw.net     Email
                                                                                                                                                              Attn: Nancy J. Newman, Jordan A. Lavinsky
                                                                                                                                                              425 Market Street
                                                                                                                                                              26th Floor                                                    nnewman@hansonbridgett.com
Counsel to ACRE Investment Company, LLC, Marin Country Mart, LLC                                           Hanson Bridgett LLP                                San Franciso CA 94105                                         jlavinsky@hansonbridgett.com   Email
                                                                                                                                                              Attn: Carly M. Newman, Esq.
                                                                                                                                                              830 Lucerne Terrace
Counsel to Greenway Electrical Services, LLC                                                               Hayes & Newman, Pl                                 Orlando FL 32801                                              cnewman@const-law.com          Email
                                                                                                                                                              Attn: Kevin S. Wiley, Jr., Rebecca A. Hicks
                                                                                                                                                              325 N. St. Paul St.                                           KWiley@HicksLawGroup.com
Counsel to Kruger Litle d/b/a TCS Plumbing                                                                 Hicks Law Group PLLC                               Dallas TX 75201                                               RHicks@HicksLawGroup.com       Email
                                                                                                                                                              Attn: Daniel C. Kerrick
                                                                                                                                                              1311 Delaware Avenue
Counsel to U.S. Electrical Services, Inc. d/b/a Wiedenbach-Brown Co., Inc.                                 Hogan McDaniel                                     Wilmington DE 19806                                           dckerrick@dkhogan.com          Email
                                                                                                                                                              Attn: Barbra R. Parlin
                                                                                                                                                              31 West 52nd Street
Counsel to TR Wateridge LLC                                                                                Holland & Knight LLP                               New York NY 10019                                             barbra.parlin@hklaw.com        Email
                                                                                                                                                              Attn: Lawrence A. Lichtman
                                                                                                                                                              2290 First National Building
                                                                                                                                                              660 Woodward Avenue
Counsel to Agree Littleton CO LLC, assignee of Denver Oaks, LP, 1830-1850 Ocean Avenue LLC                 Honigman LLP                                       Detriot MI 48226                                              llichtman@honigman.com         Email
                                                                                                                                                              Attn: Gregory Scott Hoover
                                                                                                                                                              1805 - 136th Place NE #203
Counsel to POYUAN LU                                                                                       Hoover Law Group, PLLC                             Bellevue WA 98005                                             greg@gshlaw.net                Email
                                                                                                                                                              Attn: Jay Michael Ross, Monique D. Jewett-Brewster, Stephen   jross@hopkinscarley.com
                                                                                                                                                              J. Kottmeier, Liam O'Connor                                   mjb@hopkinscarley.com
Counsel to Columbus Avenue II, LLC, Croactive Property Group, Inc., 93 Bovet Lease Partners, LLC, and                                                         70 S First Street                                             sjk@hopkinscarley.com
Pacific Bay Masonry, Inc.                                                                                  Hopkins & Carley                                   San Jose CA 95113-2406                                        loconnor@hopkinscarley.com     Email
                                                                                                                                                              Attn: Claudio E. Iannitelli
                                                                                                                                                              5353 North 16th Street
                                                                                                                                                              Suite 315
Counsel to OUTFRONT Media LLC                                                                              Iannitelli Marcolini, P.C.                         Phoenix AZ 85016                                              cei@imlawpc.com                Email
                                                                                                                                                              Centralized Insolvency Operation
                                                                                                                                                              2970 Market St
                                                                                                                                                              Mail Stop 5 Q30 133
IRS Insolvency Section                                                                                     Internal Revenue Service                           Philadelphia PA 19104-5016                                                                   Overnight Mail
                                                                                                                                                              Centralized Insolvency Operation
                                                                                                                                                              PO Box 7346
IRS Insolvency Section                                                                                     Internal Revenue Service                           Philadelphia PA 19101-7346                                                                   Overnight Mail
                                                                                                                                                              Attn: "J" Jackson Shrum
Counsel to Columbus Avenue II, LLC, Croactive Property Group, Inc., Marsau Enterprises, Inc, Pacific Bay                                                      919 N. Market Street, Suite 1410
Masonry, Inc.                                                                                              Jack Shrum, PA                                     Wilmington DE 19801                                           jshrum@jshrumlaw.com           Email
                                                                                                                                                              Attn: Jeffrey M. Hawkinson
                                                                                                                                                              801 Second Avenue, Suite 700
Counsel to Bellevue Pacific, LLC                                                                           Jameson Pepple Cantu PLLC                          Seattle WA 98104                                              jhawkinson@jpclaw.com          Email
                                                                                                                                                              1125 Lexington Avenue
                                                                                                                                                              Apt 5D
Interested Party                                                                                           Jayne Malkenson RN                                 New York NY 10075                                             jayne1125@aol.com              Email
                                                                                                                                                              Attn: John E. Mitchell, Esq., Yelena E. Archiyan, Esq.
                                                                                                                                                              2121 North Pearl Street
                                                                                                                                                              Suite 1100                                                    john.mitchell@katten.com
Counsel to Spirit Master Funding X and Spirit CC Aurora, LLC                                               Katten Muchin Rosenman LLP                         Dallas TX 75201                                               yelena.archiyan@katten.com     Email



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                                                     DESCRIPTION                                                         NAME                                                         ADDRESS                                                     EMAIL                 METHOD OF SERVICE
                                                                                                                                                         Attn: Tobias S. Keller, Esq., Berry D. Spears, Esq.,David Taylor,
                                                                                                                                                         Esq.
Counsel to AVG Partners GP; AVG Partners I, LLC; AVG Austin, LP; AVG Chula Vista, LLC; AVG Laguna LLC;                                                   650 California Street                                               tkeller@kbkllp.com
AVG Oakland, LLC; AVG Cypress LP; SW3LH, LLC; Builders Associates #3 (Rockwall); Arnold & Sheri                                                          Suite 1900                                                          bspears@kbkllp.com
Schlesinger; Builders Associates #3, LLC; Peak Holdings, LLC; AG Upland, LLC; AVG Puyallup, LLC        Keller Benvenutti Kim LLP                         San Francisco CA 94108                                              dtaylor@kbkllp.com                       Email
Counsel to Basser-Kaufman, Inc., Brookfield Property                                                                                                     Attn: Robert L. LeHane & Jennifer D. Raviele                        KDWBankruptcyDepartment@kelleydrye.com
REIT Inc., Regency Centers L.P., SITE Centers Corp.                                                                                                      101 Park Avenue                                                     rlehane@kelleydrye.com
and Woodmont Properties, Inc.                                                                          Kelley Drye & Warren LLP                          New York NY 10178                                                   jraviele@kelleydrye.com                  Email
                                                                                                                                                         Attn: Bankruptcy Division
                                                                                                                                                         c/o Linda Delgao
                                                                                                       Kern County Treasurer and Tax Collector           PO Box 579
Kern County Treasurer and Tax Collector Office                                                         Office                                            Bakersfield CA 93302-0579                                           bankruptcy@kerncounty.com                Overnight Mail and Email
                                                                                                                                                         Attn: Raymond H. Lemisch
                                                                                                                                                         919 N. Market Street
                                                                                                                                                         Suite 1000
Counsel to 525 Colorado LLC                                                                            Klehr Harrison Harvey Branzburg LLP               Wilmington DE 19801-3062                                            rlemisch@klehr.com                       Email
                                                                                                                                                         Attn: Raymond M. Patella
                                                                                                                                                         675 Morris Ave
                                                                                                                                                         3rd Floor
Counsel to Axiom DR Construction LLC d/b/a Axiom Construction LLC                                      Kraemer Burns, P.A.                               Springfield NJ 07081                                                rpatella@kraemerburns.com                Email
                                                                                                                                                         Attn: Jeffrey Kurtzman, Esquire
                                                                                                                                                         401 S. 2nd Street
                                                                                                                                                         Suite 200
Counsel to BT Carrolton, LP                                                                            Kurtzman Steady, LLC                              Philadelphia PA 19147                                               kurtzman@kurtzmansteady.com              Email
                                                                                                                                                         Attn: Alfred Xue, Esq
                                                                                                                                                         885 3rd Ave
Counsel to First Agent                                                                                 Latham & Watkins LLP                              New York NY 10022                                                   AlfredXue@lw.com                         Email
                                                                                                                                                         Attn: Richard A. Levy & James Ktsanes
                                                                                                                                                         330 North Wabash Avenue
                                                                                                                                                         Suite 2800
Counsel to Morgan Stanley Senior Funding, Inc., as Administrative Agent and Collateral Agent           Latham & Watkins LLP                              Chicago IL 60611                                                    james.ktsanes@lw.com                     Email
                                                                                                                                                         Attn: Corey E. Taylor
                                                                                                                                                         629 Camino de Los Mares
                                                                                                                                                         Suite 305
Counsel to PCW Properties, LLC                                                                         Law Office of Corey E. Taylor                     San Clemente CA 92673                                               corey@taylorlawoc.com                    Email
                                                                                                                                                         Attn: Steven L. Bryson
                                                                                                                                                         11150 W. Olympic Blvd., Ste. 1120
Counsel to Schedule of Creditors                                                                       Law Office of Steven L. Bryson                    Los Angeles CA 90064                                                Office@SteveBryson.com                   Email
                                                                                                                                                         Attn: Susan E. Kaufman, Esq.
                                                                                                                                                         919 N. Market Street
Attorney for the Taubman Landlords, Westfield, LLC and its affiliates, Marin Country Mart, LLC, ACRE                                                     Suite 460
Investment Company, LLC                                                                                Law Office of Susan E. Kaufman, LLC               Wilmington DE 19801                                                 skaufman@skaufmanlaw.com                 Email
                                                                                                                                                         Attn: William P. Fennell
                                                                                                                                                         600 West Broadway
                                                                                                                                                         Ste 930
Counsel to 5 Point Partners LP, a California Limited Partnership                                       Law Office of William P. Fennell, APLC            San Diego CA 92101                                                  william.fennell@fennelllaw.com           Email
                                                                                                                                                         Attn: William P. Fennell, Melissa A. Blackburn Joniaux, Yosina
                                                                                                                                                         M. Lissebeck
                                                                                                                                                         600 West Broadway                                                   william.fennell@fennelllaw.com
                                                                                                                                                         Suite 930                                                           mblackburnjoniaux@fennelllaw.com
Counsel to 5 Points Partners LP                                                                        Law Office of William P. Fennell, APLC            San Diego CA 92101                                                  yosina.lissebeck@fennelllaw.com          Email
                                                                                                                                                         Attn: Kevin S. Neiman
                                                                                                                                                         999 18th Street
                                                                                                                                                         Suite 1230 S
Counsel to US VI Downey, LLC                                                                           Law Offices of Kevin S. Neiman, PC                Denver CO 80202                                                     kevin@ksnpc.com                          Email




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                                                     DESCRIPTION                                                         NAME                                                 ADDRESS                                     EMAIL           METHOD OF SERVICE
                                                                                                                                                   Attn: Ronald K. Brown, Jr.
                                                                                                                                                   901 Dove Street, Suite 120
Counsel to Newkoa, LLC                                                                                 Law Offices of Ronald K. Brown, Jr.         Newport Beach CA 92660                            Ron@rkbrownlaw.com                 Email
                                                                                                                                                   Attn: Eve H. Karasik
                                                                                                                                                   10250 Constellation Blvd
                                                                                                                                                   Suite 1700
Counsel to Huntington South Center LLC                                                                 Levene, Neale, Bender, Yoo & Brill L.L.P.   Los Angeles CA 90067                              EHK@lnbyb.com                      Overnight Mail and Email
                                                                                                                                                   Attn: Eve H. Karasik
                                                                                                                                                   10250 Constellation Blvd.
                                                                                                                                                   Suite 1700
Counsel to Huntington South Center, LLC                                                                Levene, Neale, Bender, Yoo & Brill L.L.P.   Los Angeles CA 90067                              EHK@lnbyb.com                      Email
                                                                                                                                                   Attn: M. Reas Bowman
                                                                                                                                                   180 N. LaSalle St., Suite 3200
Counsel to HSG-KRE Oak Lawn Property Owner, LLC and HSG Algonquin, LLC                                 Levin Ginsburg                              Chicago IL 60601                                  rbowman@lgattorneys.com            Email
                                                                                                                                                   Attn: Katie J. Comstock
                                                                                                                                                   1200 Fifth Ave.
                                                                                                                                                   Suite 1850
Attorney for Rosen Investment Company Holdings, LLC                                                    Levy Von Beck Comstock P.S.                 Seattle WA 98101                                  katie@levy-law.com                 Email
                                                                                                                                                   Attn: Elizabeth Weller
                                                                                                                                                   2777 N. Stemmons Freeway
                                                                                                                                                   Suite 1000
Counsel to Rockwall Cad, City of Frisco, Allen ISD, Dallas County, Tarrant County, and City of Allen   Linebarger Goggan Blair & Sampson, LLP      Dallas TX 75207                                   dallas.bankruptcy@publicans.com    Email
                                                                                                                                                   Attn: John P. Dillman
Counsel to Cypress-Fairbanks ISD, Harris County, Galveston County, Montgomery County, Fort Bend                                                    PO Box 3064
County                                                                                                 Linebarger Goggan Blair & Sampson, LLP      Houston TX 77253-3064                             houston_bankruptcy@publicans.com   Overnight Mail and Email
                                                                                                                                                   Attn: Jeffrey Cohen, Lindsay Sklar
                                                                                                                                                   1251 Avenue of the Americas                       jcohen@lowenstein.com
Counsel to Precor Incorporated                                                                         Lowenstein Sandler LLP                      New York NY 10020                                 lsklar@lowenstein.com              Email
                                                                                                                                                   Attn: Dennis D. Miller
                                                                                                                                                   600 Montgomery Street
                                                                                                                                                   14th Floor
Counsel to Eurpac Service, Inc.                                                                        Lubin Olson & Niewiadomski LLP              San Francisco CA 94111                            dmiller@lubinolson.com             Email
                                                                                                                                                   Attn: Alexander K. Lee, Reno F.R. Fernandez III
                                                                                                                                                   221 Sansome Street, Third Floor                   reno@macfern.com
Counsel to Nazareth Retail Holdings, LLC and Crane Court, LLC                                          Macdonald Fernandez LLP                     San Francisco CA 94104                            alex@macfern.com                   Email
                                                                                                                                                   Attn: Nathan F. Smith, William G. Malcolm         nathan@mclaw.org
                                                                                                                                                   2112 Business Center Drive                        bill@mclaw.org
Counsel to Vilage Hillcrest Partners Lp                                                                Malcolm Cisneros, a Law Corporation         Irvine CA 92612                                   bill@mclaw.org                     Email
                                                                                                                                                   Attn: Tara LeDay
Counsel to The County of Denton, Texas and The County of Williamson, Texas, (the “Texas Taxing                                                     P. O. Box 1269
Authorities”)                                                                                          McCreary, Veselka, Bragg & Allen, P.C.      Round Rock TX 78680                               tleday@mvbalaw.com                 Overnight Mail and Email
                                                                                                                                                   Attn: Nicole C. Kenworthy
                                                                                                                                                   6801 Kenilworth Avenue
                                                                                                                                                   Suite 400
Counsel to Prince George's County, Maryland                                                            Meyers, Rodbell & Rosenbaum, P.A.           Riverdale MA 20737-1385                           bdept@mrrlaw.net                   Email
                                                                                                                                                   Attn: Marc N. Swanson
                                                                                                                                                   150 West Jefferson
                                                                                                                                                   Suite 2500
Counsel to Softtek Integration Systems, Inc.                                                           Miller, Canfield, Paddock and Stone, P.L.C. Detroit MI 48226                                  swansonm@millercanfield.com        Email
                                                                                                                                                   Attn: Rachel B. Mersky
                                                                                                                                                   1201 N. Orange Street
                                                                                                       Monzack Mersky Browder and Hochman, Suite 400
Counsel to Waste Management                                                                            P.A                                         Wilmington DE 19801                               rmersky@monlaw.com                 Email
                                                                                                                                                   Attn: Craig A. Wolfe
                                                                                                                                                   101 Park Avenue
Counsel to Kimco Realty Corporation                                                                    Morgan, Lewis & Bockius LLP                 New York NY 10178-0600                            craig.wolfe@morganlewis.com        Email




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                                                                                                                                        Agenda Service List
                                                                                                                                     Served as set forth below

                                                      DESCRIPTION                                                             NAME                                                     ADDRESS                                                EMAIL           METHOD OF SERVICE
                                                                                                                                                            Attn: Jody C. Barillare
                                                                                                                                                            Nemours Buidling
                                                                                                                                                            1007 Orange Street, Suite 501
Counsel to Kimco Realty Corporation                                                                      Morgan, Lewis & Bockius LLP                        Wilmington DE 19801                                          jbarillare@morganlewis.com         Email
                                                                                                                                                            Attn: Laura McCarthy
                                                                                                                                                            One Federal Street - 32nd Floor
Counsel to Kimco Realty Corporation                                                                      Morgan, Lewis & Bockius LLP                        Boston MA 02110-1726                                         laura.mccarthy@morganlewis.com     Email
                                                                                                                                                            Attn: Eric J. Monzo, Brya M. Keilson
                                                                                                                                                            500 Delaware Avenue, Suite 1500                              emonzo@morrisjames.com
Official Committee of Unsecured Creditors                                                                Morris James LLP                                   Wilmington DE 19801                                          bkeilson@morrisjames.com           Email
                                                                                                                                                            Attn: Curtis S. Miller, Mathew O. Talmo
Counsel to 24 HR – TX (TX) Limited Partnership;                                                                                                             1201 North Market Street, 16th Floor
FIT (TX) LP; SF (TX) LP; FIT (CO) QRS 15-59, INC.;                                                                                                          P.O. Box 1347                                                cmiller@mnat.com
AND FIT (UT) QRS 14-92, INC.                                                                             Morris, Nichols, Arsht & Tunnell LLP               Wilmington DE 19899-1347                                     mtalmo@mnat.com                    Overnight Mail and Email
                                                                                                                                                            Attn: Erica J. Richards
                                                                                                                                                            250 West 55th Street
Counsel to United Parcel Service, Inc. and BT-OH, LLC                                                    Morrison & Foerster Llp                            New York NY 10019-9601                                       erichards@mofo.com                 Email
                                                                                                                                                            Attn: Vikrama S. Chandrashekar
                                                                                                                                                            1400 16th Street
Counsel to CAPLOW DENVER, LLC, a California limited liability company; and DENVER EXCHANGE, LLC, a                                                          6th Floor
California limited liability company d/b/a DENVER EXCHANGE I, LLC                                          Moye White LLP                                   Denver CO 80202-1486                                         Vika.Chandrashekar@moyewhite.com   Email
Counsel to Brazos TC South - Partnership B, L.P.; A-S 93 SH 130-SH 45, L.P.; A-S 117 Shops at the Reserve,                                                  Attn: John D. Cornwell, Thomas D. Berghman
L.P.; A-S 76 HWY 290-Bingle, L.P.; A-S 86 FM 1960 FM 1960-Veterans Memorial, L.P.; A-S 30 FM 518-FM                                                         700 Milam Street, Suite 2700                                 jcornwell@munsch.com
528, L.P.; and A-S 144 Grand Parkway-W. Airport, L.P.                                                      Munsch Hardt Kopf & Harr, P.C.                   Houston TX 77002                                             tberghman@munsch.com               Email
                                                                                                                                                            Attn: Kevin M. Lippman, Esq.
                                                                                                                                                            500 N. Akard Street
                                                                                                                                                            Suite 3800
Counsel to CSRA 5901 Golden Triangle Master Lessee, LLC                                                  Munsch Hardt Kopf & Harr, P.C.                     Dallas TX 75201-6659                                         klippman@munsch.com                Email
                                                                                                                                                            Attn: Michael W. Adams
                                                                                                                                                            2603 Augusta
                                                                                                                                                            Suite 1000
Counsel to Axiom DR Construction LLC d/b/a Axiom Construction LLC                                        Nance & Simpson, LLP                               Houston TX 77057                                             madams@nancesimpson.com            Email
                                                                                                                                                                                                                         mparks@omm.com
                                                                                                                                                                                                                         spak@omm.com
                                                                                                                                                                                                                         dshamah@omm.com
                                                                                                                                                            Attn: Daniel S Shamah Esq, Diana M Perez Esq, Adam P         DPerez@omm.com
                                                                                                                                                            Haberkorn, Esq, John J. Rapisardi, Adam C. Rogoff            AHaberkorn@omm.com
                                                                                                                                                            7 Times Square                                               jrapisardi@omm.com
Counsel to the Ad Hoc Crossover Group                                                                    O’Melveny & Myers LLP                              New York NY 10036                                            adamrogoff@omm.com                 Email
                                                                                                                                                            Bankruptcy & Collections Division
                                                                                                                                                            Attn J Binford, J Roy, Courtney J. Hull                      jason.binford@oag.texas.gov
                                                                                                                                                            P.O. Box 12548 MC 008                                        casey.roy@oag.texas.gov
Counsel to the State of Texas, Texas Comptroller of Public Accounts                                      Office of the Attorney General of Texas            Austin TX 78711-2548                                         bk-chull@oag.texas.gov             Overnight Mail and Email
                                                                                                                                                            Attn: Linda J. Casey
                                                                                                                                                            844 King St Ste 2207
United States Trustee District of Delaware                                                               Office of the United States Trustee                Wilmington DE 19801                                          Linda.Casey@usdoj.gov              Overnight Mail and Email
                                                                                                                                                            Attn: Brian J. McLaughlin
                                                                                                                                                            222 Delaware Avenue, Suite 1105
Counsel to Mark Group Partnership No. 6                                                                  Offit Kurman, P.A.                                 Wilmington DE 19801                                          Brian.mclaughlin@offitkurman.com   Email
                                                                                                                                                            Attn: Lawrence J. Hilton
                                                                                                                                                            4000 MacArthur Blvd, East Tower
                                                                                                                                                            Suite 500
Counsel to Ocean Ranch II, LLC                                                                           One LLP                                            Newport Beach CA 92660                                       lhilton@onellp.com                 Email
                                                                                                                                                            Attn: Laura Davis Jones, Timothy P. Cairns, Peter J. Keane
                                                                                                                                                            919 North Market Street                                      ljones@pszjlaw.com
                                                                                                                                                            P.O. Box 8705                                                tcairns@pszjlaw.com
Counsel to Debtor                                                                                        Pachulski Stang Ziehl & Jones LLP                  Wilmington DE 19899-8705                                     pkeane@pszjlaw.com                 Email



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                                                     DESCRIPTION                                                         NAME                                                     ADDRESS                                                EMAIL              METHOD OF SERVICE
                                                                                                                                                                                                                       fournierd@pepperlaw.com
                                                                                                                                                                                                                       listwakk@pepperlaw.com
                                                                                                                                                        Attn: David M. Fournier, Kenneth A. Listwak                    wlbank@pepperlaw.com
                                                                                                                                                        Hercules Plaza, Suite 5100                                     smithda@pepperlaw.com
Counsel to Wilmington Trust, National Association,                                                                                                      1313 N. Market Street, P.O. Box 1709                           molitorm@pepperlaw.com
as DIP Agent                                                                                          Pepper Hamilton LLP                               Wilmington DE 19899-1709                                       hardinp@pepperlaw.com              Overnight Mail and Email
                                                                                                                                                        c/o Eboney Cobb
                                                                                                                                                        500 E. Border Street
Counsel to Richardson ISD, Arlington ISD, Crowley ISD, Eagle Mountain-Saginaw ISD, Frisco ISD,        Perdue, Brandon, Fielder, Collins & Mott,         Suite 640
Grapevine-Colleyville ISD                                                                             L.L.P.                                            Arlington TX 76010                                             ecobb@pbfcm.com                    Email
                                                                                                                                                        c/o Owen M. Sonik
Counsel to Spring Branch Independent School District, Klein Independent School District, Humble                                                         1235 North Loop West
Independent School District, Spring Independent School District, Alief Independent School District,   Perdue, Brandon, Fielder, Collins & Mott,         Suite 600
Pasadena Independent School District, Clear Creek Independent School District                         L.L.P.                                            Houston TX 77008                                               osonik@pbfcm.com                   Email
                                                                                                                                                        Attn: Christopher A. Ward, Brenna A. Dolphin, Shanti M.
                                                                                                                                                        Katona
                                                                                                                                                        222 Delaware Ave.                                              cward@polsinelli.com
                                                                                                                                                        Suite 1101                                                     bdolphin@polsinelli.com
Counsel to Huntington South Center, LLC                                                               Polsinelli Pc                                     Wilmington DE 19801                                            skatona@polsinelli.com             Email
                                                                                                                                                        Attn: Herb Baer
                                                                                                                                                        One Grand Central Place
                                                                                                                                                        60 East 42nd Street, Suite 1440                                24hourfitnessteam@Primeclerk.com
Claims Agent                                                                                          Prime Clerk, LLC                                  New York NY 10165                                              serviceqa@primeclerk.com           Email
                                                                                                                                                        Attn: Gerald P. Kennedy, Esq.
                                                                                                                                                        525 B Street
                                                                                                                                                        Suite 2200
Attorney for Mann Enterprises, Inc.                                                                   Procopio, Cory, Hargreaves & Savitch LLP          San Diego CA 92101                                             gerald.kennedy@procopio.com        Email
                                                                                                                                                        c/o Timothy T. Mitchell
                                                                                                                                                        4422 Ridgeside Drive                                           tim@rashtiandmitchell.com
Counsel to EQYInvest Owner II, Ltd, LLP                                                               Rashti and Mitchell, Attroneys at law             Dallas TX 75244                                                dkrm@aol.com                       Email
                                                                                                                                                        Attn: Eric A. Schaffer Esq., Luke A. Sizemore Esq.
                                                                                                                                                        Reed Smith Centre
Counsel to Wells Fargo Bank, National                                                                                                                   225 Fifth Avenue                                               eschaffer@reedsmith.com
Association, as indenture trustee                                                                     Reed Smith LLP                                    Pittsburgh PA 15222                                            lsizemore@reedsmith.com            Email
                                                                                                                                                        Attn: Mark W. Eckard
                                                                                                                                                        1201 North Market Street
Counsel to Wells Fargo Bank, National                                                                                                                   Suite 1500
Association, as indenture trustee                                                                     Reed Smith LLP                                    Wilmington DE 19801                                            meckard@reedsmith.com              Email
                                                                                                                                                        Attn: Evan W, Rassman, Esq.
                                                                                                                                                        1521 Concord Pike, Suite 305
Counsel to Che Chen Liu and Shu Fen Liu Revocable Trust (as successor in interest to Moreno Valley                                                      Brandywine Plaza West
Twenty-Four Hour, LLC), San Jose Central Travel, Inc                                                  Reger Rizzo & Darnall LLP                         Wilmington DE 19803                                            erassman@regerlaw.com              Email

                                                                                                                                                        Attn: Mark D. Collins, Michael J. Merchant, David T. Queroli
                                                                                                                                                        One Rodney Square                                              collins@rlf.com
                                                                                                                                                        920 North King Street                                          merchant@rlf.com
Counsel to the Ad Hoc Group                                                                           Richards, Layton & Finger, P.A.                   Wilmington DE 19801                                            queroli@rlf.com                    Email
                                                                                                                                                        Attn: Paul Jasper, Phillip K. Wang
                                                                                                                                                        One Embarcadero Center, Suite 400                              paul.jasper@rimonlaw.com
Counsel to AV Now, Inc.                                                                               Rimon, P.C.                                       San Francisco CA 94111                                         phillip.wang@rimonlaw.com          Email
                                                                                                                                                        Attn: Jamie L. Edmonson
                                                                                                                                                        1201 North Market Street
                                                                                                                                                        Suite 1406
Counsel to MLT Station, L.L.C.                                                                        Robinson & Cole LLP                               Wilmington DE 19801                                            jedmonson@rc.com                   Email




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                                                                                                                                                  Exhibit F
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                                                DESCRIPTION                                                                       NAME                                                  ADDRESS                                          EMAIL        METHOD OF SERVICE
Counsel to RU Old Denton Road Fort Worth TX, LLC
which is a subsidiary of BRIX REIT, INC., Landlord, RU Rainbow Blvd Las Vegas, NV, LLC which is a
subsidiary of RW Holdings NNN REIT Operating Partnership, LP, a subsidiary of RW Holdings NNN REIT.,                                                          120 Newport Center Drive
Inc.                                                                                                          RU Rainbow Blvd Las Vegas, NV, LLC              Newport Beach CA 92660                                                                Overnight Mail
                                                                                                                                                              Attn: Paul A. Rubin, Hanh Huynh
                                                                                                                                                              345 Seventh Avenue
                                                                                                                                                              21st Floor                                             prubin@rubinlawllc.com
Counsel to Centennial Square, LLC                                                                             Rubin LLC                                       New York NY 10001                                      hhuynh@rubinlawllc.com         Email
                                                                                                                                                              Attn: Steven W Kelly
                                                                                                                                                              1290 Broadway
                                                                                                                                                              Suite 1650
Counsel to AmCap Austin Bluffs LLC, AmCap Tiffany LLC, and ADLP-U&A, LLC, RSD Partners, LLC                   S&D Law                                         Denver CO 80203                                                                       Overnight Mail
                                                                                                                                                              Attn: Joel M. Shafferman
                                                                                                                                                              The Omni - 333 Earle Ovington Boulevard
                                                                                                                                                              Suite 601
Counsel to BMS Realty Company                                                                                 Sahn Ward Coschignano, PLLC                     Uniondale NY 11553                                     jshafferman@swc-law.com        Email
                                                                                                                                                              Attn: John D. Demmy
                                                                                                                                                              1201 N. Market Street, Suite 2300
Counsel to SR19 Mark II Portfolio, LLC and Arka Miramar II, L.P. and Pacifica Real Estate III, LLC, HSG-KRE                                                   P.O. Box 1266
Oak Lawn Property Owner, LLC and HSG Algonquin, LLC                                                           Saul Ewing Arnstein & Lehr LLP                  Wilmington DE 19899                                    john.demmy@saul.com            Email
                                                                                                                                                              Attn: Nicholas J. LePore, Esq., Samantha Banks, Esq.
                                                                                                                                                              1600 Market Street
                                                                                                                                                              Suite 3600                                             nlepore@schnader.com
Counsel to Frank Napolitano and Charles Huff                                                                  Schnader Harrison Segal & Lewis LLP             Philadelphia PA 19103                                  sbanks@schnader.com            Email
                                                                                                                                                              Attn: Richard A. Barkasy, Kristi J. Doughty, Esq.
                                                                                                                                                              824 N. Market Street
                                                                                                                                                              Suite 800                                              rbarkasy@schnader.com
Counsel to Frank Napolitano and Charles Huff                                                                  Schnader Harrison Segal & Lewis LLP             Wilmington DE 19801-4939                               kdoughty@schnader.com          Email
                                                                                                                                                              Attn: Michael M. Sperry, Esq.
                                                                                                                                                              575 S. Michigan Street
Counsel to OB Frank Properties, LLC                                                                           Schweet Linde & Coulson, Pllc                   Seattle WA 98108                                       michaels@schweetlaw.com        Email
                                                                                                                                                              Secretary of the Treasury
                                                                                                                                                              100 F St NE
Securities and Exchange Commission - Headquarters                                                             Securities & Exchange Commission                Washington DC 20549                                    secbankruptcy@sec.gov          Overnight Mail and Email
                                                                                                                                                              Attn: Bankruptcy Dept
                                                                                                                                                              Brookfield Place
                                                                                                              Securities & Exchange Commission - NY           200 Vesey Street Ste 400                               bankruptcynoticeschr@sec.gov
Securities and Exchange Commission - Regional Office                                                          Office                                          New York NY 10281-1022                                 NYROBankruptcy@SEC.GOV         Overnight Mail and Email
                                                                                                                                                              Attn: Bankruptcy Dept
                                                                                                                                                              One Penn Center
                                                                                                              Securities & Exchange Commission -              1617 JFK Blvd Ste 520
Securities and Exchange Commission - Regional Office                                                          Philadelphia Office                             Philadelphia PA 19103                                  secbankruptcy@sec.gov          Overnight Mail and Email
                                                                                                                                                              Attn: Edward M. Fox, Esq.
                                                                                                                                                              620 8th Avenue
Counsel to 600 Broadway Partners LLC                                                                          Seyfarth Shaw LLP                               New York NY 10018                                      emfox@seyfarth.com             Email
                                                                                                                                                              Attn: Ronald M. Tucker, Esq.
                                                                                                                                                              225 West Washington Street
Counsel to Simon Property Group, Inc. and its related entities                                                Simon Property Group, Inc.                      Indianapolis IN 46204                                  rtucker@simon.com              Email
                                                                                                                                                              Attn: Michelle E. Shriro, Esq.
                                                                                                                                                              16200 Addison Road
                                                                                                                                                              Suite 140
Counsel to Icon Owner Pool 1 West/Southwest, LLC                                                              Singer & Levick, P.C.                           Addison TX 75001                                       mshriro@singerlevick.com       Email
                                                                                                                                                              Attn: Ian S. Landsberg, Esq.
                                                                                                                                                              1880 Century Park East
                                                                                                                                                              Suite 300
Counsels for Rolling Hills Plaza LLC                                                                          Sklar Kirsh, LLP                                Los Angeles CA 90067                                   ilandsberg@sklarkirsh.com      Email




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                                                     DESCRIPTION                                                              NAME                                              ADDRESS                               EMAIL        METHOD OF SERVICE

Counsel to Allen Fitness, LP, Frisco Fitness, LP, Highlands Fitness, LP, Lakeline Austin Fitness, LP, North
Richland Fitness, LP, Phoenix Metro Center Fitness, LP, Colorado Springs Fitness, LP, Everett Washington                                             Attn: Anne K. Edwards
Fitness, LP, Kirkwood Missouri Fitness, LP, Pembroke Miami Fitness, Ltd., Round Rock Fitness, LP, BHF, a                                             444 South Flower Street, Suite 1700
California Limited Partnership, Lowry Denver Fitness, LP, Almaden Fitness, LP, Hancock Fitness, LP          Smith, Gambrell & Russell, LLP           Los Angeles CA 90071                      aedwards@sgrlaw.com               Email
                                                                                                                                                     Attn: Michael D. Breslauer
                                                                                                                                                     401 B Street
                                                                                                                                                     Suite 1200                                mbreslauer@swsslaw.com
Counsel to SunBrewer Partners, L.P                                                                         Solomon Ward Seidenwurm & Smith, LLP San Diego CA 92101                             wyones@swsslaw.com                Email
                                                                                                                                                     Attn: Brian H. Song
                                                                                                                                                     2559 S. Bascom Ave
Counsel to SAN JOSE CENTRAL TRAVEL, INC                                                                    Song & Lee, LLP                           Campbell CA 95008                         Briansong@songleelaw.com          Email
                                                                                                                                                     Attn: Michael St. James, Esq.
                                                                                                                                                     22 Battery Street
                                                                                                                                                     Suite 888
Counsel to 111 Sutter Street Owner LP                                                                      St. James Law, P.C.                       San Francisco CA 94111                    ECF@stjames-law.com               Email
                                                                                                                                                     Attn: Joseph H. Lemkin, Thomas S. Onder
                                                                                                                                                     P.O. Box 5315                             jlemkin@stark-stark.com
Counsel to Levin Management Corporation                                                                    Stark & Stark, P.C.                       Princeton NJ 08543                        tonder@stark-stark.com            Overnight Mail and Email
                                                                                                                                                     Attn: James F. Evers, Esq.
                                                                                                                                                     Office of Consumer Protection
                                                                                                                                                     235 S. Beretania Street, Room 801
Counsel to the State of Hawaii pursuant to Hawaii Revised Statutes Chapter 487                             State of Hawaii                           Honolulu HI 96813                         jevers@dcca.hawaii.gov            Email
                                                                                                                                                     Museum Tower, Suite 2200
                                                                                                           Stearns Weaver Miller Weissler Alhadeff & 150 West Flagler Street
Counsel to S&C Venture, a joint venture                                                                    Sitterson, P.A.                           Miami FL 33130                            predmond@stearnsweaver.com        Email
                                                                                                                                                     Attn: Thomas A. Lerner
                                                                                                                                                     1420 Fifth Avenue
                                                                                                                                                     Suite 3000
Counsel to MLT Station, L.L.C.                                                                             Stokes Lawerence, P.S.                    Seattle WA 98101-2393                     tom.lerner@stokeslaw.com          Email
                                                                                                                                                     Attn: Ian Connor Bifferato, Esq.
                                                                                                                                                     1007 N. Orange Street
                                                                                                                                                     4th Floor
Counsel to Spirit Master Funding X and Spirit CC Aurora, LLC                                               The Bifferato Firm, P.A.                  Wilmington DE 19801                       cbifferato@tbf.legal              Email
                                                                                                                                                     Attn: James Tobia
                                                                                                                                                     1716 Wawaset Street
Counsel to MEPT Westwood Village, LLC                                                                      The Law Office of James Tobia, LLC        Wilmington DE 19806                       jtobia@tobialaw.com               Email
                                                                                                                                                     Attn: John P. Schafer
                                                                                                                                                     30900 Rancho Viejo Road, Suite 235
Counsel to Pine Castle, N.V                                                                                The Schafer Law Firm, P.C.                San Juan Capistrano CA 92675              john@jpschaferlaw.com             Email
                                                                                                                                                     Attn: Dina L. Yunker
                                                                                                           The State of Washington Department of     800 Fifth Avenue, Suite 2000
The State of Washington Department of Revenue                                                              Revenue                                   Seattle WA 94104-3188                     bcuyunker@atg.wa.gov              Email
                                                                                                                                                     Attn: Andrew S. Conway, Esq.
                                                                                                                                                     200 East Long Lake Road
                                                                                                                                                     Suite 300
Attorney for the Taubman Landlords                                                                         The Taubman Company                       Bloomfield Hills MI 48304                 aconway@taubman.com               Email
                                                                                                                                                     Attn: Chase C. Alvord
                                                                                                                                                     1700 Seventh Avenue
                                                                                                                                                     Suite 2200
Counsel to MEPT Westwood Village, LLC and Madison Marquette                                                Toulsey Brain Stephens PLLC               Seattle WA 98101                          calvord@tousley.com               Email
                                                                                                                                                     Attn: Jennifer L. Pruski
Counsel to DS FOUNTAIN VALLEY LP, a Delaware limited partnership; and DS PROPERTIES 17 LP, a                                                         Post Office Box 255824
Delaware limited partnership                                                                               Trainor Fairbrook                         Sacramento CA 95865                       jpruski@trainorfairbrook.com      Overnight Mail and Email
                                                                                                                                                     Attn: Jason A. Starks
                                                                                                                                                     P.O. Box 1748
Counsel to Travis County                                                                                   Travis County Attorney                    Austin TX 78767                           Jason.Starks@traviscountytx.gov   Overnight Mail and Email



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                                                     DESCRIPTION                                                           NAME                                                    ADDRESS                                              EMAIL           METHOD OF SERVICE
                                                                                                                                                       Attn: Charles Oberly co Ellen Slights
                                                                                                                                                       1007 Orange St Ste 700
                                                                                                                                                       PO Box 2046
US Attorney for the District of Delaware                                                               US Attorney for Delaware                        Wilmington DE 19899-2046                                     usade.ecfbankruptcy@usdoj.gov     Overnight Mail and Email
                                                                                                                                                       Attn: Thomas Korsman
                                                                                                                                                       600 S. 4th Street
                                                                                                                                                       MAC N9300-061
Top 30 Unsecured Creditors                                                                             Wells Fargo, N.A.                               Minneapolis MN 55479                                         Thomas.m.korsman@wellsfargo.com   Email
                                                                                                                                                       Attn: Corporate Trust Services - Administrator for 24 Hour
                                                                                                                                                       Fitness
                                                                                                                                                       150 East 42nd St
Counsel to the Senior Notes Indenture Trustee                                                          Wells Fargo, National Association               New York NY 10017                                                                              Overnight Mail
                                                                                                                                                       Attn: Jeff Carruth
                                                                                                                                                       11 Greenway Plaza, Suite 1400
Counsel to Tri Cities Harriman LLC                                                                     Weycer, Kaplan, Pulaski & Zuber, P.C.           Houston TX 77046                                             jcarruth@wkpz.com                 Email
                                                                                                                                                       Attn: Stephen B. Gerald
                                                                                                                                                       405 North King Street
                                                                                                                                                       Suite 500
Counsel to United Parcel Service, Inc. and BT-OH, LLC                                                  Whiteford, Taylor & Preston Llc                 Wilmington DE 19801                                          sgerald@wtplaw.com                Email

Counsel to Brazos TC South - Partnership B, L.P.; A-S 93 SH 130-SH 45, L.P.; A-S 117 Shops at the Reserve,                                             Attn: Matthew P. Ward, Morgan L. Patterson
L.P.; A-S 76 HWY 290-Bingle, L.P.; A-S 86 FM 1960 FM 1960-Veterans Memorial, L.P.; A-S 30 FM 518-FM                                                    1313 North Market Street, Suite 1200                         matthew.ward@wbd-us.com
528, L.P.; and A-S 144 Grand Parkway-W. Airport, L.P.; Crane Court, LLC and Nazareth Retail Holdings, LLC Womble Bond Dickinson (US) LLP               Wilmington DE 19801                                          morgan.patterson@wbd-us.com       Email
                                                                                                                                                       Attn: Robert S. Brady, Michael R. Nestor & Andrew L.
                                                                                                                                                       Magaziner
                                                                                                                                                       Rodney Square                                                rbrady@ycst.com
                                                                                                                                                       1000 North King Street                                       mnestor@ycst.com
Counsel to Morgan Stanley Senior Funding, Inc., as Administrative Agent and Collateral Agent           Young Conaway Stargatt & Taylor, LLP            Wilmington DE 19801                                          amagaziner@ycst.com               Email




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            Case No. 20-11558 (KBO)                                                                                                        Page 12 of 12
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                        Exhibit G
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                                                                                                    Exhibit G
                                                                                            Hard Copy Core Service List
                                                                                             Served via First Class Mail
                                                       DESCRIPTION                                                         NAME                                                 ADDRESS
                                                                                                                                                     Attn: Bankruptcy Division
                                                                                                                                                     PO Box 20207
TN Dept of Labor - Bureau of Unemployment Insurance                                                      c/o TN Attorney General's Office            Nashville TN 37202-0207
                                                                                                                                                     Attn: Ronald Hewitt, Martin E. Beeler, Todd A. Mortensen,
                                                                                                                                                     Gabriella B. Zahn-Bielski
                                                                                                                                                     620 Eighth Avenue
Counsel to DIP Agent, Wilmington Trust, National Association, USOPC                                      Covington & Burling LLP                     New York NY 10018
                                                                                                                                                     Zillah Frampton
                                                                                                                                                     820 N French St
Delaware Division of Revenue                                                                             Delaware Division of Revenue                Wilmington DE 19801
                                                                                                                                                     Corporations Franchise Tax
                                                                                                                                                     PO Box 898
Delaware Secretary of State                                                                              Delaware Secretary of State                 Dover DE 19903
                                                                                                                                                     Attn: Bankruptcy Dept
                                                                                                                                                     820 Silver Lake Blvd Ste 100
Delaware State Treasury                                                                                  Delaware State Treasury                     Dover DE 19904
                                                                                                                                                     Attn: Ronald D. Dessy, Fawn Kennedy Dessy
                                                                                                                                                     1301 L Street
Counsel to Olive Drive Partners                                                                          Dessy & Dessy, a Professional Corporation   Bakersfield CA 93301
                                                                                                                                                     Attn: Bankruptcy Dept
                                                                                                                                                     1650 Arch Street
Environmental Protection Agency - Region 3                                                               Environmental Protection Agency             Philadelphia PA 19103-2029
                                                                                                                                                     Centralized Insolvency Operation
                                                                                                                                                     2970 Market St
                                                                                                                                                     Mail Stop 5 Q30 133
IRS Insolvency Section                                                                                   Internal Revenue Service                    Philadelphia PA 19104-5016
                                                                                                                                                     Centralized Insolvency Operation
                                                                                                                                                     PO Box 7346
IRS Insolvency Section                                                                                   Internal Revenue Service                    Philadelphia PA 19101-7346
                                                                                                                                                     Attn: Bankruptcy Division
                                                                                                                                                     c/o Linda Delgao
                                                                                                         Kern County Treasurer and Tax Collector     PO Box 579
Kern County Treasurer and Tax Collector Office                                                           Office                                      Bakersfield CA 93302-0579
                                                                                                                                                     Attn: Linda J. Casey
                                                                                                                                                     844 King St Ste 2207
United States Trustee District of Delaware                                                               Office of the United States Trustee         Wilmington DE 19801
Counsel to RU Old Denton Road Fort Worth TX, LLC
which is a subsidiary of BRIX REIT, INC., Landlord, RU Rainbow Blvd Las Vegas, NV, LLC which is a
subsidiary of RW Holdings NNN REIT Operating Partnership, LP, a subsidiary of RW Holdings NNN REIT.,                                                 120 Newport Center Drive
Inc.                                                                                                     RU Rainbow Blvd Las Vegas, NV, LLC          Newport Beach CA 92660




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                                                                                                      Exhibit G
                                                                                              Hard Copy Core Service List
                                                                                               Served via First Class Mail
                                                       DESCRIPTION                                                           NAME                                            ADDRESS
                                                                                                                                                   Attn: Steven W Kelly
                                                                                                                                                   1290 Broadway
                                                                                                                                                   Suite 1650
Counsel to AmCap Austin Bluffs LLC, AmCap Tiffany LLC, and ADLP-U&A, LLC, RSD Partners, LLC                S&D Law                                 Denver CO 80203
                                                                                                                                                   Secretary of the Treasury
                                                                                                                                                   100 F St NE
Securities and Exchange Commission - Headquarters                                                          Securities & Exchange Commission        Washington DC 20549
                                                                                                                                                   Attn: Bankruptcy Dept
                                                                                                                                                   Brookfield Place
                                                                                                           Securities & Exchange Commission - NY   200 Vesey Street Ste 400
Securities and Exchange Commission - Regional Office                                                       Office                                  New York NY 10281-1022
                                                                                                                                                   Attn: Bankruptcy Dept
                                                                                                                                                   One Penn Center
                                                                                                           Securities & Exchange Commission -      1617 JFK Blvd Ste 520
Securities and Exchange Commission - Regional Office                                                       Philadelphia Office                     Philadelphia PA 19103
                                                                                                                                                   Attn: Charles Oberly co Ellen Slights
                                                                                                                                                   1007 Orange St Ste 700
                                                                                                                                                   PO Box 2046
US Attorney for the District of Delaware                                                                   US Attorney for Delaware                Wilmington DE 19899-2046
                                                                                                                                                   Attn: Corporate Trust Services - Administrator for 24 Hour
                                                                                                                                                   Fitness
                                                                                                                                                   150 East 42nd St
Counsel to the Senior Notes Indenture Trustee                                                              Wells Fargo, National Association       New York NY 10017




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       Case No. 20-11558 (KBO)                                                                        Page 2 of 2
